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   I.      LETTER FROM THE MONITOR

As we emerge out of a long period of regular interruptions and challenges due to COVID, the
Monitoring Team has increased its presence in-person in Cleveland and its work is moving forward
at a faster pace. While progress has been made by CDP during this reporting period, the momentum
has predictably slowed as both CDP and the Monitoring Team adjusted to various factors, such as
a new Mayoral administration and the departure of Chief Williams. This reporting period has
presented opportunities to advance compliance progress in the Consent Decree. As such, this report
will pinpoint areas where progress has been made, as well as where more work and focus is needed
on the part of the City.

In addition to renewed energy, we have entered a different stage of the Consent Decree. The
substantive focus of the work has transitioned from technical assistance to assessments. Over the
past six years the Monitoring Team has collaborated with the Parties on the development of policy,
training, and systems of critical self-analysis including the Force Review Board and systematic
data collection of important officer activities. Much of the work has been providing expertise
during the development period, including editing, and in some cases drafting, the content of the
policies and training.

As we move forward, the City must meet its deadlines and manage the quality and timeliness of
the many Consent Decree requirements and deliverables. In meeting the requirements of the
Consent Decree, the CDP will need to proceed without the day-to-day direct guidance of the
Monitoring Team that was common in previous reporting periods. We will be looking for greater
sophistication from the City and the CDP in their self-reporting and transparency in their
management and accountability systems.

The Monitoring Team gave room for Mayor Bibb’s administration to transition into place and take
over the daily management of City operations. We are now into the latter part of the
Administration’s first year and look forward to an uptick in the pace that will effectively put the
City’s efforts toward compliance through rigorous assessment and review in order to accurately
determine where the City stands.

There are significant and critical areas of the Consent Decree that remain in non-compliance, as
well as key areas that are in various stages of being assessed for compliance. There are areas that
are foundational to the Consent Decree such as Accountability, Community Engagement and
Building Trust, Community and Problem-Oriented Policing, Search and Seizure, Transparency
and Oversight, Officer Assistance and Support, and Supervision, that have a significant distance
to advance before coming into Substantial and Effective Compliance as required by paragraph 401
of the Consent Decree. Other areas, such as Use of Force and Crisis Intervention, are much further
along and are nearing Substantial and Effective Compliance.



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All of these Consent Decree requirements are necessary to accomplish in order to establish the
CDP as a police agency that practices Constitutional Policing and the City of Cleveland as an
accountable partner through the Office of Professional Standards and other areas in government
on which safety agencies rely to achieve their mission with the public. While there are areas that
are being regularly assessed by the Monitoring Team, there are other areas where the City and
CDP are not yet ready to be assessed due not only to a significant amount of transition and
fluctuation within the City and CDP in the last year, but also the investment of time in some areas.

Mayor Bibb has been extremely thoughtful and deliberate about meeting with the Monitor and
listening to ideas aimed at improving the effectiveness of City resources assigned to Consent
Decree compliance efforts. As a result of these meetings and open conversation about what is
needed to effectively and efficiently reach compliance, Mayor Bibb is building a Consent Decree
implementation team, designed to be a full-time group of employees whose sole focus is working
with the CDP, and its stakeholders, the DOJ and the Monitoring Team to keep the deliverables and
pace of compliance on track, which will hopefully decrease the time it will take the City and CDP
to meet the requirements of the Consent Decree. The City recently announced the implementation
team in a press release as the Police Accountability Team.

Lastly, as Monitor, I serve as an agent of the federal district court judge, Judge Solomon Oliver,
Jr., assigned to this reform effort. It is important to keep in mind that the Monitor, and the team
members selected to work with me, are not parties to this litigation. We are neither plaintiff nor
defendant. Instead, we are the eyes and ears of the Court regarding the day-to-day progress of
Consent Decree implementation. And we are responsible for fairly and objectively assessing that
progress. In that way, the role of an Independent Monitor inherently requires a distinct level of
autonomy from the parties unlike that seen in traditional litigation. The Consent Decree plainly
states that the Monitor works under the supervision of the court and the court alone. For that reason,
it is essential that we are able to fulfill our responsibilities without any undue influence or
interference.




                                                                                         Hassan Aden
                                                                                             Monitor
                                                                                   September 19, 2022




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   II.     EXECUTIVE SUMMARY

1. Introduction

This report, the eleventh of its kind, continues the path set out during the Tenth Semiannual Report
– that of focusing more time and attention to the City’s compliance with the various Consent
Decree mandates and the production of reviews and assessments to determine its progress.
Ultimately, while substantive work on policy and training continue to occur through the efforts of
CDP and the City’s personnel responsible for such tasks, the Monitoring Team is continuing to
home in on answering its central inquiry – is CDP complying with Consent Decree requirements
in practice? As such, the Monitoring Team addresses this question, to the extent possible, with its
below summaries of the current state of the various sections of the Consent Decree and continues
to convey what lies ahead for the City of Cleveland and CDP in these efforts. In this stage of our
work, it is important to accurately assess where the City is, and to establish clear targets for
achieving Substantial and Effective Compliance. The Monitoring Team has carried out this work
in earnest, through several completed and nearly complete reviews and assessments that it has
conducted throughout the first part of 2022. The Monitoring Team will continue this increasingly
important work of assessing the City’s and CDP’s work, through a variety of methodologies, to
determine whether City has achieved compliance in the different sections of the Consent Decree
and if not, what steps should be taken to ensure it attains compliance in the future.

This review covers activities completed from January 1, 2022, to June 30, 2022. The report also
recognizes some additional activities and accomplishments that have taken place after June 30,
2022 to account for continued progress. The Monitoring Team is aware that the City and CDP do
not always agree with the Monitoring Team’s assessment for every paragraph as outlined in our
semiannual reports, believing that they have more advanced compliance on certain paragraphs than
assigned in the reports. However, the Monitoring Team reminds the City and CDP that it is their
burden to demonstrate the degree of compliance for each paragraph for which they believe the
compliance status should be changed. Upon receiving evidence from the City and CDP, the
Monitoring Team can then reassess these discrete paragraphs to determine whether the compliance
status should be altered in future reports.

As stated above, the Monitoring Team has worked on several qualitative assessments thus far in
2022 to examine CDP’s adherence in practice to its policies developed since the adoption of the
Consent Decree. The assessments are in various stages of completion, but comprise of the
following assessments: Force Review Board observations and reviews (rolling assessment),
Lateral Hire Assessment (filed with the Court in January of 2022), OPS/PRB Preliminary
Assessment (filed in February 2022), Recruit Hire Assessment (filed in June of 2022), Handcuffing
on Crisis Calls of Juvenile Females (near completion), Use of Force (now a rolling review; a first
review filed in March of 2022), Chief of Police Disciplinary Decisions (near completion), Force




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Investigation Team (methodology under collaboration), and Stop, Search & Seizure (methodology
under development). The Monitoring Team encourages the community and interested parties to
review its completed assessment reports from the first half of 2022, appended to this report
(Appendices A-D), to observe the City’s progress and identified areas of improvement in these
topic areas. All of the Monitoring Team’s completed reviews, assessments and reports can be
found at our website: http://www.clevelandpolicemonitor.net/ under “Resources and Reports.”
Furthermore, in addition to a number of reviews that are currently underway, the Monitoring
Team’s plans include additional qualitative reviews throughout the remainder of 2022 and into
2023.

While the major focus of 2022’s Monitoring Team efforts have been reviews and assessments, the
Monitoring Team continues to work collaboratively with the City and Division, through regular
meetings, phone calls, and written communications, to both provide technical assistance where
appropriate and to raise concerns that implicate Consent Decree requirements. For example,
towards the end of this reporting period and in the weeks thereafter, the Monitoring Team noted
several concerns regarding the Office of Professional Standards (OPS) and has brought it to the
City’s attention. Notably, recent pre-scheduled meetings between OPS, the Monitoring Team and
Department of Justice have been cancelled with little to no explanation, important inquiries and
communications from the Monitoring Team have been unaddressed, and, until recently the City’s
efforts and hiring an OPS Administrator have not only disregarded the advice of the Monitoring
Team but also demonstrated a lackluster effort to recruit the best candidate for the position. OPS
is not the only key vacancy currently impacting the City’s ability to meet compliance. The City
will also need to give considerable attention to address the long-term vacancy in the Inspector
General position. The newly appointed Chief Administrative Officer for the City, Elise Hara Auvil,
has incorporated the Monitoring Team suggestions regarding OPS concerns as well as in other
areas where previous City staff struggled to understand the importance and the benefit to the City
in listening to the Monitoring Team’s technical assistance and advice.
While the City may find the Monitoring Team’s raising of such issues frustrating, the Team does
so in an effort to support the City’s best path to Consent Decree compliance and emphasizes that
work under this agreement will continue unendingly without serious attention and regard for areas
where the City and/or the CDP are falling short.

2. Purpose and Form of This Report

Since the Third Semiannual Report, the Monitoring Team has summed up the status of the City’s
compliance with each paragraph of the Consent Decree. Although providing “a paragraph-by-
paragraph accounting of the general state of the City’s compliance runs the risk of being an over-
simplification,” these summary representations remain useful descriptors for viewing progress




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over time.1

Therefore, each section of the Eleventh Semiannual Report summarizes the Monitoring Team’s
general conclusions about compliance status by describing the state of each paragraph listed as
one of the following:


          Non-Compliance. The City or Division has not yet complied with the relevant provision
          of the Consent Decree. This includes instances in which the City or Division’s work or
          efforts have begun but cannot yet be certified by the Monitoring Team as compliant with a
          material component of the requirement.

          Partial Compliance. The City or Division has made sufficient initial strides or sufficient
          partial progress toward compliance toward a material number of key components of the
          provision of the Consent Decree—but has not achieved operational compliance. This
          includes instances where policies, processes, protocols, trainings, systems, or the like exist
          on paper but do not exist or function in day-to-day practice. It may capture a wide range of
          compliance states or performance, from the City or Division having taken only very limited
          steps toward operational compliance to being nearly in operational compliance.

          Operational Compliance. The City and/or Division has made notable progress to
          technically comply with the requirement and/or policy, process, procedure, protocol,
          training, system, or other mechanism of the Decree such that it is in existence or practice
          operationally—but has not yet demonstrated, or not yet been able to demonstrate,
          meaningful adherence to or effective implementation, including across time, cases, and/or
          incidents. This includes instances where a given reform is functioning but has not yet been
          shown, or an insufficient span of time or volume of incidents have transpired, to be
          effectively implemented in a systemic manner.

          General Compliance. The City or Division has complied fully with the requirement and
          the requirement has been demonstrated to be meaningfully adhered to and/or effectively
          implemented across time, cases, and/or incidents. This includes instances where it can be
          shown that the City or Division has effectively complied with a requirement fully and
          systemically.

The same caveats that have previously applied to these summary categories remain applicable and
are thus repeated here verbatim. First, “Non-Compliance” or “Partial Compliance” do not
automatically mean that the City or CDP have not made good-faith efforts or commendable strides


1
    Third Semiannual Report at 9.




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toward compliance. It might, instead, signify that initial work has either not yet begun or reached
a sufficiently critical point where progress can be considered to have been made.

Second, “Partial Compliance” requires more than taking some limited, initial steps toward
compliance with a requirement. It instead requires that the City or Division have made “sufficient,
material progress toward compliance” that “has graduated from the stages of initial work to more
well-developed and advanced refinement of various reforms.”2

Third, these summary terms do not appear in the Consent Decree. The Team employs them in
order to synthesize and summarize the report’s conclusions. Relatedly, compliance with individual
paragraphs of the Decree is necessary for the larger, overall “Substantial and Effective
Compliance” with the whole of the Consent Decree, but it is not the same thing. Ultimately,
“Substantial and Effective Compliance” with the Consent Decree will be reached when “the City
either has complied with all material requirements of this Agreement or has achieved sustained
and continuing improvement in constitutional policing, as demonstrated pursuant to this
Agreement’s outcome measures,”3 “by a preponderance of the evidence.”4

Fourth, the charts that summarize progress in each area also condense the requirements of each
paragraph rather than reprinting the entire Consent Decree in the context of this report. Any
imprecision or confusion created by these condensed or summarized requirements is unintended
and, in any event, can be cured with reference to the original Consent Decree language itself.5 An
important point to note is that since the issuance of the Monitoring Team’s last semiannual report,
some revisions were made to the original language of the Consent Decree. The City of Cleveland
and Department of Justice filed a joint motion with the Court in March of 20226 to account for
voter-approved amendments to Section 115 of the City’s Charter. The joint motion was approved
by the Court on March 18, 2022. Therefore, readers may notice that the paragraph summaries
provided in the charts below reflect those Consent Decree changes, where applicable. In addition,
the charts primarily cover paragraphs 14 through 340 of the Consent Decree, but other paragraphs
also contain requirements that the City must meet.7

We also repeat here that the overall “compliance status” conclusions displayed in tables at the
beginning of each section herein do not replace the more rigorous and comprehensive quantitative
and qualitative assessments of how CDP performs over time:

               [T]he Monitoring Team bases its assessments on its current understandings,

2
  Third Semiannual Report at 10.
3
  Dkt. 413-1 ¶ 456 (emphasis added).
4
  Id. at ¶ 397.
5
  See Id.
6
  Dkt. 413-1.
7
  See Third Semiannual Report at 10.



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                 knowledge, and information gained through ongoing work and discussion with
                 CDP, the Parties, and other stakeholders. The assessments are informal to the extent
                 that not all of them are necessarily informed by the type of exhaustive compliance
                 and outcome measurements that are a critical component of the Consent Decree—
                 and the summary determinations do not take the place of these more structured,
                 systemic analyses. The intent is to provide a bottom-line sense of where the
                 Division is on the road to compliance. Ongoing, rigorous quantitative and
                 qualitative assessments will provide a more comprehensive picture as work under
                 the Consent Decree proceeds.8

The descriptions of progress contained below should be considered as a synthesis or bottom-line
reporting of substantive discussions from each major Consent Decree area contained within this
report.

Finally, as is evidenced by the extensive and broad-reaching Consent Decree itself, the City of
Cleveland’s implementation of the Consent Decree and the many action items and projects it
encompasses, is a substantial task. Many areas of the Decree require many reporting periods for
the City to achieve—and for the Monitoring Team to confirm and consequently report on these
major milestones. Therefore, at times this semiannual report, as with previous semiannual reports,
reprints content from prior semiannual reports in instances where there has not been enough
material progress to warrant an update. In such cases, the Monitoring Team is not citing to prior
semiannual reports in the interest of readability.




8
    Id. at 11.



                                                   8
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   III.   COMMUNITY ENGAGEMENT AND BUILDING TRUST

 Paragraph                                                           Status of
                                                                     Compliance
 14. CDP creation of “formal and informal mechanisms that facilitate PARTIAL
 ongoing communication between CDP and the many Cleveland COMPLIANCE
 communities it serves.”

1. Community Police Commission (“CPC”)

 Paragraph                                                                        Status of
                                                                                  Compliance
15. Creation of CPC to make recommendations, work with Cleveland                  GENERAL
communities to develop recommendations, and “report to the City and               COMPLIANCE
community as a whole and to provide transparency” on reforms
16. CPC members “will be appointed and vacancies will be filled in                GENERAL
accordance with the City’s Charter”; and periodic meetings with Chief of          COMPLIANCE
Police to “provide recommendations.”
17(a). “[H]old public meetings across the City, complete an assessment of         GENERAL
CDP’s bias-free policing policies, practices, and training, and make              COMPLIANCE
recommendations.”
17(b). “[A]ssist as appropriate in . . . development of training related to       GENERAL
bias-free policing and cultural competency.”                                      COMPLIANCE
17(c). “[O]n an ongoing basis, assess CDP’s community activities” and             PARTIAL
“make recommendations” related to “community engagement” and                      COMPLIANCE
“community confidence”
17(d). “[O]n an ongoing basis, review CDP’s civilian oversight structure          PARTIAL
to determine if there are changes it recommends for improving CDP’s               COMPLIANCE
accountability and transparency”
18(a). “[R]eview and comment on CDP’s policies and practices related to           PARTIAL
use of force, search and seizure, and data collection and retention.”             COMPLIANCE
18(b). [R]eview and comment on CDP’s implementation of initiative,                PARTIAL
programs, and activities that are intended to support reform.”                    COMPLIANCE
18(c). “[H]old public meetings to discuss the Monitor’s reports and to            OPERATIONAL
receive community feedback concerning CDP’s compliance with this                  COMPLIANCE
Agreement.”
19. “The City will provide access to all information requested by the             PARTIAL
Commission related to its mandate, authority, and duties unless it is legally     COMPLIANCE
restricted.”



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    20. CPC “will issue [at least annual] reports,” which the “City will post . . .    OPERATIONAL
    to the City’s website.”                                                            COMPLIANCE
    21. “The City will consider and timely respond in writing to the                   PARTIAL
    Commission’s recommendations for improvements,” which “will be posted              COMPLIANCE
    to the City’s website.”
    22. CPC budget listed as “separate line item” to ensure “sufficient                GENERAL
    independence and resources.”                                                       COMPLIANCE

              a. Background

Since the Monitoring Team’s latest report, there has been a significant change regarding the
Community Police Commission’s (“CPC” or the “Commission”) structure, function, and
jurisdiction due to the adoption of the amendments to Section 115 of the City’s Charter, as voted
on by the City of Cleveland community in November of 2021. The amendments established the
CPC into the City Charter, giving it a broader authority and responsibilities than the CPC
previously created by the Consent Decree. As a result of the updated Charter, amendments were
made to the Consent Decree in order to ensure accurate alignment between the Consent Decree’s
mandates and the new requirements of the City Charter. The updated Consent Decree, containing
all applicable edits, was filed with the Court on March 11, 2022.9 As of the time of this writing, a
City committee is finishing up interviews of candidates for the new CPC and will be soon sending
their recommendations to the Mayor. It is our understanding that City Council is also working to
finalize its choices for three Council-appointed members.

As discussed in previous semiannual reports, the City struggled with providing the CPC access to
information during the first six years of Consent Decree implementation. The City reports that this
was due to their concerns around the scope of the Consent Decree created CPC’s authority. With
the expansion of the CPC’s authority and responsibility, the Monitoring Team expects that some
of these difficulties will be alleviated. A productive and professional relationship between the City
and its CPC remains an essential element to the City achieving and maintaining compliance with
the Consent Decree.

While the City is working to establish the new CPC as mandated by the City Charter, the current
CPC will continue to operate until such time as the new Commission has been appointed. As such,
the current iteration of Cleveland’s CPC, as established by the Consent Decree, has remained active
during the reporting period. The Commission held virtual and in-person meetings and continued
to use workgroups to drive its substantive work.

During this reporting period, the CPC produced the following deliverables. In April of 2022, the

9
    Dkt. 413-1.



                                                      10
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CPC released its 2021 Annual Report, which included highlights from the CPC’s online project
entitled the “100 Years of Policing Project,” about the history of Cleveland Police Reforms. The
Commission also held a public meeting where the details of the project were presented to the
community. Furthermore, the CPC made recommendations on emerging police technologies, and
also conducted an analysis of Consent Decree compliance with outside agencies. During the
Consent Decree created CPC’s final meeting, the Commission received commendations from the
City and various government entities. The Monitoring Team greatly appreciates and respects the
work that has been carried out by the CPC’s volunteer commissioners during their tenure, and
looks forward to continued community engagement in the form of the newly established CPC
under the City Charter.

2. District Policing Committees

 Paragraph                                                                         Status of
                                                                                   Compliance
 23. Facilitation of “regular communication and cooperation between CDP PARTIAL
 and community leaders at the local level,” with District Policing Committees COMPLIANCE
 meeting “at minimum, every quarter.”
 24. CPC, CDP, and Community Relations Board (“CRB”) will “develop a NON-
 mechanism to recruit and expand” Committee membership.” CDP “will work COMPLIANCE
 with [Community Police] Commission to select officers for each District
 Policing Committee.”
 25. CDP “will work closely with District Policing Committees to identify PARTIAL
 strategies to address crime and safety issues in their District,” considering and COMPLIANCE
 addressing identified priorities.
 26. “At least annually, each District Policing Committee will present its PARTIAL
 identified strategies, concerns, and recommendations” to the CPC, with CDP COMPLIANCE
 officer who is Committee member presenting to CPC “CDP’s assessment of
 ways to address” the recommendations.”

In a welcomed change from previous reporting periods, the City has begun to make progress
toward fulfilling its requirements toward creating District Policing Committees (DPCs) under the
Consent Decree. This was demonstrated during their presentation to the CPC, which took place on
May 19, 2022. This was the first such presentation of this kind and provided a promising start to a
practice that is required to occur on at least an annual basis, per paragraph 26 of the Consent
Decree. At the May 19th presentation, all district officers who presented on behalf of the DPCs
were enthusiastic and engaging. Each district presentation included information on community
demographics, strategies to address crime and safety issues, and identified community safety
concerns. Some of the district presentations included strategies to increase participation and
diversification of DPC membership, but all districts must make significant efforts toward this goal,



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as mandated by paragraph 24 of the Consent Decree. In order to successfully comply with the
Consent Decree, all districts will need to develop and execute outreach strategies to increase each
DPC’s participation and reach.

Beyond requiring the above described DPC presentations to the CPC, the 2022 Monitoring Plan10
also specifically called for increased advertisements for DPCs. Based on the materials provided to
the Monitoring Team during this reporting period, there appears to be a considerable increase
information sharing to the public. Nevertheless, the usage of the legacy term "District Community
Relations Committee" causes the Monitoring Team to continue to question whether CDP has
fully embraced the transition and reimagined the composition of the DPCs as required by the
Consent Decree.




10
     2022 Monitoring Plan can be found here.



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   IV.     COMMUNITY & PROBLEM-ORIENTED POLICING

 Paragraph                                                                          Status of
                                                                                    Compliance
 27. Implementation of “comprehensive and integrated community and                  PARTIAL
 problem-oriented policing model” by the City.                                      COMPLIANCE
 28. Ensuring that “mission statement reflects [the Division’s] commitment          OPERATIONAL
 to community-oriented policing” / “integrat[ing] community and problem-            COMPLIANCE /
 oriented policing principles into its management, policies and procedures,         PARTIAL
 recruitment, training, personnel evaluations, resource deployment, tactics,        COMPLIANCE
 and accountability systems.”
 29. Ensuring “that officers are familiar with the geographic areas they            PARTIAL
 serve,” “engage in problem identification,” and “work proactively . . . to         COMPLIANCE
 address quality of life issues.”
 30. Initial and annual in-service community and problem-oriented policing          PARTIAL
 training “adequate in quality, quantity, type, and scope” that addresses           COMPLIANCE
 specifically identified areas.
 31. Maintenance of “collaborative partnerships with a broad spectrum of            PARTIAL
 community groups,” including CDP meetings with community                           COMPLIANCE
 organizations and District Policing Committees.
 32. CDP “meet[ing] with members of the community in each District on a             PARTIAL
 monthly basis and “solic[itation of] participation from a broad cross-section      COMPLIANCE
 of community members in each District” to “identify problems and other
 areas of concern . . . and discuss responses and solutions.”
 33. Development and implementation of “systems to monitor officer                  PARTIAL
 outreach to the community” that CDP “will use . . . to analyze . . . whether       COMPLIANCE
 officers are partnering with a broad cross-section of community members
 to develop and implement cooperative strategies that build mutual respect
 and identify and solve problems.”
 34. “At least annually, CDP will present the results” of paragraph 33              NON-
 analysis “broken out by District in a publicly-available community policing        COMPLIANCE
 report” that describes problems, solutions, and obstacles. Report provided
 to Commission and posted on CDP website.

As reported in the Tenth Semiannual Report, CDP has made some progress toward implementation
of the mandates required for Community & Problem-Oriented Policing (CPOP) under the Consent
Decree. During the last reporting period, the Division made significant strides developing their




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Brazos system,11 which provides the foundation for data gathering in the areas of Search and
Seizures, Community Engagement, Community and Problem-Oriented Policing, and Crisis
Intervention. Since the Monitoring Team’s last report, CDP’s CPOP General Police Order (GPO)
and the CPOP Data Collection training were finalized and filed with the Court (updated and filed
March 1, 2022). Furthermore, early on in this reporting period, the Division provided the CPOP
Data Collection training to the entire Division to jumpstart use of the Brazos data collection system
for CPOP data. CDP has reported that CPOP data were not captured in the Brazos system until
March 1, 2022. Therefore, while CDP reports that they've been collecting CPOP data since March
of 2022, the Monitoring Team has not yet received or reviewed said data. CDP plans to produce
its first report on its CPOP data in 2023, and the Monitoring Team looks forward to analyzing the
data as well in a future compliance review on CPOP. The Monitoring Team continues to emphasize
that while CPOP data collection is certainly important for fulling Consent Decree mandates, this
must be coupled with CDP’s ability to demonstrate a change in culture by embracing and enacting
CPOP principles throughout the Division.

The Monitoring Team will soon be determining when it will conduct its assessment of CDP’s
CPOP efforts to measure CDP’s success at fulfilling its CPOP-related requirements under the
Consent Decree.




11
     https://www.tylertech.com/products/brazos



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   V.        BIAS-FREE POLICING

 Paragraph                                                                Status of
                                                                          Compliance
 35. Delivery of “police services with the goal of ensuring that they are PARTIAL
 equitable, respectful, and free of unlawful bias,” among other things.   COMPLIANCE
 36. “CDP will integrate bias-free policing principles into its management, PARTIAL
 policies and procedures, job descriptions, recruitment, training, personnel COMPLIANCE
 evaluations, resource deployment, tactics, and accountability systems.”

 37. CDP will ensure that it “administer[s] all activities without PARTIAL
 discrimination” on basis of various protected classes             COMPLIANCE
 38. “CDP will develop a bias-free policing policy” incorporating CPC OPERATIONAL
 recommendations “that provides clear guidance to officers”           COMPLIANCE
 39–40. Develop bias-free policing and procedural justice training OPERATIONAL
 “adequate in quality, quantity, scope, and type” covering specific areas COMPLIANCE
 within 18 months of the Effective Date.

 41. Supervisor training on bias-free policing and procedural justice issues NON-
 covering specific areas                                                     COMPLIANCE
 42. Annual in-service training on bias-free policing “adequate in quality, PARTIAL
 quantity, type, and scope”                                                 COMPLIANCE
 43. Analysis of paragraph 265 data (“including use of force, arrests, motor NON-
 vehicle and investigatory stops, and misconduct complaints alleging COMPLIANCE
 discrimination”)

 44. Consideration of “bias-free policing and equal protection” principles in PARTIAL
 hiring, unit assignment, promotion, and performance assessments.             COMPLIANCE


While CDP’s Training Section has made significant strides in a number of areas, there continues
to be an outstanding need in the area of bias-free course curriculum and training. The Training
Section readily identified the existing gap and has been working to potentially address it by
contracting with an outside third-party vendor. In the meantime, CDP has had to rely on the use of
Cultural Humility Training provided to the Division by the Ohio Peace Officer Training
Commission. CDP was able to make some key additions to the four-hour training provided by the
State. Those additions included details regarding CDP’s Bias-free Policing policy. However,
relying on outside training for this key Consent Decree deliverable is less than ideal; bias-free
policing is an essential aspect of changing CDP’s culture and strengthening its relationship with



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the community, and reinforcing this through its own, CDP-specific bias-free training is important.
The Monitoring Team will continue to assess the Division’s progress in this essential area of the
Consent Decree.
The Decree also requires the Division to provide “[d]istrict-level cultural competency training
regarding the histories and culture of local immigrant and ethnic communities.”12 The Division
worked with the Monitoring Team, Department of Justice, and a CPC co-chair to develop District
Neighborhood Awareness trainings comprised of the appropriate scope, quality, and content. After
more than three years of work on this deliverable, representatives from the Training Section of
CDP delivered the training in all five police districts. The trainings were well-attended. Of the 887
officers reportedly eligible for the training, 825 of them completed the one-hour training. Thirty-
six officers did not attend due to being on extended illness, restricted status, suspension, or military
leave. Another twenty-six officers did not participate for other reasons and the Division has
indicated they will be rescheduled to receive the training. Overall, the Division achieved nearly a
94% completion rate for officers who were eligible for the training.

Members of the Monitoring Team and Department of Justice observed more than a dozen District
Neighborhood Awareness training sessions across all five districts. We observed instructors who
were prepared and enthusiastic. Participating officers remained alert and responsive to questions
posed by instructors. Each training covered topics such as diverse populations of each respective
district and information related to uprisings in the 1960s. The training provided some definitional
discussion of cultural competency, cultural humility, ethnicity, and intersectionality. The Court-
approved curriculum also required the instructors to discuss more recent critical incidents of
compelling public interest that has fostered community distrust of officers. Only after attending
multiple training sessions that were delivered across the City, did individual members of the
Monitoring Team realize the collective failure of the Division to cover this critically important
information, despite years of work to develop a comprehensive curriculum designed to satisfy the
requirements of the Consent Decree. The Monitoring Team recognizes this neighborhood training
was delivered in a manner unlike the typical District-wide trainings delivered at the Academy. For
that reason, it was not possible to provide real-time feedback to the Training Section commander
as normally occurs. The Division has not provided any explanation for the failure to ensure that
all trainings adequately covered the Court-approved curriculum. Additionally, the Monitoring
Team and Department of Justice have repeatedly urged the Division to involve subject-matter
experts and community leaders as members of their instructional team to ensure that participants
are gaining accurate and informed insights. The Division is required to deliver this training
annually. The Monitoring Team will continue to assess its progress and provide updates to the
Court.




12
     Dkt. 413-1, Ex. A ¶40.



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   VI.       USE OF FORCE

1. Officer Use of Force Principles & Policy

 Paragraph                                                                    Status of
                                                                              Compliance
 45. “CDP will revise, develop, and implement force policies, training, PARTIAL
 supervision, and accountability systems with the goal of ensuring that COMPLIANCE
 force” complies with the Constitution, federal law, and the Consent Decree
 “and that any use of unreasonable force is promptly identified and
 responded to appropriately.”
 46. “The City will implement the terms of this Agreement with the goal of PARTIAL
 ensuring that use of force by CDP officers . . . will comply” with at least COMPLIANCE
 twelve major, listed principles.
 47. Division “will ensure that the [use of force] incident is accurately and PARTIAL
 properly reported, documented, and investigated.”                            COMPLIANCE
 48. “CDP will track and analyze officers’ uses of force to hold officers PARTIAL
 accountable for unreasonable uses of force; to guide training and policy; COMPLIANCE
 and to identify poor tactics and emerging trends.”
 49. Development of use of force policies “that comply with applicable OPERATIONAL
 law[,] . . . are adequate to achieve the goals described in paragraph 45,” COMPLIANCE
 and “specify that unreasonable use of force will subject officers to the
 disciplinary process, possible criminal prosecution, and/or possible civil
 liability.”
 50. “CDP’s policies will address the use and deployment of its authorized OPERATIONAL
 force techniques, technologies, and weapons.”                                COMPLIANCE
 51. Weapon-specific policies “will include training and certification OPERATIONAL
 requirements that each officer must meet before being permitted to carry COMPLIANCE
 and use the authorized weapon.”
 52. “No officer will carry any weapon that is not authorized or approved OPERATIONAL
 by CDP.”                                                                     COMPLIANCE
 53. “Prior to the use of any approved weapon, the officer, when possible OPERATIONAL
 and appropriate, will communicate to the subject and other officers that COMPLIANCE
 the use of weapon is imminent, and allow the subject an opportunity to
 comply.”
 54–83 “The City will implement policies” for firearms, ECWs (Tasers), OPERATIONAL
 and OC (pepper) spray that comply with a host of specific, expressly listed COMPLIANCE
 provisions.




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 84. CDP “will provide all current officers use of force training that is          OPERATIONAL
 adequate in quality, quantity, scope, and type and that includes” a number        COMPLIANCE
 of specific, expressly listed elements.
 85. CDP “will provide the use of force training described in paragraph 84         OPERATIONAL
 to all new officers.”                                                             COMPLIANCE
 86. “CDP will provide all officers with annual use of force in-service            OPERATIONAL
 training that is adequate in quality, quantity, type, and scope.”                 COMPLIANCE
 87. “CDP will develop and implement a single, uniform reporting system            GENERAL
 pursuant to a Use of Force reporting policy” that complies with the force         COMPLIANCE
 Level categorization set forth in the paragraph.
 88. Requiring “[a]ll officers using or observing force” to complete a Use         OPERATIONAL
 of Force Report including a number of specific features and avoiding              COMPLIANCE
 “conclusory statements, ‘boilerplate’, or ‘canned’ language.”
 89. “Officers will be subject to the disciplinary process for material            OPERATIONAL
 omissions or misrepresentations in their Use of Force Reports.”                   COMPLIANCE
 90. “Officers who use or observe force and fail to report it will be subject      OPERATIONAL
 to the disciplinary process, up to and including termination, regardless of       COMPLIANCE
 whether the force was reasonable.”
 91. Requirement to “notify . . . supervisors . . . as soon as practical           OPERATIONAL
 following any use of force” and if becoming aware of “an allegation of            COMPLIANCE
 unreasonable or unreported force by another officer.”
 92. “Use of Force Reports will be maintained centrally.”                          OPERATIONAL
                                                                                   COMPLIANCE

           a. Reviewing Use of Force

In October 2020, a select group of Monitoring Team members reviewed CDP’s use of force
incidents that occurred between 2018 and 2019 to test whether officers apply force in a manner
that complies with the Division’s new policies and terms of the Consent Decree. The findings from
this assessment were summarized in a memorandum filed with the Court on March 22, 2022.

The Monitoring Team assessed a sample of 130 use of force incidents. The sample consisted of all
Level 3 force cases, and a statistically representative sample of Level 1 and Level 2 cases, with an
oversample of non-firearm Level 1 cases. Each of the Level 2 and 3 cases in the sample were
assessed by two Monitoring Team reviewers, while Level 1 cases were each assessed by one
reviewer. The Monitoring Team created, tested, and refined a qualitative assessment instrument
that was endorsed by the City and Department of Justice.




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The Monitoring Team found that the uses of force reviewed were generally within policy, the chain
of command reviews appropriately identified and addressed problematic uses of force by referring
cases to Internal Affairs or the Training Division, and supervisors on scene engaged with officers.

That said, the Monitoring Team’s review did highlight a few deficiencies by CDP officers in
tactics, and the ability to deescalate, both of which at times created the need for force. The
Monitoring Team was also concerned that use of force reviews by the chain of command continue
to take months to complete. Policy 2.01.06 dictates that “each level in the chain of command shall
review the [use of force] report within three tours of duty"; conversely the Monitoring Team’s
reviews indicated that they could take as long as several months. Understanding that Policy
2.01.06 went into effect in 2021 and the cases the Monitoring Team subject matter experts
reviewed were from 2018 and 2019, the purpose for noting the delays in this document serves to
advise the City and the CDP that review timelines will be a focus of upcoming compliance reviews
and assessments of use of force cases. Finally, the Monitoring Team concluded that the Division
needs to create processes and structures for issues identified during use of force events, such as
inadequate de-escalation or problematic tactics, to be addressed in training.

The Monitoring Team has identified some problematic trends relating to the investigation of
officer-involved shootings. In July 2021, the Monitoring Team reviewed two fatal officer-involved
shootings that were investigated by the Force Investigation Team (FIT). Overall, the Monitoring
Team identified substantial issues and concerns regarding the two investigations. We identified
problems with respect to the timeliness of the investigations, and the quality of the interviews of
the subject officers. In addition, we found that the investigation reports contained indicators of
pro-officer bias. Ultimately, we classified the investigations as “poor” and not in compliance with
the Consent Decree. As of this writing, the Monitoring Team is poised to begin a comprehensive
assessment of FIT investigations and will be able to report on current practices and compliance
after its conclusion.

In addition, the Monitoring Team recently learned of a use of force incident that resulted in a CDP
officer being shot and injured by a fellow officer. Based on our current understanding, this incident
was not properly documented, investigated, or disclosed to the Monitoring Team in a manner
consistent with CDP policy or the requirements of the Consent Decree. The Monitoring Team has
launched an in-depth review of this case to determine what occurred, how it was investigated and
reported, and the impact on compliance.

The Monitoring Team is now engaged in ongoing quarterly reviews of uses of force to formally
assess CDP’s compliance with Section VI of the Consent Decree and continues to monitor use of
force case data monthly at CDP’s CDPStat Meetings. As these reviews and regular monitoring
continue, the Monitoring Team will discuss with the Division the internal review process for use
of force incidents and the process for determining the final disposition of the incident. In addition,



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a comprehensive evaluation of Force Investigation Team (FIT) investigations will begin over the
course of the next reporting period.

           b. In-Service Training

During the assessment period, CDP completed, after consideration collaboration with the
Monitoring Team and the Department of Justice, what it referred to as its 2022 Session II In-
service Training Curricula. For Session II, the use of force content was successfully woven into
reality-based scenarios that covered use of force concepts alongside search and seizure policy and
legal requirements. Specifically, the scenarios covered important use of force requirements such
as force only being used when necessary, objectively reasonable and proportionate to the level of
resistance, and the on-going obligation to de-escalate interactions. The approved scenario training
used a commendable variety of adult learning techniques, including question-and-answer,
scenario-based training, written assessments, and debriefing.

Furthermore, CDP submitted the 2022 Session III In-service Training Curricula for approval
during this reporting period. Session III topics include active threat response, subject control,
Question, Persuade, Refer (QPR), Active Bystandership for Law Enforcement (ABLE), and ASP
Baton, oleoresin capsicum (OC) Spray. Initially, CDP submitted a complex “Stress Scrambler”
live-fire scenario that combined use of force decision making and reporting, de-escalation,
required uses of wearable camera systems (WCS) and integrating it into the scenarios, and use of
the patrol rifle. CDP has informed the Monitoring Team that this scenario training will be delayed
until 2023, in order to accommodate active threat response training for 2022. While Session III
curriculum is still under collaboration with the Parties, the Monitoring Team has found the
curriculum to be comprehensive and CDP to be responsive to feedback and looks forward to
approving the curriculum in the near future. Members of the Monitoring Team plan to attend at
least one Session III class for reporting out in the next semiannual report.

2. Use of Force Investigation and Review

  Paragraph                                                                Status of
                                                                           Compliance
  93. “A supervisor who was involved in a use of force, including by OPERATIONAL
  participating in or ordering the force under investigation, will not COMPLIANCE
  investigate the incident or review the Use of Force Reports for approval
  or disapproval.”
  94. Setting specific requirements relating to the investigation of low- OPERATIONAL
  level, Level 1 force.                                                    COMPLIANCE




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95–109. Setting specific requirements relating to the investigation by         OPERATIONAL
supervisors and/or CDP chain of command for investigation and review           COMPLIANCE
of Level 2 force.
110. “CDP may refer criminal investigations of uses of force to an             OPERATIONAL
independent and highly competent agency outside CDP.”                          COMPLIANCE
111. Creation and design of dedicated Force Investigation Team (FIT)           OPERATIONAL
that “will conduct administrative investigations . . . and criminal            COMPLIANCE
investigations” of serious force, “force involving potential criminal
conduct,” in-custody deaths, and cases assigned to it by the Chief.
112. Composition of FIT Team.                                               OPERATIONAL
                                                                            COMPLIANCE
113. “FIT members will receive FIT-specific training that is adequate OPERATIONAL
in quality, quantity, scope, and type” on a host of specific, expressly- COMPLIANCE
listed topics both initially and annually thereafter.
114. “CDP will identify, assign, and train personnel for the FIT to fulfill OPERATIONAL
the requirements of this Agreement.”                                        COMPLIANCE
115. Response of FIT to use of force scenes. FIT notification of OPERATIONAL
prosecutor’s office. Notification of designated outside agency to COMPLIANCE
conduct criminal investigation if City elects to use external agency for
such investigations.
116. “CDP will develop and implement polices to ensure that, where an PARTIAL
outside agency conducts the criminal investigation, FIT conducts a COMPLIANCE
concurrent and thorough administrative investigation.”
117. Memorandum of understanding required between CDP and OPERATIONAL
outside agency containing specific, expressly-listed provisions.            COMPLIANCE

118. Setting forth various, specific, and expressly-listed responsibilities    PARTIAL
of FIT during its investigations.                                              COMPLIANCE
120. Providing for delay of compelled interview if “case has the               PARTIAL
potential to proceed criminally” but otherwise requiring that “[n]o other      COMPLIANCE
part of the investigation . . . be held in abeyance” unless “specifically
authorized by the Chief” in consultation with investigating agency and
prosecutor’s office.
121. Requiring completion of preliminary report presented to Chief or          PARTIAL
Chief’s designee “as soon as possible, but absent exigent circumstances,       COMPLIANCE
no later than 24 hours after learning of the use of force.”




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     122. Completion of investigation within 60 days. Preparation of FIT          PARTIAL
     investigation report. Review of FIT investigative report by head of          COMPLIANCE
     Internal Affairs who “will approve or disapprove FIT’s
     recommendations, or request . . . additional investigation.”
     123. Revision of FIT manual to ensure “consisten[cy] with the force          OPERATIONAL
     principles” and several specific, expressly-listed provisions.               COMPLIANCE
     124–30. Establishment and operation of Force Review Board “to serve          PARTIAL
     as a quality control mechanism for uses of force and force                   COMPLIANCE
     investigations, and to appraise use of force incidents from a tactics,
     training, policy, and agency improvement perspective.”

               a. Background

As prior semiannual reports have summarized, the Consent Decree establishes protocols for the
Division to investigate uses of force based on the reported level of force. On April 22, 2020, the
Monitoring Team indicated to the Court its approval of four final documents from CDP relating to
the investigation of use of force incidents: (1) a Use of Force Supervisory Reviews and
Investigations Policy (Supervisory Review Policy); (2) a Force Investigation Team (FIT) Manual;
(3) a FIT GPO; and (4) a Memorandum of Understanding Between the Cleveland Division of
Police and the Cuyahoga County Sheriff’s Department to Conduct Independent Criminal
Investigations of Uses of Force by Cleveland Police That Result in the Actual or Anticipated Death
of a Person (MOU).

Additionally, on June 30, 2020, the Court conditionally approved the proposed Force Review
Board (FRB) Policy for a period starting on the date the FRB holds its first meeting and extending
for six months. The FRB serves as a quality control mechanism for uses of force and force
investigations, and to appraise use of force incidents from a tactics, training, policy, and agency
improvement perspective.13 During this time, the Monitoring Team was to assess FRB operations
to determine if it can effectively carry out all of the duties that the Consent Decree prescribes.

The first meeting of the FRB occurred on February 8, 2021, followed by a board on April 26, 2021.
The third-quarter board took place on August 20, 2021. During the first few meetings, there were
problems with the technology and audio quality which hindered the Monitoring Team and
Department of Justice’s ability to fully hear the discussions at the meeting. During the three FRB
meetings held on December 10, 2021, March 18, 2022 and June 17, 2022 select members of the
Monitoring Team were in attendance, and systematically documented observations. CDP also held
on FRB on June 3, 2022 for which the Monitoring Team was not in attendance. For each FRB
meeting where the Monitoring Team was present, Monitoring Team members used a qualitative


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     Dkt. 413-1 at ¶ 124.



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instrument to document the FRB process, and compliance with CDP policy and the requirements
of the Consent Decree. As described in detail below, this process revealed that most cases are
being done in a manner consistent with policy and the Consent Decree; however, significant
concerns that must be addressed have also been raised throughout the process.

The Monitoring Team remains concerned with the timeliness of reviews of use of force incidents,
as the delays in chain of command reviews negatively impact the ability of CDP to fully adjudicate
use of force cases promptly. As we currently engage in assessments of use of force events, FIT
investigations, FRB processes, and discipline imposed by the Chief of Police, identifying sources
of, and contributing factors to delays remains a top priority. The Monitoring Team is focused on
ensuring that issues relevant to use of force that may be addressed through training, counseling,
policy, and/or discipline are resolved quickly and effectively.

3. Force Review Board

For this semiannual report, the Monitoring Team is not reporting out on the specific quantitative
findings from the ongoing FRB assessment, preferring to address these statistics and their
implications in a standalone memorandum. Instead, we will briefly mention high level
observations from the past three meetings.

Reviewers found most, but not all the presentations, provided an accurate, objective summary of
the facts, and were inclusive of information material to evaluating the circumstances of each case,
decision making, and the legal basis for searches, detentions, arrests, and other actions. Reviewers
did note some potential sources of bias being introduced during presentations, such as the inclusion
of information that vouches for the reputation of officers while failing to objectively review the
use of force in question. This type of unobjective advocacy for officers distracted from problematic
behavior displayed during the use of force incidents.

On multiple occasions, Monitoring Team members observed the presenter was also a member of
the FRB and voted on the case that they presented. This highlights a conflict of interest that, per
Policy 2.01.08, compromises the integrity of the process. Policy 2.01.08 states “FRB member shall
immediately notify the Chair upon learning that abstention is necessary to avoid a conflict of
interest.”

Lastly, throughout many of the FRB meetings, numerous issues around WCS policy, equipment,
and training have arisen, including officers’ inability to activate cameras on motorbikes,
clarification on when WCS may and may not be used (specifically in hospital settings), discussion
on use of WCS when working with federal task forces, and issues related to battery life and
mounting systems. The Monitoring Team will continue to track these issues and anticipates that
CDP will address them through the appropriate channels.




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While the Monitoring Team’s high-level findings and observations indicate that the Division is
operationally in compliance, the Monitoring Team finds that holding meetings quarterly precludes
a timely review (most cases are reviewed 4-6 months after the use of force). Further, in two of the
last three meetings, the Board did not have enough time to review all the cases. Monitoring Team
members found that some of the issues related to running out of time were preventable, as the FRB
at times focused on minutia irrelevant to the use of force analysis, while glossing over more salient
force-related concerns. Increasing the frequency of FRB meetings from the current quarterly
cadence could address the need for the Division to handle matters expeditiously.

4. Force Investigation Team Assessment

The Monitoring Team has developed a methodology to assess Force Investigation Team (“FIT”)
investigations to ensure compliance with CDP policy and the requirements of the Consent Decree.
This methodology is in the process of being shared with the Parties, and once the methodology has
been finalized, assessment activity will commence during the next reporting period.

5. CDP Data Collection

During this reporting period on April 22, 2022, CDP published its 2021 Use of Force Report. The
Monitoring Plan did not require a review period by the Parties prior to publication. That said, both
the Department of Justice and the Monitoring Team found issues with how the data were presented
and interpreted in tables and figures, and we expect future publications to include analyses that
contextualize and explain the data.

The Monitoring Team received an “Outcome Measure Report” data file from CDP on July 13,
2022. This file includes information relevant to CDP’s required use of force reporting. The
Monitoring Team has reviewed the data and submitted several questions for follow-up from the
Division, to which it did receive a response. These data are described in greater detail in the
Outcome Measures section of this report.

The Monitoring Team has noted, based on data provided during CDPStat presentations by the
Division, that use of force numbers are up slightly, year to date, relative to 2021. In particular,
events involving firearm points are up measurably, year to date, over both 2021 and 2020. We will
continue to track these trends during our regular communications with CDP, and look forward to
the Division’s own assessments of the patterns in these data, and analysis of possible drivers and
responses.




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 VII.   CRISIS INTERVENTION

Paragraph                                                                      Status of
                                                                               Compliance
131. “CDP will build upon and improve its Crisis Intervention Program” in OPERATIONAL
furtherance of four specific, expressly-listed goals, which “will provide a COMPLIANCE
forum for effective problem solving regarding the interaction between the
criminal justice and mental health system and create a context for sustainable
change.”
132. Establishment of Mental Health Response Advisory Committee (the GENERAL
“Advisory Committee”) “to foster relationships and build support between COMPLIANCE
the police, community, and mental health providers and to help identify
problems and develop solutions designed to improve outcomes for
individuals in crisis.”
133. Composition of Advisory Committee.                                        GENERAL
                                                                               COMPLIANCE
134. “The Advisory Committee will meet regularly and provide guidance to GENERAL
assist CDP in improving, expanding, and sustaining its Crisis Intervention COMPLIANCE
Program.”
135. Advisory Committee will conduct an annual “analysis of crisis PARTIAL
intervention incidents to determine whether CDP has enough specialized COMPLIANCE
CIT officers, whether it is deploying those officers effectively, and whether
specialized CIT officers” and communications “are appropriately
responding to people in crisis,” and will also “recommend appropriate
changes.”
136. “The Advisory Committee’s reports and recommendations will be GENERAL
provided” to CPC, “be publicly available, and will be posted on the City’s COMPLIANCE
website.”
137. CDP will designate a Crisis Intervention Coordinator for specific, GENERAL
expressly-identified purposes.                                                 COMPLIANCE
138. “Coordinator will develop and maintain partnerships with program GENERAL
stakeholders and serve as point of contact” and “resource” for other COMPLIANCE
stakeholders.
139. “Coordinator will participate in the Advisory Committee and on a GENERAL
regular basis solicit feedback from the mental health community and COMPLIANCE
specialized CIT officers, call-takers, and dispatchers regarding the efficacy
of CDP’s Crisis Intervention Program.”
140. “Coordinator will be responsible for coordinating implementation of OPERATIONAL
the changes and recommendations made by the Advisory Committee, as COMPLIANCE
appropriate.”



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141. “Coordinator will be responsible for ensuring the selection of                  PARTIAL
appropriate candidates for designation as specialized CIT officers” and “to          COMPLIANCE
ensure that officers, call-takers, and dispatchers are appropriately
responding to CIT-related calls.”
142. “Coordinator will create ways to recognize and honor specialized CIT            OPERATIONAL
officers, call-takers, and dispatchers.”                                             COMPLIANCE
143. Initial and annual crisis intervention training to all officers and recruits    OPERATIONAL
that is “adequate in quality, quantity, type, and scope.”                            COMPLIANCE
144. Initial and annual crisis intervention training for dispatchers and call-       OPERATIONAL
takers.                                                                              COMPLIANCE
145. “The City will provide enhanced specialized training in responding to           PARTIAL
individuals in crisis to certain officers (‘specialized CIT officers’),” who will    COMPLIANCE
be “called upon to respond to incidents or calls involving individuals in
crisis.”
146–47. Outlining various requirements for the “enhanced training” for               OPERATIONAL
specialized CIT officers of “at least 40 hours.”                                     COMPLIANCE
148. Designation of specialized CIT officers, per specific, expressly-listed         OPERATIONAL
requirements.                                                                        COMPLIANCE
149. “Supervisors will identify and encourage qualified officers across all          PARTIAL
shifts and all Districts to serve as specialized officers.”                          COMPLIANCE
150. “All Field Training Officers” (“FTO”s) “will receive the enhanced               PARTIAL
specialized crisis intervention training described in paragraph 146,” though         COMPLIANCE
FTOs will “not be designated as a specialized CIT officer” unless they
volunteer and have been selected to do so.
151. “Specialized CIT officers who are dispatched to an incident involving           PARTIAL
an individual in crisis will have primary responsibility for the scene,” with        COMPLIANCE
supervisors “seek[ing] the input of a specialized CIT officer . . . where it is
reasonable for them to do so.”
152. “[T]he Coordinator will develop an effective specialized crisis                 PARTIAL
intervention plan . . . to ensure that a specialized CIT officer is available to     COMPLIANCE
respond to all calls and incidents that appear to involve an individual in
crisis” that includes various, specific, expressly-identified requirements. The
City “will use its best efforts to ensure that a specialized CIT officer
responds to all calls and incidents that appear to involve an individual in
crisis.”
153. City “will consider” crisis intervention program assessment by Ohio             GENERAL
Criminal Justice Coordinating Center of Excellence.                                  COMPLIANCE
154. CDP “will revise its policies to make clear that a crisis intervention          OPERATIONAL
response may be necessary even in situations where there has been an                 COMPLIANCE
apparent law violation.”




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     155. CDP “will revise its current crisis intervention policy to ensure that         OPERATIONAL
     specialized CIT officers have appropriate discretion to direct individuals . .      COMPLIANCE
     . to the health care system, rather than the judicial system . . . where it is
     appropriate to do so.”
     156. CDP policies and procedures will ensure that “specialized CIT officers         PARTIAL
     . . . must be dispatched to all calls or incidents that appear to involve an        COMPLIANCE
     individual in crisis.” CDP must “track incidents in which a specialized
     officer was not dispatched to such calls” and “identify any barriers” to
     ensuring dispatch of specialized CIT officer to such calls.
     157. “CDP will track calls and incidents involving individuals in crisis by         OPERATIONAL
     gathering, at a minimum,” specific, expressly-identified data.                      COMPLIANCE
     158. Public reporting of paragraph 157 data and provision to Advisory               OPERATIONAL
     Committee.                                                                          COMPLIANCE
     159. “The City will utilize” paragraph 157 data “to identify training needs         PARTIAL
     and develop case studies and teaching scenarios” for training and other             COMPLIANCE
     expressly-identified systemic purposes.

               a. Background

The Consent Decree requires the Division to build and enhance its Crisis Intervention Program
with the goals of:
    ● Assisting individuals in crisis;
    ● Improving the safety of officers, consumers, family members, and others within the
         community;
    ● Providing the foundation necessary to promote community and statewide solutions to
         assist individuals with mental illness; and
    ● Reducing the need for individuals with mental illness to have further involvement with
         the criminal justice system.14

               b. Where the Division Stands

The Tenth Semiannual Report noted many of the tasks set forth in the Consent Decree have reached
operational or general compliance. The Division has completed four annual in-service trainings
for all officers and is close to completing this year’s in-service training. Additionally, the Division
has completed an initial training for call-takers, dispatchers, and supervisors and has continued to
train new dispatchers in the court-approved behavioral curriculum. The Division is working with
the ADAMHS Board to increase the number of specialized Crisis Intervention Team (CIT)
Officers by completing three CIT Officer 40 Hour Trainings per year. New information systems
processes have provided improved data collection. Expanded professional expertise has helped

14
     Dkt. 413-1 at ¶ 131.




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organize more targeted data reports. These data reports are helping to identify areas for further
improvements in responding to individuals experiencing a behavioral crisis.

               i. The Mental Health Response Advisory Committee and the MHRAC
                  Subcommittees: Training, Community Engagement, Diversion and
                  Quality Improvement

The Division, the Department of Justice and the Monitoring Team view the work of the Mental
Health Response Advisory Committee (MHRAC) as a key factor in the Division’s successful work
to meet the tasks set forth in the Consent Decree. MHRAC will retain a unique role as the Consent
Decree moves towards the outcome phase and eventual completion of the agreement. CDP has
emphasized the importance of maintaining the community partnerships between CDP and the
members of MHRAC past the end of the Consent Decree. However, MHRAC’s leadership has
been clear that additional work is needed to transition MHRAC to a group that will maintain its
contribution to the Division and City of Cleveland. To this end, the MHRAC leadership has
committed to a review of MHRAC’s goals and structure at an upcoming general membership
meeting to develop a strategy to retain the group’s sustainability beyond the life of the Consent
Decree.

The positive picture of CDP and MHRAC, while accurate, has not been without challenges. A
community member of a Task Force updating the CDP Crisis Intervention Policies noted that a
policy had been posted to an updated CDP website that was not consistent with the court-approved
version. A line about the role of EMS was dropped from the policy. Unfortunately, the response
to this issue was not timely and raised concerns of MHRAC members. The Monitoring Team
called CDP’s attention to this matter and eventually the correct policy was uploaded to the website
and subsequently used in the process of revising the Crisis Intervention Policy. This incident can
put the progress CDP and MHRAC have made at risk and could have potentially undone some of
the community trust that has developed. The challenge for CDP and MHRAC in the future will be
to stay alert for such incidents and respond successfully without the involvement of the Monitoring
Team and Department of Justice.

MHRAC’s Training Subcommittee under the leadership of chair Shannon Jerse of St. Vincent
Hospital, and the technical assistance provided by Carole Ballard of the Alcohol, Drug Addiction
& Mental Health Services (ADAMHS) Board, took on a series of responsibilities in developing
the CDP Crisis Intervention training. The committee worked with CDP to obtain court approval
for a new in-service curriculum on homelessness, completed the approval process for use of the
State of Ohio Peace Officer Training Commission (OPOTC) Basic Recruit curriculum, and
developed an initial draft of a revised curriculum for call-takers, dispatchers, and supervisors.
Initial feedback from the in-service training has been very good with close to 70% of participants
rating the training as increasing their knowledge and learning. Similar feedback from the call-




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takers and dispatchers training was equally positive with trainees actively engaged in the practical
activities including listening to tapes that were recorded live and viewing behavioral health-related
videos. The Training Committee’s success over several years has led the subcommittee members
to have a reputation as a hard-working, civic-minded group.

MHRAC’s Community Engagement Subcommittee is chaired by Beth Zietlow-DeJesus,
ADAMHS Board Director of External Affairs. The subcommittee’s work focuses on community
engagement activities and includes an ongoing update of resources cards for each CDP District.
The committee has struggled with limitations imposed by the pandemic, given the inability to
organize public gatherings. However, the committee has worked to promote community
knowledge about the work of MHRAC through promoting awareness of the MHRAC Annual
Report. The Community Engagement Subcommittee worked with various media organizations to
create live radio shows on WOVU with Rev. Gohlstin, WCPN’s Sound of Ideas and CW Focus
making use of presentations by CDP, the ADAMHS Board, Frontline Services, Policy Matters
Ohio, and the Monitoring Team. Finally, the subcommittee has been working on a hybrid series
in Partnership with Cleveland’s TV20 on “Conversations about Mental Health and Substance Use
Crisis Response in Cleveland.”

After discussion and review at MHRAC’s Monthly Meeting, a decision was reached to move the
MHRAC Diversion Subcommittee to the County Diversion Board which oversees the new County
Diversion Center. Larry Heller continued as a co-chair of the Diversion Subcommittee which is
now re-formed as Diversion Community Input Committee. He was joined in this capacity by co-
chair LaTonya Goldsby of Black Lives Matter, Cleveland. This new committee will continue to
liaise with MHRAC and provide community input to the Diversion Center. The new center
provides diversion opportunities for not only law enforcement agencies, also intervention options
for the public at large.

MHRAC’s Quality Improvement Subcommittee (QI), which was chaired by Deputy Chief Joellen
O’Neill during this reporting period, has taken on a critical role for the Consent Decree. The
Consent Decree notes that CDP will track calls and incidents involving individuals in crisis to
identify training needs and develop case studies and teaching scenarios. The CDP data reports have
made use of CDP’s and MHRAC’s early work in developing a comprehensive Behavioral Health
Form. CDP has worked to improve the officer response rate to the form and the available data is
becoming more representative of CDP crisis intervention events. As reported previously, some
key aspects of the new policy are already showing results.15 Officers are making greater use of
EMS when needed, which was one of the goals of the new CDP Crisis Intervention Policy. The
arrest rate has remained very low, as has the injury rate to officers and community members. The
incidents of violence or the presence of weapons is also low, which helps to change the stereotypes
that lead to stigma associated with behavioral health issues. Such data has led to discussions with

15
     Ninth Semiannual Report at 81.



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relevant social service agencies such as the YWCA Normal Herr Women’s Shelter, CDP, the
ADAMHS Board, and MHRAC in order to problem-solve and offer solutions to difficult
situations.
As noted, CDP’s enhanced data collection has allowed the Quality Improvement Subcommittee to
achieve a level of data specificity that enables them to identify and examine specific issues and
patterns of potentially problematic performance indicators at an early stage. For example, the QI
Team identified a subset of 2021 crisis intervention cases in which African American juvenile
females were disproportionately being handcuffed. CDP representatives at the meeting noted the
potential importance of this data and indicated that this result could present an opportunity to
improve the Division’s crisis intervention work. Dr. Ronnie Dunn, a member of the Monitoring
Team with expertise in the area of racial profiling and diversity, equity, and inclusion, was brought
in to provide technical assistance to the QI team in examining this issue for potential bias,
particularly racial. After a thorough examination of the statistical data, it was determined that it
would be necessary to review the WCS video footage from all 2021 crisis intervention cases in
which juvenile females were handcuffed. Eventually, the Monitoring Team convened a five-
member committee and developed an instrument to assess the crisis incidents. This audit is nearing
completion, and the results should provide CDP and the QI Team with a model to inform further
analysis of this issue using a larger sample including crisis intervention cases involving juvenile
female subjects across multiple years. It is anticipated that the pilot will provide information to
guide CDP and the MHRAC QI Subcommittee towards further improvements in the Division’s
Crisis Intervention work.
           c. Progress and Tasks that Remain

              i.   Continued Selection and Training of Specialized CIT Officers

The selection and training of Specialized CIT Officers has continued during the past two years,
despite significant challenges related to the pandemic. The specialized training of CIT Officers is
best done as in-person training with intensive scenario work. The pandemic limited the ability to
conduct this type of training. The Division understandably faces challenges in the recruitment and
selection process. The level of leadership required from CDP officers means they must volunteer
for the training without extra financial compensation. Despite these challenges, CDP appears to
have developed a steady stream of qualified applicants. As with last year, there are a number of
future selection and training cycles planned. As discussed in the last semiannual report, the
Division has been responsive to and worked hard to make these goals a reality. A number of CDP
crisis intervention leaders have recently retired. As a result, Deputy Chief Joellen O’Neill has
stepped back in as the acting CIT Coordinator and a Co-Chair of MHRAC. MHRAC members
have made a point of complimenting the Deputy Chief for her work. The training of the Specialized
CIT Officers represents the capstone of the Division’s efforts to set in place a successful crisis
intervention program. As the number of trained Specialized CIT Officers approaches 100, the



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Division is approaching a point where a critical mass of such officers will have the opportunity to
make a meaningful difference in the Division’s crisis intervention strategy.

                 ii.    The Role of the Quality Improvement Subcommittee

As mentioned in the last semiannual report, the opening paragraph of the Crisis Intervention
section of the Consent Decree ends with “The Crisis Intervention Program will provide a forum
for effective problem solving regarding the interaction between criminal justice and mental health
care system and create a context for sustainable change.”16 CDP and the MHRAC QI
subcommittee are clearly moving towards this goal. The expanded CDP information system has
now provided a data-driven method for effective problem solving. As discussed in the previous
report,17 given the partnership between the community, local law enforcement such as CDP,
educational institutions such as Case Western University and the local behavioral health authority
such as the ADAMHS Board, MHRAC is positioned to make ongoing improvements in
responding to behavioral crisis events. CDP has the opportunity to examine outcomes on a level
not available to very many departments in this country. The ability to make positive changes based
on the available data will be determined by the strength of the relationship that has been built
between CDP, MHRAC and the Cleveland community. Capitalizing on the opportunity being
presented is the challenge ahead for the MHRAC Quality Improvement Committee.

                iii.    The Future of the Mental Health Response Advisory Committee

As discussed at several points in this report, the Mental Health Response Advisory Committee is
at a critical point if it is to become an on-going part of the Cleveland community. MHRAC has
served a valuable purpose for the Division. It is important to have a place where challenging issues
can be addressed and solved. However, the Consent Decree has a limited lifespan. MHRAC’s
next retreat will set the tone for MHRAC’s future.




16
     Dkt. 413-1 at ¶ 131
17
     Tenth Semiannual Report at 18.
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   VIII.    SEARCH AND SEIZURE

Paragraph                                                                              Status of
                                                                                       Compliance
160. “CDP will revise, develop, and implement search and seizure policies that PARTIAL
comply with applicable law, . . . include the requirements below,” and conform COMPLIANCE
to expressly-identified principles.
161–65. Policy requirements for officers for stops, searches, and detentions.          PARTIAL
                                                                                       COMPLIANCE
166. “Officers will immediately notify a supervisor when effectuating a custodial PARTIAL
arrest for obstructing official business, resisting arrest, or assault on an officer COMPLIANCE
and no other substantive violation is alleged,” and “the supervisor will respond
to the scene.”
167. “Officers will not use ‘canned’ or conclusory language without supporting PARTIAL
detail in documents or reports documenting investigatory stops, searches, or COMPLIANCE
arrests.”
168. “Officers will articulate the justification for an investigatory stop, search, or PARTIAL
arrest in a specific and clear manner in their reports.” CDP “will train officers” COMPLIANCE
on documenting stops. “Supervisors will review all documentation of
investigatory stops, searches, and arrests.”
169. Supervisor will review of “each arrest report by officers under their PARTIAL
command,” with supervisors reviewing reports for specific, expressly-identified COMPLIANCE
deficiencies.
170–72. Supervisory review of investigatory stops, searches, and arrests.              PARTIAL
                                                                                       COMPLIANCE
173. Provision of “initial training that is adequate in quality, quantity, scope, and OPERATIONAL
type on investigatory stops, searches, and arrests, including the requirements” of COMPLIANCE
the Consent Decree that “will address the requirements of Fourth Amendment
and related law, CDP policies,” and specific, expressly-identified topics.
174–75. Provision of “annual search and seizure in-service training that is PARTIAL
adequate in quality, quantity, type, and scope” incorporating specific, expressly- COMPLIANCE
identified topics.

            a. Background

The Consent Decree requires that CDP “revise, develop, and implement” policies on how its
officers “conduct all investigatory stops, searches, and arrests with the goal” that such actions




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comply with the “Constitution, state and federal law.”18 In addition to ensuring that officers adhere
to these legal requirements, the policies also must prohibit officers from relying on a subject’s
“race, ethnicity, gender, and perceived sexual orientation” as a reason to stop, search, or arrest an
individual.19

In the Tenth Semiannual Report, the Monitoring Team documented CDP’s completion of policies
associated with Search and Seizure, in addition to the training that accompanied the new policies.
We also reported on officers’ use and completion of the new electronic “Stop Forms,” created to
collect various data points required by the Consent Decree in a systematic way across the Division.
The Tenth Semiannual Report outlined how the Monitoring Team will evaluate the outcome of
CDP’s stops to determine both the compliance with and the impact of the new policies and
procedures after a material period of time.

               b. Where the Division Stands

In this report, we note that an approximately six-month period of data collection, from July -
December of 2021, provided the basis for CDP’s initial analysis of the use of the Search & Seizure
Stop Form. CDP submitted a draft of this initial Search & Seizure Report for review at the end of
May 2022. The Monitoring Team and Department of Justice raised a number of questions about
CDP’s analysis of the Search and Seizure data it collected, and the Parties plan to meet in
September of 2022, to discuss the report and the feedback provided.
As noted above, the Monitoring Team will also conduct an assessment of the implementation of
the Search & Seizure policies and procedures, in addition to assessing the Stop Form data, which
is currently being developed. We anticipate that this pilot audit will be conducted in the Fall of
2022. This assessment will specifically examine the data to ensure officers adhered to the
prohibition against using a subject’s perceived “race, gender, and sexual orientation” as the reason
to stop, search, or arrest an individual. The audit will also examine a representative sample of the
stops to ascertain whether officers had and articulated appropriate legal grounds for any stop,
detention, search and seizure (i.e., arrest). In addition, this audit will entail an examination of
whether supervisors met their requirements in accordance with the policies approved and on file
with the Court, and the Consent Decree.
Both CDP’s Search & Seizure Report and the Monitoring Team’s assessment will be included in
the next semiannual report. As for the status of compliance relative to this semiannual report, the
table associated with the relevant paragraphs of the Consent Decree remains unchanged from the
Tenth Semiannual Report, reflecting “Partial Compliance” in relation to all except paragraph 173,
which had met “Operational Compliance.”


18
     Dkt. 413-1 ¶ 160.
19
     Dkt. 413-1 ¶ 161; Dkt. 97 at 42.



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   IX.       ACCOUNTABILITY

 Paragraph                                                                      Status of
                                                                                Compliance
 176. “The City and CDP will ensure that all allegations of officer PARTIAL
 misconduct, whether internally discovered or alleged by a civilian, are fully, COMPLIANCE
 fairly, and efficiently investigated; that all investigative findings are
 supported by a preponderance of the evidence and documented in writing;
 and that all officers who commit misconduct are held accountable pursuant
 to a disciplinary system that is fair, consistent, and provides due process.”

The Monitoring Team continues to conduct a series of assessments to determine to what extent
CDP is in compliance with paragraph 176. As reported in our Tenth Semiannual Report, thus far,
the Monitoring Team has evaluated discipline imposed by the previous Director of Public Safety
and a small sample of police internal investigations. The Monitoring Team has also provided both
public reports and technical assistance with the intent of assisting the City in coming into
compliance with required police accountability provisions.

Since the time of our last report, we have also completed a formal preliminary assessment of the
adjudication and investigation of a sample of community complaints made to the Office of
Professional Standards (OPS). That assessment was published during this six-month reporting
period and dated February 24, 2022. That assessment acknowledged dramatic improvements in
the quality of OPS investigations and the CDP’s processes for adjudicating community complaints.
It also highlighted a continued need for improvement in the quality of OPS interviews. The
Monitoring Team also reiterated a need for OPS investigators to receive formal feedback through
performance evaluations as a critical component of ensuring investigators have the skills necessary
to complete fair and competent investigations.

An assessment regarding the imposition of discipline by the Chief of Police is in process. That
report is scheduled to be published during the next semiannual reporting period. Additional
assessments will be conducted regarding the quality of Force Investigation Team (FIT)
investigations, Internal Affairs investigations, and the quality of OPS investigations and Police
Review Board (PRB) adjudications of non-sustained allegations. The Monitoring Team also
intends to reevaluate compliance in relation to the imposition of discipline by the Director of Public
Safety after a sufficient period of time has passed since the Monitoring Team’s last review.




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1. Internally Discovered Misconduct

 Paragraph                                                                      Status of
                                                                                Compliance
 177. “Internal Affairs will conduct objective, comprehensive, and timely NON-
 investigations of all internal allegations,” with “findings . . . based on the COMPLIANCE20
 preponderance of the evidence standard” that must “be clearly delineated in
 policies, training, and procedures and accompanied by detailed examples to
 ensure proper application by investigators.”
 178. “Internal Affairs will be headed by a qualified civilian” who “will OPERATIONAL
 report directly to the Chief of Police.                                        COMPLIANCE
 179. Qualifications for IA investigators.                                      PARTIAL
                                                                                COMPLIANCE
 180. Initial training for IA investigators “that is adequate in quality, GENERAL
 quantity, scope, and type on conducting misconduct investigations” that COMPLIANCE21
 addresses specific, expressly- identified topics.
 181. “[A]nnual training” for IA investigators “that is adequate in quality, PARTIAL
 quantity, type and scope”                                                      COMPLIANCE22
 182. “In each investigation, Internal Affairs will collect and consider” all PARTIAL
 evidence. “[N]o automatic preference for an officer’s statement over a non- COMPLIANCE 23
 officer’s statement.” No disregard of a “witnesses’ statement solely because
 of” connection to the complainant or criminal history. IA investigators must
 “make all reasonable efforts to resolve material inconsistencies between
 witness statements.”
 183. IA “will evaluate all relevant police activity and any evidence of PARTIAL
 potential misconduct uncovered during the course of the investigation.”        COMPLIANCE
 184. IA will not consider guilty plea or verdict as “determinative of whether PARTIAL
 a CDP officer engaged in misconduct” or justification for “discontinuing COMPLIANCE
 the investigation.”

20
   A new Internal Affairs Superintendent was appointed by the CDP on May 31, 2022. During the next
reporting period, the Monitoring Team will confer with the Parties to determine an appropriate timeline for
a comprehensive evaluation of the quality and timeliness of CDP Internal Affairs investigations. As
previously reported, the Monitoring Team believes that any such assessment will need to wait until the new
Internal Affairs Superintendent has been given an opportunity to make any necessary reforms and changes
to Internal Affairs practices and investigations.
21
   With new staff expected to be assigned to Internal Affairs in the next reporting period, the Monitoring
Team will evaluate the timing and quality of initial training to ensure ongoing compliance in this area.
22
    The Monitoring Team is looking forward to receiving ongoing information from the new IA
Superintendent that will establish ongoing and adequate training for IA staff.
23
   The Monitoring Team will be unable to conduct an assessment of compliance with paragraphs 182
through 188 until a comprehensive evaluation of IA case investigations can be conducted.



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 185. IA “will complete its administrative investigations within 30 days from NON-
 the date it learns of the alleged misconduct.”                               COMPLIANCE

 186–87. IA investigative report requirements.                                    PARTIAL
                                                                                  COMPLIANCE
 188. Forwarding of completed IA investigations “to the officers’ NON-
 supervisors, the Training Review Committee, the Force Review Board, the COMPLIANCE
 Officer Intervention Program, and the Data Collection and Analysis
 Coordinator.”
 189. “CDP will require any CDP employee who observes or becomes aware OPERATIONAL
 of any” potential misconduct to “report the incident to a supervisor or COMPLIANCE
 directly to” IA.
 190. “CDP will develop a system that allows officers to confidentially and OPERATIONAL
 anonymously report potential misconduct by other officers.”                      COMPLIANCE
 191. “CDP will expressly prohibit all forms of retaliation, discouragement, OPERATIONAL
 intimidation, coercion, or adverse action, against any person, civilian or COMPLIANCE
 officer, who reports misconduct, makes a misconduct complaint, or
 cooperates with an investigation of misconduct.”
 192. “Officers who retaliate . . . will be subject to the disciplinary process.” PARTIAL
                                                                                  COMPLIANCE 24

            a. Background

To comply with the terms of the Consent Decree, CDP’s Internal Affairs (IA) unit must “conduct
objective, comprehensive, and timely investigations of internal allegations of officer misconduct.”
Ultimately, IA must be the primary engine for the Division’s administrative (non-criminal)
investigations of officer misconduct and, more generally, the main oversight mechanism for
ensuring that the Division’s performance standards are being met.

            b. Where Internal Affairs Stands Now

                i. Quality of Internal Affairs Investigations

As previously reported, the Monitoring Team completed a preliminary assessment of a sample of
IA case investigations using a qualitative methodology. This sample was chosen by the former IA

24
   As noted in our prior report, allegations have been made that Internal Affairs failed to appropriately
investigate a specific allegation of retaliation. The Monitoring Team has requested that the City initiate an
independent investigation into these allegations, which has not yet been done. Until an independent
investigation is conducted and findings adjudicated, the City will not be able to establish full compliance
as it relates to this paragraph of the Consent Decree.



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Superintendent. Overall, the Monitoring Team identified substantive issues of concern in three out
of eight of the reviewed cases. We provided feedback to IA that detailed the nature of those
substantive concerns including the use of leading questions, the need to follow-up on objective
evidence to assist in determining the veracity of officers and the quality of findings. The
Monitoring Team is currently waiting for the new IA Superintendent to advise that IA is ready for
a more comprehensive assessment of its case investigations.

                     ii. Quality of Fatal Use of Force Investigations

As previously reported, in 2021 the Monitoring Team conducted a review of two fatal uses of force
investigations conducted by the Force Investigations Team (FIT), about incidents which took place
in 2019 and 2020. The Monitoring Team classified both FIT administrative investigations as
“poor” and not in compliance with the Consent Decree. The Monitoring Team has not conducted
a thorough review of any more recent FIT cases and is scheduled to review FIT cases during the
latter part of 2022 and will be able to report on more current FIT practices after completing that
assessment.

                iii.    Internal Affairs Superintendent

On May 31, 2022, a new Internal Affairs Superintendent was appointed by the Division; former
CDP Inspector General and Cuyahoga County Sheriff Chris Viland. With his hire, CDP came back
into compliance with paragraph 178 of the Consent Decree which requires that CDP “Internal
Affairs [to]be headed by “a qualified civilian who is not a current or former employee of CDP”
who “will report directly to the Chief of Police.”25 As previously noted, Superintendent Viland
will need to work diligently to move Internal Affairs into compliance with Section IX of the
Consent Decree as it relates to Internally Discovered Misconduct, Reporting Misconduct and
Preventing Retaliation.26 Unfortunately, it is impossible to predict how much time the new
Superintendent will need to achieve compliance.

               iv.      Internal Harassment and Bias Complaints

Like many police departments around the country, CDP uses the City’s Human Resources
Department to investigate internal complaints relating to allegations of harassment or bias made
against department employees or supervisors. The Monitoring Team has been tracking two
particular cases, which were brought to our attention by the Black Shield Police Association a
Division-recognized association of Cleveland police officers. In both cases, although prima facie
allegations of misconduct were made by the involved officers, no timely investigations of the
allegations have been made. In one case, the complaint was made to the Chief in January 2021. In

25
     Dkt. 413-1 ¶178.
26
     Dkt. 413-1 ¶176-192.



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October 2021, the Monitoring Team was advised that the case was close to completion. However,
the City recently informed us in July 2022 that the City is just now beginning interviews. Based
upon the most recent status update, it has taken more than eighteen months for the City to
commence its investigation into this matter. That is a significant delay that will not only impact
the quality of the investigation, it also does not engender any reasonable belief on the part of the
Monitoring Team that the City is capable of fairly adjudicating these complaints. Unless the City
can ensure that these types of allegations are investigated in a timely and competent manner,
Consent Decree compliance will not be forthcoming.

2. Office of Professional Standards (“OPS”)

 Paragraph                                                                       Status of
                                                                                 Compliance
 193. OPS investigates “all complaints of misconduct it receives” and will OPERATIONAL
 confer with IA “to develop polices and procedures for handling matters over COMPLIANCE
 which they both have investigative jurisdiction.”
 194. “The City will ensure that OPS is led by an administrator with the skills, NON-
 expertise, and experience to effectively manage the intake, tracking, timely, COMPLIANCE27
 and objective investigation of complaints”; implement PRB training; “assess
 OPS’s equipment and staffing needs”; and “develop and implement
 performance standards for OPS.”
 195–96. Initial training for OPS investigators “adequate in quality, quantity, OPERATIONAL
 scope, and type,” including specific, expressly-listed topics.                  COMPLIANCE
 197. “OPS Investigators will not be current members of the CDP, and no CDP GENERAL
 personnel will have any active role in OPS’s operations.”                       COMPLIANCE
 198. “The City will ensure that the lawyer representing OPS does not have OPERATIONAL
 any actual or apparent conflicts of interest.”                                  COMPLIANCE
 199. “OPS will have its own budget, separate from . . . the Department of OPERATIONAL
 Public Safety” that “affords sufficient independence and resources, including COMPLIANCE
 sufficient staff and training to meet the terms of this Agreement.”
 200. Development and implementation of OPS operations manual “made OPERATIONAL
 available to the public” that covers specific, expressly-listed topics.         COMPLIANCE
 201. Development and implementation of “a program to promote awareness NON-
 through the Cleveland community about the process for filing complaints COMPLIANCE
 with OPS.”
 202. “CDP and the City will work with the police unions . . . to allow civilian OPERATIONAL

27
  Due to the resignation of the OPS Administrator in November 2021, and the City’s failure to identify a
qualified candidate to permanently replace him, the Monitoring Team has reclassified paragraph 194
compliance from “Operational Compliance” to “Non-Compliance.”



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 complaints to be submitted to OPS verbally or in writing; in person, by phone,       COMPLIANCE
 or on line; by a complainant, someone acting on his or her behalf, or
 anonymously; and with or without a signature from the complainant,” with
 all “complaints documented in writing.”
 203. CDP will post and maintain by the intake window at CDP headquarters             OPERATIONAL
 and all District headquarters a permanent placard describing the civilian            COMPLIANCE
 complaint process” and containing specific, expressly-listed information.
 204. “CDP will provide training that is adequate in quality, quantity, scope,        PARTIAL
 and type to all police personnel, including dispatchers, to properly handle          COMPLIANCE
 complaint intake, including” with respect to specific, expressly-listed topics.
 205. CDP officers “carry complaint forms in their CDP vehicles,” which               OPERATIONAL
 officers must provide “upon request.” Supervisors will be dispatched to scene        COMPLIANCE
 when an individual wants to make a complaint, with the supervisor providing
 a copy of completed complaint form “or a blank form to be completed later
 by the individual.”
 206. “The City and OPS will make complaint forms and other materials                 OPERATIONAL
 outlining the complaint process and OPS’s contact information available at           COMPLIANCE
 locations” including a number of specific, expressly-listed locations.
 207. “OPS’s complaint form will not contain any language that could                  GENERAL
 reasonably be construed as discouraging the filing of a complaint, including         COMPLIANCE
 warnings about the potential criminal consequences for filing false
 complaints.”
 208. Availability of complaint forms in English and Spanish. “OPS will make          OPERATIONAL
 every effort to ensure that complainants who speak other languages . . . can         COMPLIANCE
 file complaints in their preferred language.”
 209. “City will ensure that civilian complaints submitted through other              OPERATIONAL
 existing systems, including the Mayor’s Action Center and the Department             COMPLIANCE
 Action Center, are immediately forwarded to OPS for investigation.”
 210. “OPS will establish a centralized electronic numbering and tracking             PARTIAL
 system for all complaints,” which “will maintain accurate and reliable data          COMPLIANCE28
 regarding the number, nature, and status of all complaints . . . including
 investigation timeliness and notification of the interim status and final
 disposition of the complaint.” It “will be used to monitor and maintain
 appropriate caseloads for OPS investigators.”



28
  As of May 24, 2022, the OPS stopped providing the Monitoring Team and the Department of Justice with
Bi-Weekly Reports that provide data regarding timeliness and handling of OPS cases. OPS has explained
that due to staffing challenges, the data is not currently available. As such, we have downgraded OPS
compliance in that regard from “Operational Compliance” to “Partial Compliance.”



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211. Biased policing tracked as a separate category of complaint that “are           OPERATIONAL
captured and tracked appropriately, even if the complainant does not so label        COMPLIANCE
the allegation.”
212. “[A]llegations of unlawful investigatory stops, searches, or arrests”           OPERATIONAL
tracked as a separate category of complaints.                                        COMPLIANCE
213. “[A]llegations of excessive use of force” tracked as separate category of       OPERATIONAL
complaints.                                                                          COMPLIANCE
214. “OPS will conduct regular assessments of the types of complaints being          PARTIAL
received to identify and assess potential problematic patterns and trends.”          COMPLIANCE
215. “OPS will produce, at least annually, a public report summarizing               GENERAL
complaint trends, including” with respect several specific, expressly-               COMPLIANCE
identified areas.
216. Assignment of complaints to Standard and Complex investigatory             OPERATIONAL
tracks.                                                                         COMPLIANCE
217. Dismissal and/or administrative dismissal of complaint investigations.     OPERATIONAL
                                                                                COMPLIANCE
218. “The City will ensure that investigations of complaints are as thorough PARTIAL
as necessary to reach reliable and complete findings that are supported by the COMPLIANCE
preponderance of the evidence.”
219. “CDP will ensure that OPS has timely access to all reports related to the PARTIAL
incident . . ,” and authority of OPS “to conduct additional investigation” of COMPLIANCE
any complaint of police misconduct when CDP investigation has already
taken place relating to the incident.
220. “OPS investigators will attempt to interview each complainant in OPERATIONAL
person” and record the interview.                                               COMPLIANCE
221. “The Chief will order officers who witnessed or participate in an incident OPERATIONAL
that is the subject of an OPS complaint to cooperate with the OPS COMPLIANCE
investigation,” including by responding to written questions or sitting for an
in-person interview.
222. “OPS investigators will have access to any relevant disciplinary PARTIAL
information in the record of an officer who is the subject of a current COMPLIANCE
investigation.”
223. “OPS will consider all relevant evidence,” with no preferences for PARTIAL
particular witness’s statements, including of officer over a non-officer, or COMPLIANCE
because of connection to complainant or criminal history. “OPS will make all
reasonable efforts to resolve material inconsistencies between witness
statements.”
224. OPS findings categories.                                                   OPERATIONAL
                                                                                COMPLIANCE



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 225. “OPS will document in writing the investigation of each complaint, GENERAL
 including all investigatory steps taken, and OPS’s findings and conclusions,” COMPLIANCE
 which must “be supported by a preponderance of the evidence.
 226. Items for consideration for OPS findings.                                 PARTIAL
                                                                                COMPLIANCE
 227. “OPS will forward all investigations and its written conclusions to PRB OPERATIONAL
 in sufficient time for PRB to consider them no later than the second regularly COMPLIANCE
 scheduled PRB meeting following completion of the investigation.”
 228. “OPS will send periodic written updates” to the complainant at specific, OPERATIONAL
 expressly- identified junctures.                                               COMPLIANCE
 229. “[A] complainant may contact OPS at any time to determine the status OPERATIONAL
 of his/her complaint.”                                                         COMPLIANCE

               a. Background

The Office of Professional Standards (OPS) is the civilian-staffed office charged with investigating
the complaints of civilians about Division of Police personnel. Cleveland’s City Charter requires
OPS to conduct “a full and complete investigation” of all community complaints of employee
misconduct.29

As the Monitoring Team has regularly summarized, the Consent Decree includes a number of
requirements—such as hiring a qualified and experienced OPS Administrator, ensuring high-
quality training for investigators, establishing a separate budget for OPS, and promoting awareness
throughout Cleveland about the availability of civilian complaint forms—all designed to ensure
that OPS can conduct thorough and competent investigations of civilian complaints and reach
findings that are supported by the preponderance of evidence.30

               b. Where OPS Stands Now

When monitoring first began, the OPS was suffering from an enormous backlog of civilian
complaints, which had been a continuing barrier to bringing the OPS into compliance with the
Consent Decree. As noted in the Eighth Semiannual Report, the City hired an outside contractor
to address the backlog and successfully eliminated it.

In our Ninth Semiannual Report, the Monitoring Team noted that the OPS’s open caseload had
increased from 88 cases (December 2019) to 162 cases by the end of November 2020. The
Monitoring Team also commented that, “the OPS backlog of cases over a year old has doubled


29
     Charter of the City of Cleveland, § 115-4.
30
     Dkt. 413-1 at ¶¶ 193-229.



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from seven cases at the beginning of 2020 to 16 cases as of the end of November.” In our Tenth
Semiannual Report, we observed that the number of open cases has further increased to 208. In
addition, the number of cases that were over one-year-old at the time had doubled to 32.
In addition, the Monitoring Team noted concern in our last report that the average number of open
investigations (workload) per OPS investigator had continued to increase, with OPS staff
averaging 23 investigations each, which, we noted, did “not appear to us to be a sustainable
workload.”
Due to the resignation of a staffer responsible for OPS administrative support, the Monitoring
Team has not received a bi-weekly report since May 24, 2022. As of that date, the OPS reported
164 open cases and 28 cases exceeding a one-year anniversary date. The OPS reported the average
number of open investigations per OPS investigator as 14.8 (n=163/11 investigators). While the
average number of open investigations per OPS investigators has been reduced significantly, the
number of old investigations (over one-year old), is still unacceptably high.
Month                   # of Assigned Active Investigations           Average per Investigator
 December 2019          87                                             9.6
 November 2020          155                                            17.2
 June 2021              207                                            23.0
 May 2022               163                                            14.8

The OPS has reported the imminent hiring of additional administrative support for the office and
has promised to, once again, provide bi-weekly reports to the Monitoring Team in the immediate
future.

           c. Progress and Tasks that Remain

               i. OPS Staff Performance Reviews

As described in the Monitoring Team’s last three semiannual reports, the OPS must institute a
robust employee performance review process to ensure employee adherence to OPS Court-
approved policies and best practices in investigations. Thus far, although the OPS submitted a draft
performance evaluation form to the Monitoring Team and the Department of Justice for comment
(which was subsequently reviewed and returned to the OPS), the OPS has not reported that any
formal performance evaluations have been conducted. In addition, we have been advised that the
OPS Senior Investigator will be retiring during the next reporting period, which potentially leaves




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the OPS without any executive staff.31 As such, the Monitoring Team anticipates the OPS will
struggle to maintain compliance over the course of the next reporting period.

                   ii. Community Awareness

The Consent Decree requires that “the City and CDP, in consultation with the [CPC] and the OPS,
will develop and implement a program to promote awareness throughout the Cleveland community
about the process for filing complaints with OPS.”32

The Fourth Year Monitoring Plan, anticipating the hiring of the new Community Engagement
Coordinator, imposed a deadline on the completion of the draft Community Awareness Plan,
required by the Consent Decree for November 30, 2019. Although new Community Engagement
Coordinator was eventually hired, that staff member resigned in September 2021 and the date for
the completion of the Community Awareness plan was pushed to September 2022. A new
Community Engagement Coordinator was subsequently hired, and draft plan was submitted to the
Monitoring Team and the Department of Justice for comment in May 2022. We provided
comments back to the OPS in June and look forward to seeing a robust draft for further review and
approval by the Court.

                   iii. Hiring of OPS Administrator

As previously noted, the OPS Administrator resigned his position to take a police oversight
position in another state in December 2021. As of the end of the reporting period, the City was still
in the process of collecting applications for that position. The Monitoring Team was surprised to
see that the job profile was not immediately posted to the website for the National Association for
Civilian Oversight of Law Enforcement (NACOLE), which is where many oversight professionals
look for job opportunities. Although the job profile was eventually posted to the NACOLE
website, we remain concerned as to the lack of any apparent recruitment strategy for the position.
Without the presence of a qualified OPS Administrator, the OPS will not be able to come into
compliance with respect to those Consent Decree provisions that are still outstanding.

                   iv. OPS Investigation Failure

On July 8, 2022, then-Interim Chief Drummond advised the OPS of his decision to issue a written
reprimand to a police dispatcher, in lieu of substantial discipline, due to the failure of the OPS to
provide timely notification of an OPS investigation to the dispatcher. The Monitoring Team
inquired with OPS and learned that, in fact, an OPS investigator had failed to notify the subject

31
  The OPS Executive Staff consists of the OPS Administrator (vacant since December 2021), the Senior Investigator
(vacancy anticipated in September 2022) and the General Manager (vacant since March 2020).
32
     Dkt. 413-1 at ¶ 201.



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dispatcher of the investigation, in clear violation of the Collective Bargaining Agreement, thus
resulting in the inability of the Chief to impose a suspension on the dispatcher.33

The OPS agreed in late August to create a checklist for investigators to use when completing their
investigations to ensure similar mistakes are not made in the future. We look forward to seeing
that checklist created and used in all future OPS cases.

              v.    OPS Challenges Moving Forward (Addendum)

Towards the end of the reporting period and in the weeks thereafter, the OPS has experienced
significant personnel changes. Not only is the OPS without a permanent Administrator and a
General Manager, it is probable that whoever ends up in these positions will be new, without
institutional knowledge. In addition, the OPS recently disclosed that it is losing several
experienced investigators through retirements and resignations. Moreover, as previously
mentioned, the position of an OPS staffer who provided administrative support has been vacant
for months, resulting in a months-long backlog in findings letters, which was only recently
resolved by hiring this staffer back as an independent contractor. On top that, the OPS Management
Analyst has recently resigned, making it likely that the OPS will become non-compliant with
respect to the Consent Decree’s data analysis requirements (see paragraph 210 compliance status,
above).

Consequently, it appears as though the new OPS Administrator will be almost restarting the
program from scratch, and it is quite possible that will result in OPS backsliding in compliance.
The Monitoring Team will continue to stand by to provide technical assistance as necessary, but
the road ahead for the OPS appears challenging.

3. Police Review Board (“PRB”)

 Paragraph                                                                    Status of
                                                                              Compliance
 230. “Mayor will work with the City Council to develop an ordinance to place GENERAL
 a Charter Amendment on the ballot” addressing PRB composition and COMPLIANCE
 appointment process.
 231. “PRB members will not be current or former members of the CDP.”         GENERAL
                                                                              COMPLIANCE



33
  The dispatcher was ultimately sustained for making Facebook posts (on an account showing her in her
Cleveland police uniform) making “several comments that advocated for the neglect of the City of
Cleveland infrastructure, accused all protestors of rioting, accused Black Lives Matter as being a terrorist
organization, and liked a comment that protestors should be shot.”



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 232. “PRB will have its own budget,” overseen by OPS Administrator and                OPERATIONAL
 separate from Department of Public Safety, that “affords sufficient                   COMPLIANCE
 independence and resources.”
 233–34. Initial training for PRB members “that is adequate in quality, quantity,
                                                                                GENERAL
 scope, and type” and that covers specific, expressly-identified topics.        COMPLIANCE
 235. PRB meetings open to the public and posted in advance, with “case         OPERATIONAL
 presentations and PRB votes” occurring during “open session.”                  COMPLIANCE
 236. “OPS investigators will attend PRB meetings at which their investigations GENERAL
 are being considered and present their findings . . . . ” PRB may “ask the COMPLIANCE
 investigator to conduct further investigation” as necessary.
 237. “PRB recommended dispositions will be based on a preponderance of the PARTIAL
 evidence. For each case, PRB shall set forth its conclusion and an explanation COMPLIANCE
 of its reasons and supporting evidence in writing, including, when applicable,
 the justification for departing from OPS’s recommended disposition.”
 238. “In cases where PRB is recommending a sustained disposition, in whole OPERATIONAL
 or in part, PRB will include a recommendation as to disciplinary or non- COMPLIANCE
 disciplinary corrective action.”
 239. [Timely] forwarding of PRB recommendations to Chief of Police and OPERATIONAL
 Director of Public Safety.                                                     COMPLIANCE

           a. Background

Cleveland’s Civilian Police Review Board reviews and analyzes completed OPS investigations. It
makes a formal recommendation to the Chief of Police on the ultimate disposition of the case and,
if warranted, the discipline that an involved officer should receive. A well-functioning PRB
remains critical to ensuring that OPS investigations are sound and that the Chief of Police receives
a well-informed recommendation on the disposition of OPS cases.

           b. Where the PRB Stands

As previously reported, since the adoption of the PRB Operations Manual in 2017, the PRB has
convened regularly to address cases that it receives from OPS. During this time, the performance
of the PRB has largely been out of the Board’s hands. The timeliness of the PRB’s review of cases,
and precisely what the PRB is reviewing, depends on how well OPS has effectuated its duties in
the investigatory stage.

In the last reporting period, the Monitoring Team completed an assessment of a subset of OPS
cases sustained by the PRB. We noted “striking improvements in the PRB adjudication process
for handling community-initiated complaints” and “excellent follow-up by the CPRB in those
cases where the Chief has departed from their recommendations.” We also noted, however, that



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the OPS and PRB “must do more to adequately identify and systemically address training and
policy issues (and areas where police services can be improved) outside of the traditional
disciplinary process.”

In order to fully assess PRB compliance, however, it will be necessary for the Monitoring Team
to review a population of cases where the PRB has “not sustained” allegations of misconduct. That
assessment will be scheduled along with our next assessment of OPS compliance.

4. Discipline and Disciplinary Hearings

 Paragraph                                                                        Status of
                                                                                  Compliance
 240. “The Chief of CDP will issue a General Police Order that requires officers GENERAL
 to (a) cooperate with the Internal Affairs and OPS investigators; and (b) submit COMPLIANCE
 all relevant evidence to the investigators such that it is available for
 consideration by Internal Affairs or PRB.”
 241. Disciplinary hearing requirement, with officer given “opportunity to PARTIAL
 testify” and suspension of hearing if “officer provides new or additional COMPLIANCE34
 evidence at hearing,” with matter “returned to IA or PRB for consideration.”
 242. Disciplinary recommendations by PRB to proceed through the City’s OPERATIONAL
 disciplinary process. Written justification by Chief or Director of their COMPLIANCE
 disagreement with PRB’s recommendations.
 243. “CDP will track the number of instances in which the Chief or the OPERATIONAL
 Director of Public Safety rejects, in whole or in part, PRB’s recommended COMPLIANCE
 disposition.”
 245. “The City will ensure that discipline for sustained allegations of PARTIAL
 misconduct comports with due process, and is consistently applied, fair, and COMPLIANCE
 based on the nature of the allegation, and that mitigating and aggravating
 factors are identified and consistently applied and documented.”
 246. “[T]he City will review its current matrix and will seek to amend it” “to OPERATIONAL
 ensure consistency” and inclusion of a number of specific, expressly-identified COMPLIANCE
 features.
 247. “All disciplinary decisions will be documented in writing.”                 OPERATIONAL
                                                                                  COMPLIANCE
 248. “[T]he City will provide its disciplinary matrix to the PRB, Commission, OPERATIONAL
 the Police Inspector General, and the police unions for comment.”                COMPLIANCE

34
   After the reporting period, the Division submitted a case for review which purported to establish
compliance with paragraph 241 of the Consent Decree. The Monitoring Team will review this case and has
informed the Division that they will need to update policies to reflect Consent Decree expectations.



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 249. “CDP will work with the unions to allow for sustained disciplinary PARTIAL
 findings to stay in an officer’s record for ten years.”                 COMPLIANCE

                 a. Background

The Consent Decree requires that CDP “ensure that discipline for sustained allegations of
misconduct comports with due process, and is consistently applied, fair, and based on the nature
of the allegation, and that mitigating and aggravating factors are identified and consistently applied
and documented.”35

                 b. Where the Division Stands

As previously reported, it has taken far too long for cases to be adjudicated, and delays have been
observed in the scheduling of pre-disciplinary hearings and in the imposition of discipline upon
the conclusion of those hearings. Our ongoing assessments will evaluate the disciplinary system
and CDP’s ability to ensure long term accountability of its employees.

Although, in our last report, we noted that the Division had “buttressed up the staffing of its Case
Preparation Unit,” which had a “positive impact” on some of our continuing concerns; we have
recently seen what appears to be a cut in staffing levels for that important Unit. Any cuts to the
staffing of this unit are particularly problematic, given increased demands that will be made when
the Division has to update its processes to comply with new provisions of Charter Section 115.
Section 115 promises significant changes in how police discipline is adjudicated in the City of
Cleveland and appropriate resourcing will be required to ensure those changes can be implemented
in a manner that will support Constitutional policing in Cleveland.




35
     Dkt. 277.



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   X.        TRANSPARENCY & OVERSIGHT

1. Police Inspector General

 Paragraph                                                                         Status of
                                                                                   Compliance
 250. “The City will hire an individual or individuals with significant experience NON-
 in law enforcement practices and civil rights law to serve as a Police Inspector COMPLIANCE
 General” (“IG”). City must seek CPC’s “input in developing minimum
 qualifications and experience” for IG.
 251. IG work in Office of Mayor but report to Chief of Police.                    POSITION
                                                                                   CURRENTLY
                                                                                   VACANT
 252. IG “will not be a current or former employee of CDP.”                        POSITION
                                                                                   CURRENTLY
                                                                                   VACANT
 253–54. Duties and authority of IG.                                               POSITION
                                                                                   CURRENTLY
                                                                                   VACANT
 255. Budget of IG must be “a separate line item” in City budget and “afford[] POSITION
 sufficient independence and resources” to comply with Consent Decree.             CURRENTLY
                                                                                   VACANT
 256. IG “will have access to all documents and data necessary to perform the POSITION
 above functions, including any raw data.”                                         CURRENTLY
                                                                                   VACANT

             a. Background

The Consent Decree created a new, internal oversight function within the Division—a Police
Inspector General (IG). The IG is required to have the authority to review CDP policies and
practices, conduct audits and investigations, analyze data for aggregate and systemic trends,
develop recommendations for reform, analyze investigations conducted, and review imposed
discipline.

             b. Where the Division Stands

As of the beginning of 2021, CDP’s first Inspector General resigned his position upon being
appointed as the Sheriff of Cuyahoga County. In the last reporting period, the City has advised that
even after a nationwide recruitment, no suitable candidates had been identified. We have received



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no further updates during this reported period and are troubled that this important position remains
unfilled.

2. Data Collection and Analysis

 Paragraph                                                                       Status of
                                                                                 Compliance
 257. “CDP will collect and maintain all data and records necessary to PARTIAL
 accurately evaluate its use of force practices and search and seizure practices COMPLIANCE
 and facilitate transparency and, as permitted by law, broad access to
 information related to CDP’s decision making and activities. To achieve this
 outcome, CDP will designate an individual or individuals as the ‘Data
 Collection and Analysis Coordinator.’”
 258. Coordinator “will ensure the collection and tracking of all documents PARTIAL
 related to uses of force and allegations of misconduct and related materials,” COMPLIANCE
 including specific, expressly-listed materials and information.
 259. Coordinator “will ensure the creation and maintenance of a reliable and OPERATIONAL
 accurate electronic system to track all data derived from force-related COMPLIANCE
 documents,” including specific, expressly-identified data.
 260. Coordinator “will ensure the creation and maintenance of a reliable and PARTIAL
 accurate electronic system to track data on all vehicle stops, investigatory COMPLIANCE
 stops, and searches, whether or not they result in an arrest or issuance of a
 summons or citation.” The system must conform to a number of specific,
 expressly-identified requirements.
 261. Coordinator must “routine[ly] report[] . . . relevant data to the Chief of PARTIAL
 Police, FRB, Training Review Committee, OPS, the [Community Police] COMPLIANCE
 Commission, and the Police Inspector General.”
 262. Coordinator “responsible for the annual assessment of forms and data PARTIAL
 collection systems to improve the accuracy and reliability of data collection.” COMPLIANCE
 263. Coordinator “will develop a protocol to accurately analyze the data OPERATIONAL
 collected and allow for” various outcome measurements, “subject to the review COMPLIANCE
 and approval of the Monitor and DOJ.”
 264. Annually, “CDP will conduct an assessment and issue a report NON-
 summarizing its investigatory stop, search, and arrest data” that addresses COMPLIANCE36
 various specific, expressly-identified topics.



36
  Since the closing of this reporting period, continued work has occurred on the annual stops data report.
The Monitoring Team will continue to assess the City’s progress in this area and will provide an update
during the Semiannual Report.



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 265. Annually, “CDP will conduct an assessment and issue a report of all NON-
 activities, including use of force, arrests, motor vehicles and investigatory COMPLIANCE
 stops, and misconduct complaints alleging discrimination, to determine
 whether CDP’s activities are applied or administered in a way that
 discriminates against individuals on the basis of race” or other listed prohibited
 classes or characteristics, and that addresses various specific, expressly-
 identified topics.
 266. Annual analysis of “prior year’s force” data with FRB.                        PARTIAL
                                                                                    COMPLIANCE

               a. Background

The requirement to hire a Data Collection and Analysis Coordinator (DCAC) was met several
years ago. The incumbent faithfully reports on data collected and for the last few years has
completed the collection and submission of all outcome measure data as enumerated in paragraph
367. The DCAC is skillfully collecting and reporting on data, though we do not see the Division
leadership exhibit a curiosity about the data nor create a demand for analysis of those data. Most
reports submitted are descriptive in nature. Questions raised by the Department of Justice
personnel or members of the Monitoring Team at the monthly CDPStat meeting are met with no
response or a statement that they will have to review and get back to us. There seems to be a focus
on data accuracy, which is of course important and relevant, but little interest in the meaning of
the data, the story behind the data, or the way the data may help leverage change in practice.

3. Public Availability of CDP-Related Information

 Paragraph                                                                                 Status of
                                                                                           Compliance
 267. “[A]ll CDP audits, reports, and outcome analyses related to the                      PARTIAL
 implementation” of the Consent Decree will be public.                                     COMPLIANCE
 268. “CDP will post its policies and procedures, training plans, community                PARTIAL
 policing initiatives, community meeting schedules, budgets, and internal                  COMPLIANCE
 audit reports on its website.”

               a. Background

The Consent Decree requires that CDP’s “policies and procedures, training plans, community
policing initiatives, community meeting schedules, budgets, and internal audit reports” be posted
on CDP’s website.37 Likewise, “[t]o ensure transparency in the implementation of” the Decree,

37
     Dkt. 413-1 at 1; id. ¶ 268.



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“all CDP audits, reports, and outcome analyses related to the implementation of this [the Consent
Decree] will be made publicly available, including at the City and CDP websites.”38

            b. Where the Division Stands

There remain issues with the accessibility of the website, its accuracy and its organization. The
policies are more accessible as are many reports and Consent Decree related materials. We remain
concerned about outdated information on the website as well as the organization of materials which
suits the most informed user rather than those in search of information without much background.

Someone in the Division must take responsibility for the accuracy of the website. The section for
Office of Professional Standards shows no meetings since April 2022, yet it does show the current
reality of a vacancy in leadership since December 2021. At this writing, Mr. Chris Viland is still
listed as the Inspector General and he left that post over a year ago.

It has become easier to find important documents on the website, but they remain organized in a
way that suits the Division and not the public. Improvements can still be made on the organization
of materials online. The policies are now online in separate PDF files, rather than in a single
omnibus file.39 The policies are supported by both an Index and Table of Contents, which does
greatly increase accessibility. Yet, the online structure is slightly confusing, with recent policies
contained in “New Revisions – General Police Order,” rather than in the main policy section,
which sometimes includes rescinded policies. The Monitoring Team encourages CDP to review
the organization for increased ease of searching and for greater transparency with the community.
Overall, though, the accessibility to CDP policies is vastly improved.

While important sections of the Division and the Department of Public Safety are listed, topics are
not listed in ways that reflect the needs of a typical user. For example, someone interested in use
of force and using the search tool would not find data from the Division about Use of Force. The
search leads the user to Monitoring Team reports and not CDP reports. The Police Publications
and Information page contains links to the Office of Professional Standards, the Force Review
Board, Settlement Agreement Documents, the Crisis Intervention and Mental Health Response
Advisory Committee, the Community Police Commissions, and Budgets and Internal Audits.40
While the Division still needs to fully populate the information, there are reports present giving
the public some information about the activities of those departments.



38
    Dkt. 413-1 ¶ 267.
39
   https://www.clevelandohio.gov/CityofCleveland/Home/Government/CityAgencies/PublicSafety/Police/
PolicyProcedures
40
   https://www.clevelandohio.gov/CityofCleveland/Home/Government/CityAgencies/PublicSafety/Police/
PublicationsInformation



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           c. Progress and Tasks That Remain

The Monitoring Team continues to maintain that the Division and the community it serves will
benefit from a Division that is open to the public and sets clear expectations of how information
related to critical incidents will be shared. CDP should establish and publicly share its plans to
share information from critical incidents. We will continue to encourage as much transparency as
possible about officer activities, Division decisions, and data relative to use of force, stops and
searches, and internal investigations. The more the public knows about the Division, the more trust
it will have in the overall systems.




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      XI.    OFFICER ASSISTANCE & SUPPORT

1. Training

 Paragraph                                                                   Status of
                                                                             Compliance
 269. “The City will ensure that officers receive adequate training to PARTIAL
 understand: (a) how to police effectively and safely in accordance with CDP COMPLIANCE
 policy; [and] (b) the requirements of this Agreement, Ohio law, and the
 Constitution and laws of the United States,” including in the areas of
 “procedural justice, bias-free policing, and community policing.”
 270. “CDP will expand the scope and membership of the Training Review       PARTIAL
 Committee.”                                                                 COMPLIANCE
 271–72. “[T]he Training Review Committee will develop a written training              PARTIAL
 plan for CDP’s recruit academy, probationary field training, and in-service           COMPLIANCE41
 training” that addresses a host of specific, expressly-identified issues.
 273. “The Training Plan and schedule will be implemented once any                     PARTIAL
 objections have been resolved” on a yearly basis.                                     COMPLIANCE
 274. “The City, including the Training Review Committee, will annually                PARTIAL
 review and update CDP’s training plan” by “conduct[ing] a needs assessment”           COMPLIANCE
 that addresses a number of specific, expressly-identified data and information
 on real-world trends, needs, policy, and law.
 275. “CDP’s Commander responsible for training” will be in charge of “all             PARTIAL
 CDP training.”                                                                        COMPLIANCE
 276. “CDP will designate a single training coordinator in each District. The          PARTIAL
 Commander responsible for training will establish and maintain                        COMPLIANCE
 communications with each District training coordinator to ensure that all
 officers complete training as required and that documentation of training is
 provided to the” training Commander.
 277. “CDP will develop recruit academy and in-service curricula that comport          PARTIAL
 with” the Training Plan and Consent Decree requirements.                              COMPLIANCE
 279. “For all other substantive updates or revisions to policy or procedure, the      PARTIAL
 City will ensure and document that all relevant CDP personnel have received           COMPLIANCE
 and read the policy or procedure. Notification of each revision or update will
 include the rationale for policy changes and the difference between the old and
 updated policy.”


41
 We note that while this status changed from Non-Compliance to Partial Compliance in this report, the
Monitoring Team still has not received materials from the recruit academy for review.



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 280. Training Commander reviews all training materials; ensures that they use           OPERATIONAL
 “a variety of adult learning techniques, scenario-based training, and problem-          COMPLIANCE42
 solving practices”; and “ensure that all curricula, lesson plans, instructor’s
 qualifications, and testing materials are reviewed by the Training Review
 Committee.”
 281. “CDP will ensure that instructors are qualified and use only curricula and         PARTIAL
 lesson plans that have been approved by the” Training Commander.                        COMPLIANCE
 282. “CDP will revise, as necessary, its field training program for graduates of        NON-
 the police academy to comport with” the Training Plan and Consent Decree.               COMPLIANCE43
 283. “The field training program will incorporate community and problem-                NON-
 oriented policing principles, and problem-based learning methods.”                      COMPLIANCE
 284. Review and revision of Field Training Officer (“FTO”) “participation               NON-
 policy to establish and implement a program that effectively attracts the best          COMPLIANCE
 FTO candidates” and “revise eligibility criteria” for FTOs.
 285. New FTOs and Field Training Sergeants must “receive initial and in-                NON-
 service training that is adequate in quality, quantity, scope, and type, and that       COMPLIANCE
 addresses” a number of specific, expressly-listed topics and conforms to a
 number of additional features or requirements.
 286. “CDP will create a mechanism for recruits to provide confidential                  NON-
 feedback regarding the quality of their field training,” and the Division “will         COMPLIANCE
 document its response, including the rationale behind any responsive action
 taken or decision to take no action.”
 287. “The City and the Training Review Committee will, on an annual basis,              NON-
 analyze all aspects of CDP’s FTO program,” “consider emerging national                  COMPLIANCE
 policing practices in this area,” and “recommend, and CDP will institute,
 appropriate changes to policies, procedures, and training related to its FTO
 program.”
 288. “CDP will document all training provided to or received by CDP                     PARTIAL
 officers,” with officers “sign[ing] an acknowledgement of attendance or                 COMPLIANCE
 digitally acknowledge[ing] completion of each training course,” which “will
 be maintained in a format that allows for analysis by training type, training
 date, training source, and by individual officer name.”


42
   While the status of this paragraph has changed from Partial Compliance to Operational Compliance in
this report, the Monitoring Team is still fully reviewing training materials to ensure that all training –
including specialty training – is indeed going through the Training Commander.
43
   The Monitoring Team notes that after the end of the period covered by this report, we received a
memorandum containing recommendations for updating the Field Training Officer program that if
implemented as recommended, would lead to an upgrade in the compliance status of this and possibly other
related Consent Decree paragraphs.



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 289. “CDP will develop and implement a system that will allow the Training             OPERATIONAL
 Section to electronically track, maintain, and produce complete and accurate           COMPLIANCE
 records of current curricula, lesson plans, training delivered, and other training
 materials in a centralized electronic file system.”
 290. “The City will develop and implement accountability measures . . . to             PARTIAL
 ensure that all officers successfully complete all required training programs in       COMPLIANCE
 a timely manner.”

           a. Background

Training CDP personnel on the new requirements and expectations of Decree-required policies
and initiatives continues to be critical to ensuring these changes are infused into the operations of
the Division. While the Monitoring Team has seen marked improvements in the efforts by the
Training Unit to provide effective and engaging training to its personnel under the leadership of
its current Commander, its journey to full compliance with the various requirements of this section
of the Decree remain a work in progress.

           b. Where the Division Stands

During the current reporting period, the Division submitted for review several important training
initiatives, including but not limited to the following topics:

   •   Integrated Reality-Based training encompassing use of force, search and seizure, and bias-
       free policing
   •   TASER 7 Transition
   •   Cultural Humility: Diversity, equity, and inclusion
   •   Crisis Intervention: Homelessness
   •   District Neighborhood Awareness Training
   •   Emergency Response Driving
   •   ABLE: Refresher
   •   QPR: Question, Persuade, Refer
   •   Subject Control
   •   Officer Involved Shooter Investigation Training

The Training Section, led by Commander Maguth, should be recognized for the substantial
improvements over his tenure as commander of the section. In general, the Monitoring Team has
noted upgrades in initial drafts of training curriculum that have been submitted by CDP for
approval this reporting period as compared to in previous years. The Training Section is showing
that it is increasingly creating training curricula to include more adult-learning techniques,
scenarios and learner engagement in its lesson plans. Of note is the integration of Reality-Based




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training using complex, planned scenarios. These scenarios ensure a more realistic experience in
which officers must draw from policies and training on multiple skill areas. The Training
Commander is seeking to expand the use of such scenario training, and the Monitoring Team
encourages its expansion and will report on further progress in future semiannual reports.

Consistent bi-weekly meetings among the Parties continue, and the Training Unit Commander
uses the meetings to seek input and bounce ideas off the Monitoring Team and Department of
Justice representatives, and often cites his aspirational goals. Furthermore, through these meetings
and written correspondence, the Training Unit has been open and responsive to feedback it receives
on its lesson plans. However, CDP continues to struggle to ensure that ALL training conducted
throughout the Division is approved by the Training Unit Commander. This is particularly true
with outside or contracted training, which is often boilerplate curriculum, and various units within
CDP routinely ignore the Training Unit when providing specialty training. This concern has been
repeatedly expressed by the Monitoring Team and will impede Consent Decree compliance until
resolved.

While in the Tenth Semiannual Report, the Monitoring Team pointed to the delay in CDP hiring
professional curriculum developers to work within the Training Section, we can report here that
CDP has at least contracted with an outside vendor, Polis Solutions, to assist in the development
of the Supervisor Training. This training is slated to cover, at a minimum, use of force and bias-
based complaint investigations. The curriculum is currently under development and is anticipated
to be implemented in Q4 of 2022. CDP submitted to the Monitoring Team and Department of
Justice materials for the first module of this training after the review period of this report, and
those materials are currently under review. The Monitoring Team looks forward to seeing the full
curriculum produced in collaboration by CDP and Polis Solutions and will provide relevant
feedback to ensure consistency with Consent Decree requirements.

In the Tenth Semiannual Report, we indicated that CDP should re-engage with the Training
Review Committee (TRC). The TRC currently is convened at least annually to review and update
the Division’s Needs Assessment and Training Plan. However, the TRC also serves to review
internal training, which involves providing feedback and recommendations on a regular basis. This
information is currently forwarded via email and file sharing platforms to members of the TRC
and either verbal or written feedback is solicited to be incorporated into the curriculum or training.
The formal approval process through the TRC has not been fully implemented, as it is still being
looked at for improvements by the Training Commander. In the next Semiannual Report, we will
report on development of a formalized approval process for the TRC.




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             c. Progress and Tasks that Remain

The Monitoring Team has previously recounted the steps that CDP must make with respect to
officer training to reach compliance with the Consent Decree. Looming large among them is fully
implementing the concept that the Training Commander must approve ALL training prior to the
initiation of any sessions. The Monitoring Team will continue to monitor this closely to measure
progress.

Additionally, the Training Section remains understaffed. The Monitoring Team recognizes that
many agencies nationally are struggling to fill positions, but the significant role that training plays
in implementing so many of the Consent Decree required policy and culture changes demands
adequate staff to speed up the overall training development, approval and implementation process.

2. Equipment & Resources

 Paragraph                                                                      Status of
                                                                                Compliance
 291. “The City will implement” paragraphs regarding equipment and PARTIAL
 resources in order to allow implementation of the Consent Decree “and to COMPLIANCE
 allow officers to perform their jobs safely, effectively, and efficiently.”
 292. “CDP will complete a comprehensive equipment and resource study to OPERATIONAL
 assess its current needs and priorities,” and it “will develop an effective, COMPLIANCE
 comprehensive Equipment and Resource Plan that is consistent with its
 mission and that will allow it to satisfy the requirements of this Agreement.”
 293. “CDP’s Equipment and Resource Plan will provide for necessary OPERATIONAL
 equipment including, at least” “an adequate number of computers”; “an COMPLIANCE
 adequate number of operable and safe zone cars”; “zone cards with reliable,
 functioning computers that provide officers with up-to-date technology”
 including computer-aided dispatch, the records management system, and
 various core law enforcement systems; and “zone cards equipped with first-
 aid kits.” “This plan also will ensure that CDP properly maintains and seeks
 to continuously improve upon existing equipment and technology; and is
 appropriately identifying equipment needs and seeking to utilize, as
 appropriate, emerging technologies.”
 294. “CDP will actively seek input and feedback from the Commission, patrol NON-
 officers, and supervisors regarding resource allocation, equipment needs, and COMPLIANCE
 technological improvements.”
 295. “City and CDP” must “us[e] best efforts to implement the Equipment OPERATIONAL
 and Resource Plan as required.”                                                COMPLIANCE




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 296. “CDP will . . . implement an effective, centralized records management          OPERATIONAL
 system.”                                                                             COMPLIANCE
 297. “CDP will utilize a department-wide e-mail system to improve                    OPERATIONAL
 communication and information sharing.”                                              COMPLIANCE
 298. “CDP will employ information technology professionals who are trained           OPERATIONAL
 to conduct crime and intelligence analysis, who are capable of                       COMPLIANCE
 troubleshooting and maintaining information technology systems and who
 can identify and suggest appropriate technological advancements.”
 299. “CDP will implement an effective employee assistance program that               PARTIAL
 provides officers ready access to the mental health and support resources            COMPLIANCE
 necessary to facilitate effective and constitutional policing.”

            a. Background

The Consent Decree requires the City of Cleveland to “develop an effective, comprehensive
Equipment and Resource Plan that is consistent with its mission and that will allow it to satisfy the
requirements of this Agreement.”44 The Plan must “provide for necessary equipment including, at
least . . . an adequate number of computers; an adequate number of operable and safe zone cars;
zone cars with reliable, functioning computers that provide officers with up-to-date technology,
including” mobile computer-aided dispatch (CAD), access to the Division’s records management
system (RMS), and access to law enforcement databases; and “zone cars equipped with first-aid
kits . . .”45 It must address how the Division will satisfy the other substantive requirements of the
Decree. It likewise must “ensure that CDP” both “properly maintains and seeks to continuously
improve upon existing equipment and technology” and “is appropriately identifying equipment
needs and seeking to utilize, as appropriate, emerging technologies.”46

            b. Where the Division Stands

The Monitoring Team recently received information from the City, after the period covered by this
report, indicating that progress continues to be made on implementation of the City’s equipment
and resource plan. Assessing where the City stands on its implement is slated for this next reporting
period, and the Monitoring Team will provide an update in its Twelfth Semiannual Report.




44
   Dkt. 413-1 ¶ 292.
45
   Id. ¶ 293.
46
   Id. ¶ 293.




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3. Recruitment & Hiring

Paragraph                                                                        Status of
                                                                                 Compliance
300. “The City will review and revise . . . its recruitment and hiring program PARTIAL
to ensure that CDP successfully attracts and hires a diverse group of qualified COMPLIANCE
individuals.”
301. “The Mayor will work with the City Council to develop an ordinance GENERAL
to place a Charter Amendment on the ballot that would give the appointing COMPLIANCE
authority greater flexibility in the selection of candidates from the certified
eligibility list for the CDP.”
302. “CDP will develop a recruitment policy and a strategic recruitment plan OPERATIONAL
that includes clear goals, objectives, and action steps for attracting qualified COMPLIANCE
applicants from a broad cross-section of the community” and meets certain
specific, expressly-listed requirements.
303. “The City will implement the recruitment plan within 60 days of it being OPERATIONAL
approved by the Monitor.”                                                        COMPLIANCE
304. “CDP’s recruitment plan will include specific strategies for attracting a PARTIAL
diverse group of applicants,” including officers with various, specific, COMPLIANCE
expressly-listed skills and backgrounds.
305. “In developing and implementing its recruitment plan, CDP will consult PARTIAL
with the [Community Police] Commission and other community COMPLIANCE
stakeholders on strategies to attract a diverse pool of applicants.”
306. “[O]bjective system for hiring and selecting recruits” that “employs PARTIAL
reliable and valid selection criteria.”                                          COMPLIANCE
307. “CDP will report annually to the public its recruiting activities and OPERATIONAL
outcomes,” which will include information on various, expressly-listed COMPLIANCE
areas.
308. “[A]ll candidates for sworn personnel positions” will have GENERAL
“psychological and medical examination” and be subject to “drug testing.” COMPLIANCE
Existing officers receive “random drug testing.”
309. “CDP will conduct thorough, objective, and timely background PARTIAL
investigations of candidates for sworn positions” that cover various, COMPLIANCE
expressly-listed topics.
310. “CDP will request to review personnel files from candidates’ previous OPERATIONAL
employment and, where possible, will speak with the candidate’s COMPLIANCE
supervisor(s)” and maintain any “salient information . . . in candidate’s file.”




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 311. “If a candidate has previous law enforcement experience, CDP will PARTIAL
 complete a thorough, objective, and timely pre-employment investigation” COMPLIANCE
 addressing various expressly-identified things.

              a. Background

The Consent Decree requires the City to “integrate community and problem-oriented policing
principles” into its recruitment practices, and to “develop a recruitment policy and a strategic
recruitment plan that includes clear goals, objectives, and action steps for attracting qualified
applicants from a broad cross-section of the community . . . [and] establish[es] and clearly
identif[ies] the goals of CDP’s recruitment efforts.”47 Additionally, the Consent Decree requires a
thorough background check for all hires including lateral hires.

              b. Where the Division Stands Now

We previously reported that the Division completed its Recruitment and Hiring Plan, which
incorporates feedback from the Department of Justice, Monitoring Team, and the expressed
concerns of the Cleveland public. As with police departments across the nation, recruiting new
officers is increasingly difficult, and even more so in the continuing pandemic. The pace of the
recruitment and completion rates from the academy continue to lag behind the number of Division
members who separate from service, which is a cause for concern. The recruitment team at the
Department of Public Safety is creative and working regularly with an array of community partners
to increase their visibility, to promote the public safety jobs, and to increase opportunities for
conversations.

With now six full years of data, the Department of Public Safety, which houses the Recruitment
Team, should be able to analyze and present data about the recruitment process and rates of success
and failures, as well as the lessons learned from the variety of creative recruitment efforts it has
implemented. What we find is that the various entities in the City who have a role in recruitment
and hiring lack coordination and direction. For the most part, the individual officers that have a
role in recruitment and hiring each play their part, yet the lack of coordination and focus from a
higher level is a disadvantage for the overall success. In particular, salary remains an issue for not
only recruitment but also retention. There was a recent amendment to the collective bargaining
agreement pertaining to raises, and the Monitoring Team is waiting to see where this places CDP’s
compensation scale as compared to other Ohio agencies.

The Monitoring Team recently reviewed and filed reports on the background investigations of
CDP hires – both a recruit and a lateral class. While the requirements of the Consent Decree were


47
     Dkt. 413-1 ¶ 302.



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mostly achieved, the depth of background reviews could have been better. The Monitoring Team
found the background reviews to be cursory in many cases. More disturbing are some of the
decisions to hire, or offer positions, made by the Personnel Hiring Committee. Hiring decisions
seem to be made irrespective of the background investigations. Most confounding in the reviews
was the decision to extend an offer of employment to an individual when 12 of 13 members of the
committee voted no upon considering that candidate.

In reviews of background investigations of both the lateral class and the new recruit class, it was
alarming that Cleveland elected to hire individuals that many other departments chose not to hire
based on background. For example, a lateral hiring process resulted in hires who, by assessment
of the Monitoring Team, had significant background issues that should have precluded their
appointment as officers. Additionally, the Monitoring Team examined the case of an officer who
resigned from the Division to join the Division of Fire, which ultimately rejected his transfer. He
was immediately returned to full duty in the Division of Police. The Monitoring Team raised these
concerns with CDP and continues to assess the overall recruitment and hiring processes to ensure
compliance and hiring of officers who reflect the principles of community and problem-oriented
policing.

               c. Progress and Tasks that Remain

Following the Court’s approval of the Recruitment and Hiring Plan, CDP must “report annually to
the public its recruiting activities and outcomes,” including disaggregated data on applicants,
interviewees, and selectees, as well as the successes and challenges to recruiting qualified and
high-quality applicants.48 A comprehensive report is prepared and filed by the recruitment team.
The large number of people who voluntarily separated from service during 2021 as reported by
CDP raises concerns about the ability of the Division to retain personnel. While recruitment is a
challenge across the country, the details offered in exit interviews about why officers are leaving
the CDP include issues of salary and morale and need to be addressed. The Division and City
leadership must look carefully at what can be done to retain police officers. Additionally, all
entities who have a role in recruitment and hiring must find ways to collaborate more closely. Each
part of the process relies significantly on the other. Presently, it seems as if the Public Safety
Recruitment Office, the Civil Service Commission, and the Human Resources Department are not
as connected as they could be. The Monitoring Team will continue to gauge progress by analyzing
the numbers and trends with respect to applicants and hired recruits, as well as by working with
the City to provide ongoing technical assistance on the Plan’s implementation.




48
     Dkt. 413-1 at ¶ 307.



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4. Performance Evaluations and Promotions

 Paragraph                                                                     Status of
                                                                               Compliance
 312. “CDP will ensure that officers who police professionally and effectively NON-
 are recognized through the performance evaluation process” and “are COMPLIANCE
 identified and receive appropriate consideration for performance.” Likewise,
 “poor performance” must be “reflected in officer evaluations.”
 313. “The City will develop and implement fair and consistent practices to NON-
 accurately evaluate officer performance in areas related to integrity, COMPLIANCE
 community policing, and critical police functions, on both an ongoing and
 annual basis.”
 314–15. CDP will use “a formalized system documenting the annual NON-
 performance evaluations of each officer by the officer’s direct supervisor,” COMPLIANCE
 including an assessment of several expressly-listed areas. “Supervisors will
 meet with the employee whose performance is being evaluated to discuss the
 evaluation.”
 316. “CDP will hold supervisors of all ranks accountable for conducting NON-
 timely, accurate, and complete performance evaluations of their COMPLIANCE
 subordinates.”
 317. “The City will develop and implement fair and consistent promotion NON-
 practices that comport with the requirements of this Agreement and result in COMPLIANCE
 the promotion of officers who are effective and professional.”
 318. In considering promotion, “appointing authority will consider” specific, NON-
 expressly- listed “factors.”                                                  COMPLIANCE


               a. Background

The City must address how it evaluates officer performance and must ensure that high-performing
officers have access to promotional opportunities. Under the Consent Decree, the City must
“develop and implement fair and consistent practices to accurately evaluate officers” across a
number of dimensions, including ‘integrity, community policing, and critical police functions.’”49

               b. Where the Division Stands

During this reporting period, CDP reported that they were working internally to improve upon its
previously submitted draft General Police Order and Performance Management Manual. The


49
     Dkt. 413-1 at ¶ 313.



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Monitoring Team received these updated materials on July 20, 2022, along with applicable draft
matrices to accompany those fundamental directives. The Monitoring Team and Department of
Justice are currently reviewing these documents and anticipate additional collaboration with CDP
in an effort to finalize a policy and manual that satisfies the requirements of the Consent Decree
swiftly but effectively. As the Monitoring Team does not have evidence that the Division or its
supervisors are implementing performance evaluations in compliance with Consent Decree
requirements, the ratings remain in Non-Compliance.

During this reporting period, the Monitoring Team received a comprehensive briefing on the
overall promotional process over March and April of 2022. The briefing conveyed an objectivity
and focus on qualifications based on demonstrated performance as primary criteria for promotion.
Since April, the Monitoring Team has requested on several occasions written materials that
demonstrate the current promotions process, as well as written criteria that allow consistency in
promotions in order to ensure objectivity in the process. While we received some preliminary
questions, we have not received the current or updated materials requested from all the entities
necessary for the Monitoring Team to form an assessment of the process and would likely raise
the compliance status.

             c. Progress and Tasks that Remain

Under the 2022 Monitoring Plan, the City has again been tasked with incorporating community
and problem-oriented policing into its promotions and evaluations. Progress on this work has
continued to lag, to the Monitoring Team’s dismay. Once these nascent plans are established and
realized, enhanced performance evaluations and standardized promotions will both provide
professional development opportunities within the Division, and aid significantly in employee
management. While this work is underway, the Monitoring Team impresses upon the City that it
should regarded as a priority.

5. Staffing

 Paragraph                                                                     Status of
                                                                               Compliance
 319. “CDP will complete a comprehensive staffing study to assess the OPERATIONAL
 appropriate number of sworn and civilian personnel to perform the functions COMPLIANCE
 necessary for CDP to fulfill its mission and satisfy the requirements of the”
 Consent Decree. / “CDP will develop an effective, comprehensive Staffing
 Plan that is consistent with its mission, including community and problem-
 oriented policing, and that will allow CDP to meet the requirements of” the
 Consent Decree.




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 320. Requirements of CDP Staffing Plan.                                   PARTIAL
                                                                           COMPLIANCE
 321. “The City and CDP will employ best efforts to implement the Staffing PARTIAL
 Plan over the period of time set forth in the approved plan.”             COMPLIANCE

                 a. Background

The Consent Decree contemplates changes to CDP’s approach to staffing, assigning, and
deploying its personnel within the City of Cleveland. Under the requirements of the Decree, for
example, CDP must:

             •    Implement a “comprehensive and integrated model;”50
             •    Ensure rigorous investigations and reviews of force incidents;51
             •    Ensure that specialized crisis intervention officers “are dispatched to an incident
                  involving an individual in crisis” and are able to “have primary responsibility for the
                  scene;”52
             •    Provide supervisors with the ability to “review all documentation of investigatory
                  stops, searches, and arrests;”53
             •    Ensure that officers can receive the training required by the Decree;54
             •    Provide necessary opportunity for “first line supervisors [to] provide close and
                  effective supervision of officers;”55
             •    Implement the Early Intervention System;56 and
             •    Provide supervisors with the ability to “conduct adequate random and directed audits
                  of body worn camera recordings.”57
These provisions require changes in the way that CDP will deploy its existing personnel and in the
overall number of sworn and civilian personnel. To that end, the Consent Decree specifically
envisions a Staffing Plan by which the CDP must “address and provide for each of the following”:

         •       “[P]ersonnel deployment to ensure effective community and problem-oriented
                 policing;
         •       “[A] sufficient number of well-trained staff and resources to conduct timely misconduct
                 investigations;

50
   Dkt. 413-1 at ¶ 27.
51
   Id. at ¶¶ 93-130.
52
   Id. at ¶ 151.
53
   Id. at ¶ 168.
54
   Id. at ¶ 271.
55
   Id. at ¶ 322.
56
   Id. at ¶ 326-36.
57
   Id. at ¶ 339.



                                                       64
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           •   “[T]o the extent feasible, Unity of Command; and
           •   “[A] sufficient number of supervisors.”58

               b. Where the Division Stands Now

As the Monitoring Team has reported, the Division completed the Decree-mandated Staffing Plan
in 2017. Since then, the Monitoring Team has not received information about updates on
implementation of CDP’s Staffing Plan. The Monitoring Team plans to report more detail on this
process in its next semiannual report, as numerous opportunities have emerged, including a new
Mayoral administration and a new Chief of Police who may have a new vision for CDP’s staffing
needs and strategies.

               c. Progress and Tasks that Remain

Significant requirements of the Decree, including the comprehensive implementation of CDP’s
new community and problem-oriented policing strategy, are directly linked to the Division’s
ability to carry out the approved Staffing Plan. Given the challenges that CDP and other police
departments have faced in recent years with hiring and retention, accomplishing this task likely
requires both changes to long-held practices, as well as creative strategies to work within the reality
of lower than desired staffing numbers. As mentioned in previous reports, the Division could
reimagine its deployment plans, through collaboration with community, the Monitoring Team and
the Department of Justice, to increase focus on community priorities and phase out services that
do not impact community satisfaction or public safety goals. The Division will need to remain
committed to these efforts in order for Decree-required policies, procedures, and plans to be fully
and effectively implemented.




58
     Id. at ¶ 320.



                                                    65
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      XII.   SUPERVISION

1. First-Line Supervisors

 Paragraph                                                                     Status of
                                                                               Compliance
 322. “CDP will ensure that first line supervisors provide close and effective PARTIAL
 supervision of officers” in a number of express, specifically-identified COMPLIANCE
 ways.

 323. “CDP will develop and implement supervisory training for all new and PARTIAL
 current supervisors” that is “adequate in quality, quantity, type, and scope, COMPLIANCE
 and will include” a number of specific, expressly-listed topics.

 324. “Thereafter all sworn supervisors will receive adequate in-service PARTIAL
 management training.”                                                   COMPLIANCE
 325. “CDP will hold supervisors directly accountable for the quality and PARTIAL
 effectiveness of their supervision, including whether supervisors identify COMPLIANCE
 and effectively respond to misconduct and ensure that officers effectively
 engage with the community.”


             a. Background

The Consent Decree requires that CDP ensure “close and effective supervision of officers.”59
Supervisors must be held “directly accountable for the quality and effectiveness of their
supervision” of officers in their command.60 To do so, the Decree requires that the Division
establish new policies and procedures addressing supervision. It also requires training for
supervisors on a host of specific topics.61

             b. Where the Division Stands

The Division completed training on supervisor review of force and the Monitoring Team looks
forward to reviewing how that training is applied in practice. Training for new supervisors is
ongoing and the CDP will certify that each new supervisor has completed the supervisory training
upon promotion. In August of this year, CDP submitted the initial draft of specific modules of the
2022 supervisory in-service training curriculum, which it developed in collaboration with an

59
   Dkt. 413-1 ¶ 322.
60
   Id. ¶ 325.
61
   Dkt. 413-1 ¶ 323.




                                                 66
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outside vendor. The Monitoring Team and Department of Justice’s review is underway, and the
Monitoring Team is looking forward to receiving the rest of the drafted modules in order to ensure
that the entire curriculum aptly addresses topics required for supervisory in-service training.

           c. Progress and Tasks that Remain

CDP must complete the supervisor in-service training of all CDP supervisors. As the Monitoring
Team conducts other specific assessments on use of force, discipline, and more, the Team looks
for opportunities to review the work of supervisors in practice, further assessing adherence to
paragraphs 322-325. Furthermore, the Monitoring Team will review and audit training curriculum
and training sessions which address supervisors’ roles and responsibilities in order to further assess
compliance with these paragraphs. The Monitoring Team is also planning a supervisor forum in
2022, as well as officer focus groups.

2. Officer Intervention Program

 Paragraph                                                                          Status of
                                                                                    Compliance
 326. CDP “will create a plan to modify its Officer Intervention Program            NON-
 (‘OIP’) to enhance its effectiveness as a management tool to promote               COMPLIANCE
 supervisory awareness and proactive identification of potentially
 problematic behavior among officers.

 327. “CDP supervisors will regularly use OIP data to evaluate the                  NON-
 performance of CDP officers across all ranks, units, and shifts.”                  COMPLIANCE
 328. “The OIP will include a computerized relational database that will be         NON-
 used to collect, maintain, integrate, and retrieve data department-wide” in        COMPLIANCE
 a number of specific, expressly-identified areas.

 329. “CDP will set threshold levels for each OIP indicator that will trigger NON-
 a formal review, and the thresholds will allow for peer-group comparisons COMPLIANCE
 between officers with similar assignments and duties.”

 330–36. Additional express requirements of OIP.                                    NON-
                                                                                    COMPLIANCE

           a. Background

The Consent Decree requires that CDP’s Officer Intervention Program (OIP) be transformed into
an effective “early intervention system,” or “EIS.” An EIS is a non-disciplinary system for




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identifying and addressing potentially problematic officer performance before it becomes a
problem.

Specifically, the Consent Decree requires that the Division’s OIP become a broader management
tool that will “proactive[ly] identif[y] . . . potentially problematic behavior among officers” and
provide non-punitive supervisory intervention in order to “modify officers’ behavior and improve
performance” before the performance gradually becomes deep-seated and difficult to resolve.62
The Decree requires the implementation and use of “a computerized relational database that will
be used to collect, maintain, integrate, and retrieve data department-wide” on officer performance
and that forms the basis of an EIS.63

              b. Where the Division Stands

There have been several iterations of the draft OIP policy (which encompasses its vision for an
updated EIS system) that have gone back and forth between the Division and Parties over the past
reporting periods. During this reporting period, the Division worked on an updated draft of the
OIP Policy, and the Parties and Monitoring Team conducted another review. CDP, the Monitoring
Team and Department of Justice also met to discuss this policy and related Consent Decree
provisions in June. Since the end of the reporting period, CDP has resubmitted the policy and the
Employee Assistance Unit (EAU) manual, which is the unit tasked with implementing the OIP.
These documents remain under review by the Monitoring Team and Department of Justice at the
time of this writing. CDP reports to the Monitoring Team that it has been working to identify best
practices to effectively implement the OIP policy and an EIS program, particularly as they relate
to identifying appropriate thresholds as required by Consent Decree paragraph 329. The Division
has requested more time to ensure that their proposal reflects a data-driven approach. The
Monitoring Team looks forward to reviewing the subsequent proposed structure.

              c. Progress and Tasks that Remain

It continues to be the case that CDP needs to finalize its policies, manuals, and implementation
materials related to the OIP/EIS to fully establish an upgraded early intervention system. Many
pieces of the plan are currently under review by the Monitoring Team. CDP continues to work on
this, but significant questions remain ahead to identify the best approach for CDP’s EIS
implementation. While this continues to be an understandable challenge, it must also remain a
priority, as it is an essential piece to Consent Decree compliance.




62
     Dkt. 413-1 at ¶¶ 326-27.
63
     Id. at ¶ 328.



                                                      68
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3. Body-Worn Cameras

 Paragraph                                                                     Status of
                                                                               Compliance
 337. “If CDP chooses to use body worn cameras, CDP will provide clear OPERATIONAL
 guidance and training on their use, and will implement protocols for COMPLIANCE
 testing equipment and preservation of recordings to foster transparency,
 increase accountability, and build trust, while protecting the privacy rights
 of individuals.”

 338. “Supervisors will review recordings related to any incident involving OPERATIONAL
 at least a Level 2 or 3 use of force; injuries to officers; and in conjunction COMPLIANCE
 with any other supervisory investigation.”

 339. “Supervisors will conduct adequate random and directed audits of OPERATIONAL
 body worn camera recordings” and “incorporate the knowledge gained COMPLIANCE
 from this review into their ongoing evaluation and supervision of officers.”

 340. “Officers will be subject to the disciplinary process for intentional or OPERATIONAL
 otherwise unjustified failure to activate body worn cameras in violation of COMPLIANCE
 CDP policy.”


           a. Background

Prior semiannual reports have summarized the history of the Division’s use of body-worn camera
technology. Because CDP elected to deploy the cameras, various Consent Decree requirements
relating to policies and procedures are activated.

           b. Where the Division Stands

As of 2021, the City reports that all CDP patrol officers are equipped with Axon’s Body Worn 3
camera systems. These officers are expected, under policy, to use their cameras when working a
City shift. While the Division and its officers continue to use their Wearable Camera System
(WCS) to capture incidents and interactions, the Monitoring Team has noted certain patterns in its
use of force reviews that will inform CDP on where it is implementing the cameras successfully,
and areas where improvements can be made.

Of note, in its review of uses of force from the first quarter of 2022, the Monitoring Team found
that 95% of Level 1 incidents were captures on WCS, and approximately 90% of Level 2 uses of
force were captured. Nevertheless, 16 of the 37 events that were reviewed did have one or more
WCS issues flagged by reviewers. These issues include, but are not limited to:



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       •   The WCS did not remain activated for the entire incident (n=5)
       •   The WCS fell off or became dislodged (n=5)
       •   Only some of the responding officers’ cameras were activated (n=4).

As the Monitoring Team carries on with its rolling use of force reviews, these issues will continue
to be noted and brought to the attention of CDP to resolve.

           c. Progress and Tasks that Remain

              i.   Compliance with Policy

As noted in previous reports, the Monitoring Team continues to be concerned about use of force
incidents by CDP personnel working secondary employment. Though officers working in
secondary employment are in full CDP uniform, they are not equipped with their WCS. This
impedes quality of investigations by CDP, and also complicates the Monitoring Team’s ability to
conduct effective oversight.

             ii.   General Policy for the Release of CDP Information

When the Monitoring Team previously approved the Division’s body-worn cameras policies, it
conditioned that approval on the City and CDP establishing a general policy for the release of
records, data, and information—including but not limited to body-worn camera footage—to the
public. The Monitoring Team has not yet seen a draft of such a policy from the Division, and
strongly encourages CDP to prioritize its creation, as this is an important part of police legitimacy
and demonstrations of transparency for the community. The Monitoring Team is also aware that
legislation has been passed requiring the release of police BWC video within newly defined
timeframes and this requirement must be reflected in CDP policy.




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   XIII.   OUTCOME ASSESSMENTS

The Consent Decree sets forth a number of specific outcome assessments primarily in paragraph
367 – Outcome Measures – that are largely quantitative measures across various domains. These
counts enable the Division and the Monitoring Team to assess the frequency of events such as use
of force and arrests, the rate of change across years as well as data from the City’s Civil Service
Division that reveals the number of recruits, demographic information, and their collective
success/failure rates in the hiring process. The several subparagraphs in paragraph 367 translate
into over 750 rows of data on an excel spreadsheet, with each row representing a different measure.
Nearly every line of that paragraph generates a row of data to be collected and analyzed. These
outcome measures can contribute to the Monitoring Team’s understanding of whether CDP’s
implementation of the specific policies, procedures, and ways of providing policing services
envisioned by the Consent Decree are indeed resulting in behavior change that leads to safe, fair,
effective, and constitutional policing.
In 2019, the Division first took responsibility for the assembly of these data directly, where prior
effort was led by members of the Monitoring Team. The Data Team continues to collect these
outputs and assemble them in the sheet designed by the Monitoring Team in 2015. The effort to
collect and record these data is substantial and could be utilized by many departments in the City
far more effectively. One clear example is the richness of the data across now more than five years
on the candidate pre-screening success and failure. These data are primarily held by the Civil
Service Department and yet, analysis across years of these data could inform recruitment
strategies, or management decisions by the Division or Training Committee around methods of
testing or need to support candidates differently to enhance pre-screening success. In all cases
these data have the potential to provide a wealth of information for all levels of management,
though it seems at times from conversations and submitted reports, the Division’s management
personnel does not rely on the available data or analysis for management purposes.
There is a clear emphasis on accuracy of reporting by the Division and the Data Analytics Unit is
focused on accuracy and sharing descriptive data. The Monitoring Team also notes that the Data
Analytics Unit has created dashboards, using Microsoft Power Bi, to report data during CDPStat
since early in 2022. The Monitoring Team appreciates this hard work and feels strongly that these
dashboards should induce the Division, beyond the Data Analytics Uni, to dive more deeply into
the details of the data to better understand their meaning, as well as to facilitate management
throughout CDP. In the reports the Division has created thus far on use of force, on recruitment,
and on drafts the Monitoring Team has seen for stops, searches, and arrests, there is minimal
analysis and insufficient commentary on deeper questions that could inform or leverage change.
The Monitoring Team looks forward to hearing how CDP will use its data tools not only to report
on data, but also use them for internal management purposes by command and other supervisors.
We cannot envision a clear path to compliance without regular, robust analysis and application of
these data for continued Division improvement. Collection along with analysis is required to be



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able to operate as a self-managing entity and one that is able to identify, study, and implement
changes necessary to reach compliance.
As the Monitoring Team reviews the data for Outcome Measures for 2021, we see a number of
items that raise questions and look forward to discussing those with the Division. Delving into the
details provides context, and both asks and answers important questions that help CDP’s
management understand matters ranging from issues with policy or supervision differences. For
example, in rows 15 and 17 of the outcome measures data spreadsheet (Appendix E), a careful
reader will note that in Districts 2 and 4 there are unusually low numbers for use of force. These
data should cause CDP’s management to ask “why?” Is this a function of training or supervision
style or sophistication of officers? Is there something about officer behavior or supervision in those
districts to create such a variance? Is there something about the people who live and travel in those
districts? How do you know?
The Monitoring Team also notices that tackling and takedown numbers (row 30) are low in 2021.
Is there a reason for this? Is it training or data quality or something else? We look carefully at the
numbers relating to complaints. The number of complaints regarding force is down. Are officers
getting better? If so, what other data points help confirm that explanation over other possible
reasons such as poor data quality?
The Monitoring Team also notes that use of force in almost all categories shows continued
improvement. Overall use of force is down, the policy violations continue to decrease, and the
number and percentage of cases ending in arrest are down slightly. Incidents of force are most
often with Black individuals, with 150 incidents with Black people and 42 with white people, a
three-fold difference. The data further show that most force incidents are on individuals between
the ages of 18 and 39 who are most likely male (see rows 48-70). In our regular communications
with CDP on data, particularly during the monthly CDPStat presentations by the Division staff,
we note that in the first half of 2022 the use of force numbers, particularly pointing of a firearm
are nearly double year to date. It is critical that the Division dig deeply into the context and the
stories behind the data to understand not only why this is happening but also how to impact the
trajectory.
Many people are reported to be in behavioral crisis or under the influence of drugs or alcohol
during use of force incidents (n=106). It seems that in 2021 the number of officers injured
increased slightly (from 32 officers injured to 38 officers injured) and remains overall lower than
at the start of the Consent Decree (rows 82 and 83). Approximately 75% of officers involved in
use of force incidents reported no injuries (300/407) and, mercifully, only 22 required hospital
treatment (rows 84-97).
With the concerns about recruitment and retention of police officers across the US, ensuring the
applicants that are serious and engaged complete the application process and pass all stages is an
important element for successful recruiting. As we look at the numbers for pass/fail rates we note
that at all stages of hiring, and for all demographic groups, the failure rate is high (rows 559-591).



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In other jurisdictions, municipalities find ways to support and promote candidate success. Study
groups, exercise groups, and investments in other types of support could help promising candidates
pass at higher rates. It seems important for the leadership of the Division of Public Safety as well
as in the Division to review these data and use them to inform innovative strategies to help achieve
goals.
The Monitoring Team is working on qualitative assessments to test adherence in practice to the
policies in place. The assessments are in various stages of completion, and several are ongoing in
a rolling fashion. The list below describes what assessments are in process for the calendar year
of 2022.
   1. Force Review Board (FRB): This is an ongoing review and Monitoring Team members
      attend each FRB meeting. The Monitoring Team has completed systemic qualitative
      reviews of all cases presented during the last three FRB Meetings (Dec. 2021, Mar. 2022,
      June 2022), with at least two reviewers for each case.
   2. Lateral Hire Assessment: This was completed in November 2021 and the memo was filed
      with the Court in January 2022.
   3. Recruit Hire Assessment: This assessment was completed in April 2022 and a memo was
      subsequently filed with Court. The Monitoring Team has offered technical assistance to
      the team that conducts these checks. We hope that the information and suggestions we
      provide will increase the quality of the reviews for the next class.
   4. Handcuffing on crisis calls of female juveniles: This was inspired by conversations at
      MHRAC meetings where participants had specific questions and concerns around officer
      bias in these situations, in which female juveniles in crisis who were ultimately handcuffed
      were disproportionately non-white. The review is complete as of this writing and the report
      is forthcoming.
   5. Use of Force: A committee of the Monitoring Team reviewed all reported use of force
      cases closed in the first quarter of 2022 (January through March). This totaled
      approximately 60 cases. The next steps will be internal deconfliction and then presentation
      to CDP. This process will be repeated for subsequent quarters.
   6. Chief of Police Discipline: This review is nearing completion by the Monitoring Team and
      a report is forthcoming.
   7. Force Investigation Team: The Monitoring Team is finalizing the methodology and is in
      the process of sharing it with the Parties.
   8. Stop, Search & Seizure: The Monitoring Team is finalizing the development of the
      methodology and protocol.
   9. Crisis Intervention Team response: In the next few months the Monitoring Team will
      develop and pilot an assessment instrument. A more complete assessment will follow next
      year.




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                                                                                Hassan Aden
                                                                                    Monitor

                                                                            Ayesha Hardaway
                                                                              Deputy Monitor

                                                                                Christine Cole
                                                                Director of Outcome Measures

                                                                              Charles R. See
                                                          Director of Community Engagement

                                                                         Dr. Modupe Akinola
                                                                               Melissa Bretz
                                                             Assistant Chief Shunta Boston
                                                                            Dr. Ronnie Dunn
                                                                      Dr. Randolph Dupont
                                                                                    Lisa Fink
                                                                            Maggie Goodrich
                                                                 Chief Tammy Hooper (ret.)
                                                                     Dr. Megan McDonough
                                                                                  Rick Myers
                                                       Commissioner Charles H. Ramsey (ret.)
                                                                      Dr. Richard Rosenthal
                                                                                  Victor Ruiz
                                                                Captain Scott Sargent (ret.)
                                                                                 Sean Smoot
                                                                           Timothy Tramble
                                                                            Monitoring Team
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                           APPENDIX A
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                                 IN THE UNITED STATES DISTRICT COURT
                                  FOR THE NORTHERN DISTRICT OF OHIO
                                           EASTERN DIVISION




UNITED STATES OF AMERICA,                        )   CASE NO.: 1:15-CV-01046
                                                 )
                    Plaintiff,                   )
                                                 )   JUDGE SOLOMON OLIVER, JR.
           vs.                                   )
                                                 )   NOTICE SUBMITTING MONITORING
CITY OF CLEVELAND                                )   TEAM COMPLIANCE AUDIT OF CDP’s
                                                 )   LATERAL HIRE BACKGROUND
                    Defendant.                   )   CHECKS
                                                 )
                                                 )




           The Monitoring Team respectfully submits its Compliance Audit of Cleveland Division of

Police (“CDP” or “the Division”) Background Checks for Lateral Hires pursuant to paragraphs

308 – 311 of the Consent Decree. Those provisions of the Consent Decree require the Division to

“conduct thorough, objective, and timely pre-employment investigations” regarding all applicant’s

prior use of force training, history of using lethal and less than lethal force, and any history of

complaints.1 This is in addition to the requirement that CDP conduct thorough, objective and

timely background investigation investigations to determine candidates’ suitability for law

enforcement employment.2




1
    Dkt. 7-1 at ¶¶308 – 311.
2
    Id.
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       The Monitoring Team audited the pre-employment investigation files of a recent class of

lateral hires to assess the Division’s compliance with these provisions. The attached Memorandum

(“Exhibit A”) describes the methodology and findings of the review.



                                                   Respectfully submitted,



                                                   /s/ Hassan Aden

                                                   HASSAN ADEN
                                                   Monitor
                                                   The Aden Group LLC
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                                CERTIFICATE OF SERVICE

          I hereby certify that on January 30, 2022, I served the foregoing document entitled

NOTICE SUBMITTING MONITORING TEAM COMPLIANCE AUDIT OF CDP’s

LATERAL HIRE BACKGROUND CHECKS via the court’s ECF system to all counsel of

record.




                                                   /s/ Ayesha Hardaway
                                                   AYESHA HARDAWAY




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                                           EXHIBIT A


                                     MEMORANDUM


DATE:          JANUARY 28, 2022

TO:            MARK GRIFFIN, LAW DIRECTOR
               KARRIE HOWARD, DIRECTOR OF PUBLIC SAFETY
               DORNAT DRUMMOND, INTERIM POLICE CHIEF
               JOELLEN O’NEILL, DEPUTY POLICE CHIEF
               DANIEL FAY, COMMANDER
               TIMOTHY MYGATT, DEPUTY CHIEF, CRT
               JONAS GEISSLER, CRT
               ACRIVI COROMELAS, CRT
               STEVEN J. PAFFILAS, CIVIL DIVISION CHIEF, AUSA
               MICHELLE HEYER, AUSA
               SARA DECARO, AUSA
               MICHAEL EVANOVICH, AUSA

FROM:          HASSAN ADEN, MONITOR

RE:            BACKGROUND CHECKS FOR LATERAL HIRES – COMPLIANCE AUDIT


        After learning of the Division’s intent to recruit lateral hires from a circulated Divisional
Notice, received August 13, 2021 the Monitoring Team notified Public Safety Director Howard of
the Team’s intent to audit the background check process of any candidates receiving an offer.
Subsequently, Director Howard organized a telephone call with Cleveland Division of Police
personnel l leading the recruitment of lateral hires, specifically Commander Daniel Fay. That
conversation included discussion about the Monitor’s interest in the process, review of the
relevant paragraphs, and plans to coordinate the review process. The purpose of the audit was
to assess the Division of Police’s compliance with Consent Decree paragraphs 308-311. That
audit was conducted at the Cleveland Division of Police training academy on November 30,
2021. Reviewers included Hassan Aden, Ayesha Bell Hardaway, and Christine Cole of the
Monitoring Team. Michelle Heyer from the US Attorney’s Office was present as an observer and
did not score any of the files.
Methodology: The three Monitoring Team members were each assigned a file for one of the
three lateral candidates that received a conditional offer of employment. Michelle Heyer
reviewed two files of candidates who did not receive offers of employment. The files of two
candidates who did not receive an offer of employment were reviewed to understand the
difference between those who received a recommendation for hire and those who did not. The
reviewers worked in close proximity to one another, with each reviewer working through their
assigned file, raising questions, and sharing observations throughout the process of review.
Throughout the review, Monitoring Team members discussed aspects as a group, rendering
subsequent reviews for internal validity unnecessary.
Assessing the Files: Each file included on the inside front cover a list of potential contents
with a (blank space) presumably for a check mark or an X, indicating the inclusion or presence
of that item. Several spaces were blank even when there were items included in the file,
suggesting that the cover sheet was not universally used by the reviewer. This checklist was
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                                          EXHIBIT A


helpful for us to orient ourselves to the files and their content. Each file contained a red folder
with CDP background information and one or more manila folders each containing materials
from the candidates’ prior law enforcement agency employer. Cover sheets for each section, in
order and with the section titles corresponding to the table of contents, which were not included,
would facilitate review by parties not involved in the compilation of the files, including chain of
command reviewers. We spent about 15 minutes orienting ourselves to the files, their general
contents, and organization.
Scoring the Files: The Monitoring Team created a score sheet (see attached to view sheet and
scores) to assess each requirement of the relevant Consent Decree paragraphs. The presence or
evidence of the requirement garnered a score of 1, the absence of evidence resulted in a score of
0. There is a total possible score of 18 for the enumerated items. It may be that some work was
completed in accordance with the Consent Decree paragraphs, but if there is not visible evidence
of that work or product in the notes, the score received is 0. For example, a score of 0 is
awarded if the files contained a signed consent form from the candidate for the preservice drug
screening, but no evidence of the completed screening, nor notes reporting whether drugs or
steroids were detected is included in the file. A memo or note that indicates the drug screening
was completed and deemed satisfactory by the medical unit, and is on file in the medical office
receives a score of 1 or the full score.
Overall Impressions: The CDP files show the investigators consistently reviewed criminal
background checks, employment verification, and credit checks. The ways the investigators
completed the comprehensive questionnaire template was uneven. The investigators
consistently used a different color font to highlight clear problems with the background, which
was helpful, though the depth of questions and details of responses from prior employers varied
widely. CDP investigators generally received extensive information from prior employers.
These other agency files often contained detailed background investigatory details – beyond the
scope of the CDP background review as documented. It appears that the data in the files from
other agencies were not considered.
The reviews show a lack of adherence to the expectations with and as such, non-compliance with
paragraphs 308-311. Generally, the files lack much of the required documentation from
paragraphs 308-311. The scores are 50%, 27%, and 61% compliant. None of those meet an
acceptable threshold for compliance.
The decision to hire illustrates a disregard for the content of the background investigations and
the problematic histories of these three candidates as reported by the other agencies to which
the candidates applied. The information in the files collected by the CDP investigators seem to
be disqualifying for hire, and yet, each of these three candidates was extended an offer of
employment.
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                           APPENDIX B
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                                 IN THE UNITED STATES DISTRICT COURT
                                  FOR THE NORTHERN DISTRICT OF OHIO
                                           EASTERN DIVISION




UNITED STATES OF AMERICA,                        )   CASE NO.: 1:15-CV-01046
                                                 )
                    Plaintiff,                   )
                                                 )   JUDGE SOLOMON OLIVER, JR.
           vs.                                   )
                                                 )   NOTICE SUBMITTING MONITORING
CITY OF CLEVELAND                                )   TEAM PRELIMINARY ASSESSMENT
                                                 )   OF THE OFFICE OF PROFESSIONAL
                    Defendant.                   )   STANDARDS and THE CIVILIAN
                                                 )   POLICE REVIEW BOARD
                                                 )


           The Monitoring Team respectfully submits its preliminary assessment of the Office of

Professional Standards (“OPS”) and the Civilian Police Review Board (“CPRB”). (Exhibit A).

The Consent Decree requires the Monitoring Team to “conduct reviews and audits as necessary to

determine whether the City and CDP have complied with the requirements of this Agreement.”1

The Monitoring Team has an ongoing obligation to assess the City of Cleveland’s progress and

compliance with terms of the Consent Decree. As such, the Monitoring Team completed a

preliminary assessment of the progress of OPS and CPRB toward compliance with Consent

Decree—and specifically Paragraphs 193 through 239 of the Consent Decree. The goal of this

initial assessment was to provide OPS and CPRB with a better understanding of where each

department stands in regards to overall compliance. It was fully anticipated that the Monitoring



1
    Dkt. 7-1 at ¶360.
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Team would identify areas where challenges still exist and that OPS would use the feedback

contained within this assessment to achieve full and effective compliance in a future, more

comprehensive assessment.

       In order to complete the preliminary assessment, the Monitoring Team developed an

assessment tool and methodology for reviewing citizen complaint investigations sustained by the

CPRB. The draft tool was reviewed by the DOJ, the OPS Administrator and the former CDP

Inspector General. After conferral with these stakeholders, the online tool and methodology were

finalized. This assessment is limited to only those cases received by the OPS after June 1, 2019,

where at least one sustained finding was made by the CPRB and where a pre-disciplinary hearing

was conducted by CDP Chief of Police before December 31, 2020. The assessment evaluated OPS

and CPRB performance across several areas as detailed in Paragraphs 200, 216, 218-221, 223-228,

236-239, 241-242, 244, and 247 of the Consent Decree.

       The attached review details the findings from the preliminary assessment. It identifies

several areas of improvement as it relates to the thoroughness and timeliness of investigations,

document keeping and communication, and timeliness of preparation of cases by the Chief’s

office. The report highlights a significant concern in the increase of OPS complaints. The City

must act quickly and provide additional resources to the OPS in order to attend to this significant

increase in workload. This unacceptable workload will negatively impact the OPS’ ability to

achieve full and effective compliance with the Consent Decree. It is also important to highlight the

recent departure of former OPS Administrator Roger Smith who left to become the Director of the

Office of Accountability and Transparency for the City of Phoenix. It is hoped that the newly

appointed OPS Administrator will use this assessment to further improve the work of the OPS and




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bring the program into full and effective compliance with the Consent Decree. The Monitoring

Team will provide the Court with future updates on all additional assessments of OPS and CPRB.



                                                  Respectfully submitted,

                                                  /s/ Hassan Aden

                                                  HASSAN ADEN
                                                  Monitor
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                                  CERTIFICATE OF SERVICE

          I hereby certify that on February 28, 2022, I served the foregoing document entitled Notice

Submitting Monitoring Team Preliminary Assessment of The Office of Professional

Standards and The Civilian Police Review Board via the court’s ECF system to all counsel of

record.




                                                       /s/ Ayesha B. Hardaway
                                                       AYESHA B. HARDAWAY




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February 24, 2022




                              COURT MONITORING TEAM’S PRELIMINARY
                                          ASSESSMENT OF
                                OFFICE OF PROFESSIONAL STANDARDS
                           COMPLIANCE WITH THE SETTLEMENT AGREEMENT
                            BETWEEN THE CITY OF CLEVELAND AND THE U.S.
                                  DEPARTMENT OF JUSTICE



The Cleveland Consent Decree Monitoring Team is pleased to present this preliminary assessment
into the work of Cleveland’s Office of Professional Standards (OPS) and the Civilian Police
Review Board (CPRB). This assessment also evaluates the impact of the Cleveland Division of
Police and Department of Public Safety’s actions and impact on the adjudication of community
complaints against the police that fall within the jurisdiction and mandate of the OPS/CPRB.

This assessment has been a long time coming. As described herein, it was not until 2018 (three
years after the Consent Decree was adopted) that the Monitoring Team identified substantial

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improvements as having been made in the OPS program. They included the critically important
creation and implementation of an Investigations Manual, among other things. Even after these
improvements had been made, the Monitoring Team and the OPS agreed that the OPS needed
more time before it would be fully ready for a formal assessment of its work. In late 2020, the
Monitoring Team and the OPS agreed that this first assessment should be a limited one, in order
for the OPS administration to better understand where the OPS/CPRB program stands with respect
to issues of overall compliance with the Consent Decree. It was fully anticipated that the
Monitoring Team would identify areas where challenges still exist and that OPS would use the
feedback contained within this assessment to achieve full and effective compliance in a future,
more comprehensive assessment.

As of the writing of this report, OPS Administrator Roger Smith departed from the OPS to be the
first Director of the Office of Accountability and Transparency for the City of Phoenix, with
jurisdiction over the Phoenix Police Department. It is hoped that the newly appointed OPS
Administrator will use this assessment to further improve the work of the OPS and bring the
program into full and effective compliance with the Consent Decree.

This assessment is limited to only those cases received by the OPS after June 1, 2019, where at
least one sustained finding was made by the CPRB and where a pre-disciplinary hearing was
conducted by the Cleveland Division of Police (CDP) Chief of Police before December 31, 2020.1
The purpose of this assessment is to evaluate compliance with Consent Decree requirements with
respect to civilian complaints, the OPS and the CPRB—and specifically Paragraphs 193 through
239 of the Consent Decree.

        1. Methodology

The Monitoring Team, in its role of assessing the status of Consent Decree reforms, developed an
assessment tool and methodology for reviewing citizen complaint investigations sustained by the
CPRB. The draft tool was reviewed by the DOJ, the OPS Administrator and the former CDP
Inspector General. After conferral with these stakeholders, the online tool and methodology were
finalized.

The Monitoring Team’s review included all cases sustained by the CPRB and adjudicated by the
CDP after the new OPS Administrator2 had an opportunity to implement the OPS Operations
Manual and once the CDP fully staffed its new Case Preparation Unit. It is important to note that
the Operations Manual compliant with Consent Decree paragraph 200 was adopted effective

1
  The Monitoring Team and the parties (the DOJ and the City of Cleveland) agreed to the assessment including cases
falling within this period to allow recent improvements in case adjudication staffing at the CDP to be considered as
they related to the timeliness in the adjudication of community complaints falling within the mandate of the OPS
and CPRB.
2
  Roger Smith was hired in June 2018 as the Administrator of OPS.

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February 2017. The Monitoring Team accessed cases through the IA Pro and Evidence.com
databases. There was a total of twenty-three (23) cases that met the above-noted criteria.

The Monitoring Team’s review coordinator confirmed that the appropriate documents were
available to reviewers, including documentation normally uploaded to IA Pro, Wearable Camera
Systems (WCS) video, audio and video recordings of CPRB hearings. In addition, the CDP and
Department of Public Safety provided transcripts for all Chief’s hearings and Director’s hearings
conducted for the identified cases.

A team of four reviewers examined all case documentation, including watching video recordings
of OPS interviews and of relevant portions of CPRB meetings. Each case was randomly assigned
to a reviewer. The review coordinator subsequently conducted an independent review of each
assessment tool and conferred with the reviewers, as necessary, to ensure consistency amongst the
assessments. Ultimately, there were no irreconcilable differences of opinion as to any key issues
or conclusions made by the reviewers.

The review considered all parts of the investigation and adjudication processes, to include the
underlying OPS investigation and OPS findings, Civilian Police Review Board hearings, findings
and recommendations, along with the rationale and disciplinary decisions made during
adjudication of cases by the Chief and the Director of Public Safety.

The review specifically evaluated to what extent:
   • “OPS investigations of complaints were as thorough as necessary to reach reliable and
       complete findings that are supported by the preponderance of evidence” as required by
       paragraph 218 of the Consent Decree;
   • “CPRB’s recommended dispositions [were] based on a preponderance of the evidence”
       with the “CPRB set[ting] forth its conclusion and an explanation for its reasons and
       supporting evidence in writing, including, when applicable, the justification for departing
       from OPS’s recommended discipline,” as required by paragraph 237 of the Consent
       Decree; and,
   • The Chief and the Director of Public Safety were compliant with the requirements of
       paragraphs 240 through 243 of the Consent Decree (relating to Disciplinary Hearings) and
       paragraphs 245 and 247 of the Consent Decree (relating to Discipline).

       2.      Background of OPS Compliance Issues

The DOJ’s 2014 findings

On December 4, 2014, the U.S. Department of Justice’s Civil Rights Division and the United States
Attorney’s Office for the Northern District of Ohio (DOJ) issued a report detailing their findings
from a civil rights investigation into the Cleveland Division of Police. Amongst those findings, the

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DOJ detailed numerous deficiencies in carrying out the OPS’ mandate to adequately investigate
civilian complaints of officer misconduct.

The DOJ found that OPS and CDP investigations of civilian complaints were “neither timely nor
thorough, that civilians face a variety of barriers to completing the complaint process, and that the
system as a whole lacks transparency.” Ultimately, the DOJ found that as a result of the
deficiencies, “CDP falls woefully short of meeting its obligation to ensure officer accountability
and promote community trust.”3

The DOJ noted that the problems it identified were not new. At the conclusion of a prior civil
rights investigation in 2004, the DOJ had concluded that:
    1) “OPS was understaffed;
    2) Investigators were not provided with the guidance and resources to do their jobs
        effectively;
    3) Investigations were untimely;
    4) Civilians’ access to the complaint process was limited; and,
    5) Some complaints that should have been investigated were not.”4

By 2014, the DOJ found that “these problems remain, and in some cases, have worsened.” The
DOJ identified:
   1) “Impossibly high caseloads for investigators,
   2) The inappropriate and premature rejection of civilians’ complaints,
   3) Substandard investigations,
   4) Significant delays in completing investigations,
   5) The failure to document and track outcomes, and
   6) A troubling pattern of OPS inappropriately rejecting complaints that may have warranted
      an investigation.”5

The DOJ report identified “staggering [OPS] caseloads [that] make it impossible to taken even
some basic investigative steps such as seeking out witnesses or visiting the scene of the alleged
misconduct.” The DOJ “saw many complaints that took more than a year to resolve” and “[f]or
dozens of complaints” the DOJ saw “no record they were ever resolved.”6

The DOJ further identified a litany of investigative failures, to include:
   • Investigations that consistently lacked basic follow up, such as going to the scene and
      seeking out witnesses;”


3
  DOJ Investigation report, at p. 38.
4
  Id., at p. 39.
5
  Id.
6
  Id., at p. 40.

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     •   Complaints involving allegations of serious misconduct where investigations consisted
         solely of officer statements, the complainant’s signed form and recorded interview, and
         little, if any, additional documentation;” and,
     •   A systemic failure on the part of the OPS to “interview [] involved officer[s] unless the
         officer requests an oral interview in lieu of a written response.7

The DOJ also found deficiencies in the work of the CPRB, tasked with reviewing OPS
investigations and making findings on those complaints. The DOJ found that “[t]he Board’s review
of these investigations [was] [] inadequate.” The DOJ noted that Board files “frequently lack[ed]
final dispositions and, when dispositions are included, there is no evidence of the Board’s rationale
supporting its decisions.” The DOJ also noted that when CPRB findings were overturned by the
Chief, there was no notice provided to the complainants.8

Overall, the DOJ found that the “CDP’s civilian complaint system, as a whole is disorganized and
ineffective … with no systems in place to track the performance of OPS and the Police Review
Board.”9

The Monitoring Team’s Early Observations:

Up until a change of leadership at the OPS in 2018, the Monitoring Team’s reports regarding the
state of the OPS-CPRB program were dire.

     •   In the Monitoring Team’s first three Semiannual reports we noted serious failures and
         found the OPS’s situation unacceptable. In June 2017, we found OPS to be non-compliant
         with 50% of its Consent Decree Requirements.10
     •   In our Fourth Semiannual Report (January 2018), and in reference to the above-noted
         comments from the Third Semiannual Report, the Monitoring Team reported having
         “remained frustrated by OPS’s lack of progress – as well as the increasing likelihood that
         the systemic failures of OPS in investigating, civilian complaints in a fair, thorough,
         objective, and timely manner will serve as an anchor that will prevent timely, ultimate
         compliance with the Consent Decree. Put differently, the OPS-CPRB system is lagging far
         behind progress made in a number of other areas, which threatens to extend the duration of
         the reform process.” We did note, however, that new leadership at OPS provided the
         organization with an opportunity “to get on the right track.” However, we also commented


7
  Id.
8
  Id., at 41.
9
  Id., at 42.
10
   First Semiannual Report, pp. 7 & 47. Located at: First+Semiannual+Report--2016-06-02--FOR+RELEASE.pdf
(squarespace.com); Second Semiannual Report, pp. 7 & 8. Located at: Second+Semiannual+Report--2017-01-
10.pdf (squarespace.com); Third Semiannual Report, p. 48. Located at: Third+Semiannual+Report--FINAL--
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         that “systemic and long-standing problems that have festered over years still require
         significant time, energy, and resources to make OPS into a functioning and credible
         oversight agency.”11

      Beginning with our Fifth Semiannual Report (August 2018), the Monitoring Team identified
      a number of areas of improvement at the OPS, to include the completion of OPS and CPRB
      operations manuals, the creation of a Backlog Reduction Plan, the creation of specific
      milestones to guide the OPS in achieving Consent Decree compliance, the publication of an
      OPS annual report, and the creation of additional essential staffing positions within the
      organization. The Monitoring Team noted that while the lack of a permanent OPS
      Administrator had contributed to continuing struggles within the organization, a new
      Administrator began working at the OPS, effective June 4, 2018.12

      By the time of the publication of the Sixth Semiannual Report (March 2019), we reported
      having seen “improvements in the quality of OPS investigative practices; however, we still
      noted that “OPS still need[ed] to make additional progress to address some fundamental
      investigative deficiencies.”13 In our Seventh Semiannual Report (September 2019), we
      reported concerns that “in some cases, [an OPS] desire for the timely completion of case
      investigations might have negatively impacted the quality of work in some instances.” We
      reported that we had “been providing continuing feedback to the OPS administration in an
      effort to ensure that OPS ha[d] the capacity to appropriately balance the need for both timely
      and competent investigations.” We also reported on our continuing concerns regarding the
      apparent lack of timeliness in the final ultimate adjudication of sustained findings
      recommended by the CPRB on OPS investigations.14

      In July 2020, our Eighth Semiannual Report announced our intent to conduct a comprehensive
      assessment of OPS case investigations and the CPRB review process, using both quantitative
      and qualitative methodologies.15

         3.      Assessment Findings

      To achieve compliance with the Consent Decree, OPS investigations must be both competent
      (e.g., thorough and fair) and timely. Unless and until the OPS is able to achieve both of these
      objectives, full and effective compliance with the Consent Decree will not be reached. In



11
   Fourth Semiannual Report, p. 59. Located at: Fourth+Semiannual+Report-FILED.pdf (squarespace.com).
12
   Fifth Semi-Annual Report, pp. 82-89. Located at: FINAL+FOR+FILING.pdf (squarespace.com).
13
   Sixth Semi-Annual Report, p. 48. Located at: Sixth+Semiannual+Report--FINAL.pdf (squarespace.com).
14
   Seventh Semi-Annual Report, pp. 47 & 50. Located at: Seventh+Semiannual+Report+-+FILED.pdf
(squarespace.com).
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   Eighth Semi-Annual Report, p. 47. Located at: FILE_9341.pdf (squarespace.com)

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  addition, the entirety of the complaint adjudication process must be reliable in that it results in
  the timely imposition of fair and reasonable discipline.

  The following findings and observations were made in this initial assessment regarding
  Competency:

      •   Overall, there have been dramatic improvements in the quality of the work of
          OPS. The OPS administration should be lauded for taking a program that was
          clearly broken and ineffectual and making it into a program that can be the
          subject of legitimate evaluation with specified areas of improvement. There are
          still, however, important compliance issues that need to be addressed.
      •   There have also been striking improvements in the CPRB adjudication process
          for handling community-initiated complaints (to include timeliness of review by
          the OPS administration, setting cases for review by the CPRB and forwarding
          sustained finding recommendations to the Chief). In addition, there has been
          excellent follow-up by the CPRB in those cases where the Chief has departed from
          their recommendations - a remarkable change given that prior to the Consent
          Decree no process even existed for the CPRB to pursue appeals to the Director of
          Public Safety.
      •   There is a clear and continuing need for more training of OPS investigators to
          improve the quality of their interviews and a continuing need for formal
          evaluations of OPS investigators to ensure systemically fair and competent
          investigations.
      •   Although the timeliness of reviews by the OPS administration is excellent, OPS
          administrators sometimes appear to have prioritized timeliness over ensuring the
          quality of investigations.
      •   The OPS-CPRB must do more to adequately identify and systemically address
          training and policy issues (and areas where police services can be improved)
          outside of the traditional disciplinary process.
      •   Finally, there is a need for the OPS to ensure that all disposition letters sent to
          complainants provide sufficient information for them to understand not only the
          ultimate finding made by the Chief or the Director, but also the rationale provided
          by the Chief or Director behind that finding.

  The following findings and observations were made in this initial assessment regarding
  Timeliness:

  •   Improvements need to be made with respect to the timeliness of OPS investigations
      and additional resources are needed to eliminate a recent new backlog of case
      investigations.

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   •    With respect to the CDP and the Department of Public Safety, the amount of time it
        takes the CDP and the Department of Public Safety to impose discipline on sustained
        community-initiated complaints (approximately one year on average) is far in excess
        of what is required to be compliant with the Consent Decree.

        A.     Evaluation of Competency
Reviewers were asked to rate each OPS investigation according to the following definitions with
the following overall results:
 Excellent     The investigation complied with all Consent Decree requirements          1 case
               and the OPS manual, and investigators made reasonable attempts to
                                                                                        (4%)
               follow all leads and answer all material questions. The investigation
               was fair, thorough, objective, and timely.
 Very Good     The investigation complied with most Consent Decree requirements         2 cases
               and OPS protocols and investigators made reasonable attempts to
                                                                                        (8%)
               follow all leads and answer all material questions.
 Good          Although some aspects of the investigation could be improved, the        10 cases
               identified flaws did not appear to materially or unduly impact the
                                                                                        (43%)
               quality of the overall investigation. The resulting investigation
               provided sufficient information to evaluate the incident but could be
               improved.
 Fair          Several aspects of the investigation could be improved. Identified       5 cases
               flaws materially impacted the quality of the overall investigation,
                                                                                        (22%)
               and the resulting file provided insufficient information to evaluate
               the incident.
 Poor          All or nearly all aspects of the investigation could be improved. The    5 cases
               investigation failed to establish sufficient information to support an
               evidence-based evaluation of the incident due to investigative           (22%)
               deficiencies, material omissions, or other issues.

In order to achieve full and effective compliance on the quality of investigations, it would be
expected that all OPS investigations would fall within the Good to Excellent categories.
Unfortunately, OPS achieved this goal in only 55% of its cases. Although the quality of
investigations has improved greatly over the past two years, OPS still must make additional
improvements to achieve full and effective compliance. OPS must ensure that investigations of all
community complaints do not contain flaws that materially or unduly impact the quality of the
overall investigation and that those investigations systemically provide sufficient information to
evaluate the underlying incident and make reasonable findings.




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       B.      Specific Concerns Identified:
The most significant concerns identified by the reviewers can be classified as follows:
 1. Failure to identify, contact or interview   12 cases (52% of cases)
 all necessary third-party witnesses
 2. Failure to make training and/or policy      11 cases (48% of cases)
 recommendations
 3. Poor interview techniques                   9 cases (39% of cases)
 4. Failure to download/upload all relevant     8 cases (35% of cases)
 information/documentation in IA Pro
 5. Failure to investigate all potential        7 cases (30% of cases)
 allegations
 6. Disposition letter failed to explain        6 cases (26% of cases)
 rationale for the ultimate disciplinary
 decision
 7. Insufficient attempts to contact and        3 cases (13% of cases)
 interview complainant
 8. Poor or incomplete investigative report     3 cases (13% of cases)
 9. Aggressive presentation by OPS              1 case (4% of cases)
 investigator to CPRB
 10. Failure to record interviews               1 case (4% of cases)


1. Failure to contact and interview all necessary third-party witnesses (52% of cases)

In half of the cases reviewed, OPS investigators failed to attempt to contact and interview relevant
third-party witnesses. It is our concern that in its attempt to improve timeliness, the OPS
Administration (and the CPRB) have been approving case investigations and making findings on
cases that have not been fully investigated. This is a crucial issue that must be resolved by the OPS
and CPRB in order to achieve a finding of “full and effective compliance” with the requirements
of the Consent Decree.
Comments by reviewers in these cases include:

   •   “The investigation would have been far more reliable had the second caller (who called
       911 under similar circumstances as the complainant) been identified and interviewed.”
   •   “There was a failure to attempt to locate or interview third-party witness; resulting in a
       finding of ‘insufficient evidence’ on a harassment allegation.”



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    •   “Additional witnesses were not identified or interviewed, despite at least two people who
        gave names when calling that night. No attempt was made to canvass the area where
        incident occurred.”
    •   “There did not appear to be any effort to interview the manager of the establishment who
        was present on the night in question.”
    •   “There was no attempt to contact and interview a 2nd social worker who witnessed much
        of the initial incident. Also, there was no record of an interview with a third witness whose
        name was provided by the 1st social worker.”
    •   “OPS never interviewed the dispatch supervisor who had reviewed the recording of the call
        in question and opined on its quality.”
    •   “Relevant testimony was not sought from the officer regarding the potential presence of a
        second officer at the scene. Nor was the officer asked about his WCS footage. This
        oversight led to important evidence not being gathered during the investigation.”
    •   “Additional witnesses would have helped. There was no evidence the OPS investigator
        attempted to obtain any witness information and he ultimately only interviewed the
        complainant and the subject officer.”
    •   “OPS never interviewed the complainant’s girlfriend who made the initial 9-1-1 call. Her
        comments to a witness officer as heard on WCS were critical to the case.”

2. Failure to make training and/or policy recommendations (48% of cases):

One of the most important tasks for civilian oversight of law enforcement, as it reviews and
monitors police conduct, is the identification of policy and training deficiencies that can be used
as “lessons learned” to reduce the risk of future police misconduct.

In this area, the Monitoring Team was unable to locate documentation where policy and training
issues were, or should have been, identified and passed along to the Department of Public Safety
and the CDP for action. As noted by the reviewers:

    •   “This matter could (and arguably should) have been addressed as a training matter with the
        subject officer, as opposed to a matter of misconduct.”
    •   “The core issues of the case related to policy and training versus intentional misconduct or
        malfeasance. There [was] no indication OPS interviewed personnel from the training
        section, nor was there a discussion as to whether the subject officer was recently trained in
        search and seizure law. Also, there was no indication that this issue was referred to the
        Training Section for CDP wide training on search and seizure.”
    •   “The OPS could have used this as “a good opportunity to [recommend] general training to
        all members (lessons learned relating to expectations regarding the use of social media),
        but there was no evidence this was done.”


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The Monitoring Team recommends that the OPS and CPRB create a more formal process, to
include a section in all OPS investigative reports to identify policy and training issues and to
forward those concerns to the CDP and the Department of Safety. The OPS should then track those
recommendations and publicly report on any actions taken (or declined to be taken) by the
Division.

3. Poor interview techniques (39% of cases):

The issue of failing to conduct thorough and objective interviews of witnesses has plagued the
OPS since the time of the first DOJ investigation. The OPS Administration has explained to the
Monitoring Team that they have not been provided with the resources to sit in on or personally
review recordings of the vast majority of interviews conducted by OPS staff. As such, they
expressed a strong interest in hearing our findings on this issue. The OPS Administrator has also
reported that extensive in-house training has been provided to the investigative staff on how to
conduct interviews.
Unfortunately, the training provided to OPS does not appear to have been adequate to achieve
Consent Decree compliance. As noted by our reviewers:

      •   “The OPS investigator seemed somewhat inexperienced in asking interview questions of
          the subject officers and failed to ask deeply probative questions.”
      •   “The witness interviews relied too heavily on closed questions. Potentially limiting the
          range of responses from the witness, and potentially contaminating the witnesses’
          responses.”
      •   “The interview of the subject officer was aggressive and confrontational, bordering on an
          interrogation and was not an advantageous style of interview for this case.” In a second
          case, it was noted that “the interview of the subject officer was closer to an interrogation
          than an interview and bordered at times on hostile and aggressive.”16
      •   “The investigator spent a lot of time reciting relevant GPO language to the officer and
          prefacing his questions with lengthy recounting of his interpretation of the law and relevant
          facts. In some ways, it could have bordered on argumentative but it was a one-sided
          argument.”
      •   “The investigator could not control the interview, the complainant was ranting throughout
          and it was evident that the investigator just wanted to end the call, resulting in the
          investigator failing to ask important follow-up questions.”

In the only case reviewed involving a complainant who had limited English speaking proficiency,
the reviewer commented that “it was unclear from the recording or the electronic file whether the

16
  It must be noted, however, that the Monitoring Team has identified significant improvements in this area. In the
past, overly aggressive interviewing techniques were common amongst certain OPS investigators; at the current
time, this type of conduct appears to be more of an aberration than a continuing course of conduct.

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investigator established that the complainant was proficient in English for the interview to be
conducted without an interpreter. The investigator also asked a few unnecessary leading questions
but this may have been due to the discomfort caused by some of the communication difficulties.”17

The OPS Administrator has informed the Monitoring Team that a number of the issues identified
in this assessment were previously identified by OPS Administration and have already been
addressed with OPS staff. OPS Administration was specifically aware that a few of its investigators
had occasionally engaged in overly aggressive interview techniques and that these investigators
had already been counselled about their performance.

The new OPS Administrator will need to review OPS training that has previously been provided
in this area and determine to what extent additional training will be needed to ensure compliance.
As previously suggested by the Monitoring Team, it appears that ongoing monitoring or reviews
of interviews in support of a formal performance review process will be required for the OPS to
achieve full and effective compliance in this area.

4. Failure to download/upload all relevant information/documentation in IA Pro (35% of cases):
The importance of documenting all aspects of investigations cannot be overstated. The old axiom
of “if it’s not documented, it didn’t happen” must be applied to the OPS when it conducts its
investigations and uploads information into its Management Information System. In addition,
without full documentation, reviewing bodies such as the Monitoring Team or the Inspector
General are unable to effectively evaluate the progress of the OPS and CPRB as to Consent Decree
compliance and overall competence.
In a full one-third of the cases reviewed, there was information missing from IA Pro. In these
cases, we found examples of the following: no documentation of investigative plans, missing
recordings of interviews, missing correspondence from the Chief’s Office, and lack of
documentation as to notice provided to complainants and officers. In one case, there was no
documentation of when a case was returned to OPS from CDP Internal Affairs. Finally, the
Monitoring Team was unable to find any documentation of CPRB decision-making with respect
to agreements or disagreements with the Chief and the Director of Public Safety regarding their
departures from recommendations made by the CPRB.18




17
   It should be noted that Under Title VI (and the Safe Streets Act), the City is required to provide Limited English
Proficient individuals with meaningful access to their programs and services. Providing "meaningful access" will
generally involve some combination of services for oral interpretation and written translation of vital documents.
See, (Civil Rights | Limited English Proficient (LEP) | Office of Justice Programs (ojp.gov)).
18
   The only way the Monitoring Team was able to identify the CPRB conclusions in this regard involved a labor-
intensive process of accessing and then listening to CPRB meetings conducted after the Chief sent notice of his
departure to the OPS and CPRB.

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5. Failure to investigate all potential allegations (26% of cases):

Another important component of the community complaint adjudication process is the need for
the investigative and reviewing bodies to identify and fully investigate all significant allegations
of misconduct. In 30% of the cases reviewed, however, we noted failures on the part of the OPS
and the CPRB to identify areas where serious misconduct may have occurred and to fully
investigate those acts or omissions.

In one case, the OPS failed to allege or investigate a “Failure to Supervise” allegation brought up
by the complainant. In an additional three cases, the OPS failed to initiate false statement
allegations against subject officers who made statements during the course of the OPS
investigation that appeared to have been (or had the potential to be) provably false. In yet another
case, the reviewer noted that the OPS failed to look into the complainant’s allegation that an officer
failed to submit a complete report on an incident, instead focusing on the allegation that the officer
failed to cite the driver of the vehicle that collided with the complainant.

Ultimately, the responsibility for ensuring that all potential instances of officer misconduct are
fully investigated and adjudicated falls on every stakeholder in the adjudication process, starting
with the OPS investigator, and including the OPS Administration, the CPRB and the Chief and/or
Director of Public Safety. In none of these cases was there any intervention on the part of any of
these stakeholders.

The failure to fully identify and investigate all potential allegations should be a rare occurrence.
The various stakeholders in the community complaint adjudication process will need to be more
attuned to this issue, and act accordingly, before Consent Decree compliance can be achieved.


6. Failure of disposition letters to explain the rationale for ultimate disciplinary decision (26% of
cases):

It is important for an oversight agency to be transparent and provide civilian complainants with
explanations of rationales for decision-making. This is particularly important when complaints are
not sustained. The CPRB manual has specific provisions in that regard. Specifically, in cases where
the Chief or the Director of Public Safety has decided to depart from the Board’s adjudication
and/or recommended discipline and the Board has decided not to appeal or formally disagree with
that decision, pursuant to CPRB Policy Manual Section L.3, the OPS is required to provide notice
to the complainant to “include the Board’s reasoning for not reconsidering the Chief’s
determination.” In addition, that same Manual Section requires that “[i]n all cases adjudicated by
the Board,” the OPS shall “provide a timely written explanation to the complainant and the subject
employee(s) outlining the reasoning behind the Board’s decision to issue findings of “insufficient
evidence,” “unfounded” or “exonerated.” (Emphasis added).

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In a number of cases, however, the current processes used by the OPS and the CDP do not appear
to provide complainants with the information they would need to understand the rationale behind
the decisions made by the Division, the Director or, sometimes, the CPRB.

In one case, the reviewer noted that “OPS’ final disposition letter to the complainant did not
provide any notice of Chief’s departure from PRB recommendations or the history of decision-
making. It only stated that PRB sustained and the Chief issued a written reprimand.” In another
case, it was noted that although the OPS disposition letter to the complainant did outline the course
of events, it did not explicitly state whether or not the CPRB publicly challenged the decision-
making of the Public Safety Director. In yet another case, there was no indication of any letter to
the complainant advising her of a dismissal by the Chief - instead, the last letter sent by the OPS
only advised her of sustained findings having been recommended by the CPRB.

Just as important as advising complainants of why the CPRB declined to sustain an allegation, is
the need to be transparent as to the ultimate findings when the Chief or the Director do not follow
CPRB recommendations as to findings and/or discipline. In all but one case, the Chief provided
rationale for his departures19 and there is no apparent reason why the OPS did not pass along that
rationale to the complainant in all cases.
7. Insufficient efforts to contact and interview complainant (13% of cases):
The OPS Manual is very clear on what is required regarding OPS investigators’ efforts to contact
complainants. Section 403 of the Manual provides specific detail for procedures for contacting
and/or interviewing complainants. This Manual Section was created specifically to deal with a
prior history where the OPS systemically failed to take appropriate efforts to contact and interview
complainants. The Manual includes a requirement that OPS investigators go to the complainant’s
last known address “after three unsuccessful attempts to contact the complainant.”
In two different cases reviewed, however, the complainant was not located or interviewed and
there was no documentation of any OPS investigator attempt to visit the complainant’s last known
address. In a third case, even though the first OPS investigator promised a complainant a
subsequent “full blown” interview, a second investigator failed to follow through on that promise.
8. Poor or incomplete investigative reports (13% of cases)
In the past, the Monitoring Team observed systemically poor report writing on the part of OPS
investigators. This no longer appears to be a systemic issue. However, in one of the cases reviewed,
it was noted that the “overall report was a cliff notes type report more than a comprehensive
investigative report.” In another case, it was reported that although the interview of the
complainant was conducted in a “very respectful and compassionate way,” and the interview was


19
  In one case, the Chief’s explanation was purely conclusory. There was no documentation, however, of any attempt
by the OPS or the PRB to obtain a more robust rationale from the Chief.

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“thorough and produced very detailed information,” the OPS investigative report did not include
some critical information from the interview. In a third case, it was reported that the investigative
report contained no documentation about why witnesses were unable to be identified.

9. Singular Case Issues:
In singular cases, issues of concern were identified by reviewers that warrant comment herein:
A. Aggressive presentation by OPS investigator to Board or at pre-disciplinary hearing
In the past, the Monitoring Team noted overaggressive presentations to the CPRB or at pre-
disciplinary hearings. In all but one case that was reviewed, such behavior no longer appears to
occur. However, in one notable case, the OPS investigator was noted to have been “over-zealous
and even interrupted Board members during their deliberations.” The Monitoring Team
understands that OPS Administration has been cognizant of this issue and addresses it as necessary
with OPS staff. The Monitoring Team believes that the new OPS administration will need to
address any future issues in this regard, to include overly aggressive interview techniques, on a
more formal basis, through a formal performance review process.
B. Failure to record interviews
In the past, OPS investigators, more often than not, failed to record their interviews. This appears
to be no longer the case. However, in one case, it was noted that although the OPS investigator
appropriately conducted “non-evidentiary interviews” with CDP personnel for technical advice,
the investigator failed to record the interviews.


10. Additional Issue of Concern: Video recordings of subject officers:
Finally, in two cases, the reviewer noted the poor quality of WCS video recordings of OPS
interviews with subject officers which highlighted a continuing need for more adequate video
recording technology to be provided in the OPS interview room.
In addition, in one instance, the subject officer video interview shut off at a midway point without
explanation or documentation thereof.


        C.     Evaluation of Timeliness
1. Full Adjudication of OPS Cases:

As previously stated, even if an OPS investigation is thorough, fair and professional, if the
investigation or the adjudication of a complaint is not timely, the community and the police are
not well served. Untimely investigations undercut the efficacy of any police accountability
systems. In addition, such delays also lead to procedural injustice for both the community and the


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involved officers. Of the 23 cases that were assessed, the Monitoring Team noted that only one
case was fully adjudicated in a timely fashion. (That case was adjudicated in 152 days
(approximately 5 months from the time the complaint was received by OPS until the time a
disciplinary decision was made)).

The overall time for the full adjudication of OPS-PRB cases was on average, approximately one
year from the date the complaint was received by OPS. (Average time was 361.2 days, with a
median of 363 days). The case that took the longest amount of time to resolve, took 567 days
(approximately 19 months). That case ultimately included a CPRB appeal of the Chief’s departure
from their disciplinary recommendation.

Th stages of adjudicating a complaint, include:


       • Completion of OPS investigation
  1

       • Completion of CPRB hearings & findings
  2

       • Completion of findings letter to CDP
  3

       • Charging letter from CDP
  4

       • Pre-disciplinary hearing
  5

       • Chief's findings
  6
       • (If Chief departs from CPRB findings) Review of Chief's findings by CPRB and
  7      appeal decision
       • (If CPRB decides to appeal) Hearing conducted by Director of Public Safety
  8

       • Disciplinary decision by Director of Public Safety
  9


Each stage takes time and is an integral part of the overall process of attempting to ensure officers
and complainants receive fair treatment and due process. However, as the Monitoring Team has
repeatedly noted, and as this review has established, it is impossible to ensure the overall timely




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adjudication of complaints (as envisioned by the Consent Decree),20 without creating and
monitoring timeliness goals for each and every stage of the process.21

The Monitoring Team has concluded that Consent Decree compliance will not be possible in this
important area of police accountability until the City establishes such timeliness goals and ensures
all stakeholders work towards achieving each and every goal.

2.        Timeliness of Various Stages of OPS Adjudication Process:

Stage 1: OPS Investigation Timeliness.

With respect to the first stage of the investigation/adjudication process, Consent Decree paragraph
216 requires that “[i]nvestigation of complaints assigned to the standard track will be completed
within 45 days” and “[i]nvestigation of complaints assigned to the complex track will be completed
within 90 days during the first 6 months following the Effective Date and within 75 days
thereafter.”

Only 52% (n=12) of the cases reviewed were completed within the required 90-day period. Of
those cases completed within 90 days, the average time of completion was 38 days (median
between 38 and 47 days). Of those cases not completed within 90 days, the average time of
completion was 205 days (217 days median).

The time for completion of investigations ranged from 11 days to 377 days. Two cases took over
one year (366 & 377 days), but seven cases (30%) took more than 6 months to complete.

Current issues with timeliness of OPS investigations:

Unfortunately, the number of open cases at the OPS has been trending upwards over the course of
2021. This trend appears to be based, in large part, on an increase in the number of OPS complaints
currently being received. The number of OPS complaints received in the first 9 months of each
year hit a low of 151 in 2018. As of September 28, 2021, however, the number of complaints
received was reported by the OPS to be 237, an increase of 57% over the last three years



20
   See paragraph 177 requiring CDP Internal Affairs to conduct “objective, comprehensive, and timely
investigations of all internal allegations of officer misconduct;” paragraph 194 requiring the City to hire an OPS
administrator with the ability to manage, amongst other things the “timely, and objective investigation of
complaints;” paragraph 253 requiring the Inspector General to “analyze investigations conducted by OPS to
determine whether they are timely, complete, [and] thorough…”; and, paragraph 320, requiring the City to create a
police staffing plan that will ensure, among other things, “a sufficient number of well-trained staff and resources to
conduct timely misconduct investigations.”
21
   With the passage of Issue 24, it appears that additional stages to the disciplinary process may need to be added; as
such, this issue may be of increasing importance in the upcoming future.

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As a result, over the course of 2021, the number of pending investigations overall has significantly
increased. This has led to an increase in the average OPS investigator’s caseload. At the beginning
of 2021, the OPS reported a total of 169 active investigations, assigned amongst a total of nine
investigators, showing an average caseload of 18.7 cases per investigator. As of the end of October
2021, the OPS reported a total of 237 active case investigations amongst eleven investigators,
resulting in an increase in average caseload from 18.7 to 21.5, even with the addition of two new
investigators.22

In addition, as of the end of October 2021, the OPS reported having a total of 52 case investigations
that are over one year old and not yet completed. This is a dramatic increase over the number of
year-old case investigations reported at the beginning of 2021 wherein the OPS reported a total of
18 cases that were over a year old and still pending the completion of an OPS investigation.

The City must act quickly and provide additional resources to the OPS in order to attend to this
significant increase in workload. Only in this way will the City be able to eliminate this
unacceptable workload that will negatively impact the OPS’ ability to achieve full and effective
compliance with the Consent Decree.

Stage 2: Assignment of Cases to CPRB / Completion of CPRB hearing.

With respect to the reviewed cases, it took the OPS-CPRB, on average, almost two months (57.5
days average; median = 49 days), from the time an investigation was completed to the time that
the CPRB adjudicated the case. It does appear that a large part of any delays in this stage of the
process can be attributed to the CPRB meeting only once a month.23

In sixteen (70%) of the cases, the CPRB was able to hear the case within a two-month period. In
seven cases, however, it took between 75 and 141 days for the CPRB to adjudicate an OPS
investigation (average of 101 days; median of 82 days).

Prior to our next evaluation, the City, the OPS and the CPRB should further examine this issue to
determine to what extent case adjudication times can be shortened. In a best-case scenario, all


22
   One case was assigned to the Supervising Investigator, reducing the caseload from 237 to 236 cases, split amongst
eleven investigators. One temporary investigator was added onto the OPS Bi-weekly report as of June 22, 2021; a
second temporary investigator was added onto the OPS Bi-weekly report as of July 6, 2021. The caseloads for these
new investigators started small, with each investigator only being assigned one case each and then increased over
time with each new investigator being assigned 8 to 9 cases as of the end of October, 2021. As of the end of
October, neither of the new investigators were carrying a full caseload, resulting in the permanent investigators
carrying an actual average caseload of 24.4 cases each.
23
   The issue of how often the CPRB should meet was the subject of significant discussion in the early stages of
Consent Decree implementation (2017-2018). CPRB workload is substantial and meeting more than once a month
was considered to be too great a burden on the CPRB membership, who receive only small stipends from the city for
their work.

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community complaints should be able to be adjudicated by the CPRB within 30-45 days of the
completion of an OPS investigation.

Stage 3: Preparation of Findings Letters to Chief.

OPS Manual Section 802 requires the OPS Administrator to prepare a letter to the complainant,
explaining CPRB findings within 15 days of a CPRB meeting (and “promptly direct that a findings
letter be delivered to the Chief of Police requesting that a charging document be issued”). For the
23 cases reviewed, the longest it took the Administrator to send such a letter was 24 days (on four
occasions) and the average number of days to send a findings letter was 17 days (median = 17
days). Although OPS was generally compliant with this OPS Manual requirement, the 15-day
requirement was not met in a majority of the cases.

Stage 4: Preparation of Charge Letters.

In prior public reports, the Monitoring Team has identified a lack of timeliness in the scheduling
of OPS case-related pre-disciplinary hearings by the Chief of Police to be an issue of significant
concern (although we have noted that some of those delays were the result of the COVID-19
pandemic, which resulted in the inability of the Division to conduct any pre-disciplinary hearings
from March through May, 2020).24 Over the past few reporting periods, the Chief’s Office
increased staffing to the “Case Prep Unit” to address the Division’s need to handle discipline in a
more timely and effective manner. In fact, immediately prior to conducting this assessment, the
Monitoring Team updated the population of cases to be reviewed to allow this assessment to
evaluate impact of the increase in the Case Prep Unit’s staffing.

Out of 24 charge letters created25 – it took the Division 78 days, on average [median between 58
and 66 days], to produce a letter to the subject officer(s) advising them of the charges against them.
This stage of the disciplinary process should take no longer than 30 days, except in unusual
circumstances (such as where an OPS case needs to be combined with other pending internal
allegations).




24
   See, Third Semiannual Report, at p. 48 [discussing OPS failure to refer cases to Chief’s Office]; Seventh
Semiannual Report, at p. 50 [regarding the reported inability of the CDP to schedule timely OPS pre-disciplinary
hearings]; Eighth Semiannual Report, at p. 49 [recommending that the CDP establish timeliness goals for the
completion of Chief’s Hearings; and, Ninth Semiannual Report, at p. 93 [noting challenges posed by COVID-19
pandemic on timeliness of Chief’s Hearings].
25
   Due to a number of factors, not every case involved the issuance of a charge letter and some cases involved the
creation of more than one charge letter.

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Stage 5: Completion of pre-disciplinary hearing.

On average, it took the Division 22 days to conduct pre-disciplinary hearings from the date of the
charge letter (median = 21 days].

As such, this was the one stage of the adjudication process where it appears that timeliness has
been achieved.

Stage 6: Chief’s Findings.

This part of the adjudication process involves the amount of time that the Chief took to decide and
impose discipline after completing a pre-disciplinary hearing.

The population included twenty-five (25) individual disciplinary decisions made by the Chief.26
The average amount of time it took the Chief to issue discipline was thirty-nine (39) days from the
date of the pre-disciplinary hearing (with a median of 36 days). The Chief issued eleven (11)
decisions in less than 30 days (46%), and a total of 22 decisions in 60 days or less (92%). In one
case, however, involving a letter of reprimand, without a pre-disciplinary hearing, it took the Chief
on hundred and fifteen (115) days to issue his decision.

Although the Monitoring Team has witnessed impressive improvements in timeliness in this area,
more needs to be done. In order to ensure procedural justice for both the community and the
involved officers, except in the most exceptional cases, it should take the Chief no longer than 30
days to issue discipline and that, in most cases, discipline should be imposed within 15 days of a
pre-disciplinary hearing.

Stage 7: CPRB reviews cases involving departures from the Chief of CPRB recommendations.

The Monitoring Team found that the OPS-CPRB has created a robust process by which the CPRB
considers departures by the Chief from its disciplinary recommendations at the next available
hearing. This is an excellent process improvement given that, in the past, there was no record of
the CPRB even considering appealing a departure by the Chief to the Director of Public Safety.

Stage 8: [If CPRB decides to appeal] – hearing conducted by Director of Public Safety, and,
Stage 9: Disciplinary Decision by Director of Public Safety.

Only four of the cases reviewed involved instances where the Chief departed from CPRB
disciplinary recommendations and the CPRB chose to appeal the Chief’s decision to the Director

26
   In some cases, the Chief issued more than one disciplinary decision, in other cases, the Director of Public Safety
issued a disciplinary decision instead of the Chief.

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of Public Safety. In the first case, it took 165 days for the Director to resolve the case (taking 101
days for a hearing to be scheduled and an additional 64 days for the Director to make a disciplinary
decision). In subsequent cases, the Director laudably put into place a process where hearings could
be conducted within three days of a CPRB decision to appeal.

Even so, in the next two cases decided by the Director, it took him 76 and 97 days to make his
decision. And while there was a significant improvement in the amount of time the Director took
to make his decision in the final case we reviewed (35 days), improvements in the amount of time
it takes to issue these decisions would positively impact on the overall timeline for complaint
adjudication.




21 | P a g e
Case: 1:15-cv-01046-SO Doc #: 440-1 Filed: 09/22/22 108 of 144. PageID #: 9820




                           APPENDIX C
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                                IN THE UNITED STATES DISTRICT COURT
                                 FOR THE NORTHERN DISTRICT OF OHIO
                                          EASTERN DIVISION




UNITED STATES OF AMERICA,                       )   CASE NO.: 1:15-CV-01046
                                                )
                   Plaintiff,                   )
                                                )   JUDGE SOLOMON OLIVER, JR.
           vs.                                  )
                                                )   NOTICE SUBMITTING MONITORING
CITY OF CLEVELAND                               )   TEAM USE OF FORCE REVIEW
                                                )   MEMORANDUM
                   Defendant.                   )
                                                )
                                                )


The Monitoring Team respectfully submits its Use of Force Review of Cleveland Division of

Police (“CDP” or “the Division”) pursuant to paragraph 45 of the Consent Decree.1 The

Monitoring Team recently completed an assessment of a sample of use of force cases from 2018

and 2019. These cases were reviewed by the chain of command and closed by June 2020. The

attached memorandum summarizes the process and the findings of the Monitoring Team’s (MT)

review of this selected sample of use of force cases and reviews. (Exhibit A) The review period

commenced in October 2020 and ran through the spring of 2021. The Monitoring Team presented

findings in two meetings to the City: one in February 2021 and one in May 2021. Additional

reviews will take place in 2022 to assess compliance.




1
    Dkt. 413-1, Ex. A ¶45; Dkt. 416.
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                                          Respectfully submitted,



                                          /s/ Hassan Aden

                                          HASSAN ADEN
                                          Monitor
                                          The Aden Group LLC
                                          8022 Fairfax Road
                                          Alexandria, VA 22308
                                          Tel: (571) 274-7821
                                          Email: aden@theadengroup.com




                                      2
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                               CERTIFICATE OF SERVICE

       I hereby certify that on March 28, 2022, I served the foregoing document entitled Notice

Submitting Monitoring Team Use of Force Review Memorandum via the court’s ECF system

to all counsel of record.




                                                  /s/ Ayesha Hardaway
                                                  AYESHA HARDAWAY




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                                        MEMORANDUM

DATE:          MARCH 22, 2022

TO:            MARK GRIFFIN, LAW DIRECTOR
               KARRIE HOWARD, DIRECTOR OF PUBLIC SAFETY
               DORNAT DRUMMOND, INTERIM POLICE CHIEF
               JOELLEN O’NEILL, DEPUTY POLICE CHIEF
               DANIEL FAY, DEPUTY POLICE CHIEF
               TIMOTHY MYGATT, DEPUTY CHIEF, CRT
               JONAS GEISSLER, CRT
               ACRIVI COROMELAS, CRT
               STEVEN J. PAFFILAS, CIVIL DIVISION CHIEF, AUSA
               MICHELLE HEYER, AUSA
               SARA DECARO, AUSA
               MICHAEL EVANOVICH, AUSA

FROM:          HASSAN ADEN, MONITOR

RE:            MONITOR’S 2020-2021 USE OF FORCE REVIEW

Pursuant to the responsibility to ensure that the intent of the reforms detailed in Section VI of the
Consent Decree are met by the Cleveland Division of Police (CDP), the Monitoring Team (MT)
designed and performed a review of use of force incidents. The Consent Decree requires:

        The force policies, training, supervision, and accountability systems will be designed
        with the goal of ensuring that officers use techniques other than force to effect
        compliance with police orders whenever feasible; use force only when necessary, and in a
        manner that avoids unnecessary injury to officers and civilians; de-escalate the use of
        force at the earliest possible moment; and accurately and completely report all uses of
        force. (¶ 45)

This memo summarizes the process and the findings of the MT’s review. The review period
commenced in October 2020 and ran through the spring of 2021. The MT presented findings to
the City during two meetings: one in February 2021 and one in May 2021. Additional reviews
will take place in 2022 to test for compliance.

Methodology

To determine if CDP has been complying with the requirements of the Consent Decree and CDP
approved policies, the MT assessed a sample of use of force cases and reviews. The MT created,
tested, and refined a tool that was endorsed by the City and the United States Department of
Justice (DOJ). While the MT found that the tool and the process worked well, the process was
slow. Regrettably, the feedback to the City was delayed, and led the MT to redesign the process
for future reviews.
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Selection of Cases: The MT drew a representative sample of use of force incidents that occurred
between 2018 and 2019, were reviewed completely by the chain of command, and were closed
by early June 2020. Cases were broken out by the reported level of force used (Levels 1, 2, and
3) and cases were randomly selected from within the category. Level 1 refers to force that is
reasonably likely to cause only transient pain and/or disorientation, but not expected to cause
injury; un-holstering a weapon is also considered Level 1. Level 2 is force that causes an injury,
could reasonably be expected to cause an injury, or results in a complaint of an injury. Level 3 is
force that includes deadly force, and uses of force that result in death or serious physical harm.
(See CDP Policy 2.01.01 for the full definitions of each level of force).

The sample included 130 cases, with an oversample of non-firearm Level 1 cases. The MT’s
sampling frame reflected a 95% confidence interval, a 10% margin of error, and a response
distribution of 80%. Sample cases were extracted based on the agreed upon methodology
mentioned above.

       Sample Composition
                                                    # of
       Force Level          Population Sample*      Reviews
       Level 3              27         27           54
       Level 2              227        49           98
       Level 1 (all)^       421        54           54
       TOTAL                675        130          206

       *95% Confidence Interval, +/- 10% Margin of Error, 80% Response Distribution
       ^ Level 1 cases will be oversampled via random oversampling when the case numbers are
       sampled

Assignment of Cases: The cases were divided into six phases and assigned to MT members for
review. The MT believed initially that each phase would require one month to review and then
those findings would be presented to the City. In practice, the reviews took longer than expected
and the MT facilitated discussions on a select number of cases in May of 2021 for three phases
and November 2021 for the remaining cases.

To expedite the review and to allow for a larger sample, the MT’s methodology used a process
with a different number of reviewers based on the level of force of each case.

   •   Level 2s and 3s were reviewed by 2 reviewers
   •   Level 1s were reviewed by 1 reviewer


Review of Cases: CDP provided the reviewers access through laptops with VPN and IAPro
(accountability management software) access. Case files were deposited into the electronic file-
sharing system used by the Monitoring Team and CDP. This process protects personally
identifiable information in transit and at rest. CDP provided access to evidence.com to all
reviewers to access the Wearable Camera System footage. Reviewers used the approved tool in

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Alchemer, allowing reviewers to assess each of the cases in an electronic format to facilitate
analysis of the data. The data collected using the tool was saved to the cloud and individual
reviews may be downloaded as a PDF. A subset of the MT sample was also reviewed by experts
retained by the DOJ. The DOJ sub-sample was identified by its own experts, not by the MT.

The review of Level 1 cases (both non-firearms and pointing firearms cases) was limited to a
reduced set of assessment questions, focusing on necessity of the force, proportionality of the
force, reasonableness of the force, efforts to deescalate where appropriate, and overall quality of
the report and review. This expedited review allowed more cases to be reviewed and enhanced
the ability of the MT to determine if over/underreporting or misclassification of cases occurred.
The Monitoring Team planned, but did not find it necessary, to increase the number of reviews
of the Level 2 cases based on its review of the Level 1 cases.

The data from Alchemer was reviewed and cases where the MT reviewer disagreed with the
chain of command review on reasonableness, proportionality or necessity, as well as officers’
attempts/or failure to deescalate were flagged. The MT also flagged for further review any case
where the MT reviewers were not aligned. The MT held internal calls to reconcile any
differences within the team and to discuss cases where other concerns, relating to tactics,
supervision, or training issues were identified.

Findings

General Findings: Overall, on force in particular, the MT found that officers’ use of force is
generally within policy, the chain of command reviews are identifying and dealing appropriately
with problematic uses of force (by referring cases to Internal Affairs or Training), and
supervisors on scene are engaged with officers.

The MT’s review did highlight a few deficiencies by CDP officers in tactics and the ability to
deescalate, both of which at times created the need for force. Similarly concerning is the reality
that use of force reviews by the chain of command continue to take months to complete, which is
unfair to the officers involved and creates potential liability issues for the City. Policy 2.01.06
dictates that “each level in the chain of command shall review the [use of force] report within
three tours of duty"; conversely our reviews indicated that they could take as long as several
months. Understanding that Policy 2.01.06 went into effect in 2021 and the cases the monitoring
team subject matter experts reviewed were from 2018 and 2019, the purpose for noting the
delays in this document, serves to advise the City and the CDP that review timelines will be a
focus of our upcoming compliance reviews and assessments of use of force cases. Finally, the
Division needs to create processes and structures for lessons from the street – such as inadequate
de-escalation or problematic tactics – to be addressed in training. In the sample of cases
reviewed, there was no indication by the chain of command that the Training Section was
advised of the issues described here.

Specific Findings: In the May 2021 discussion, the MT identified only one case where there was
a difference of opinion in the review by the chain of command and the MT’s reviewers. There
were nine cases where the reviewers identified tactical issues that could have changed outcomes
(i.e., the level of force used, or the need to use force altogether) and as such should be reviewed,

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have lessons extracted from them, and be shared with training units. In the November 2021
discussion, the MT presented to CDP two cases of concern. One case with questionable force
was also poorly handled by the chain of command review. A second case involved an out of
policy use of force that resulted in the officer leaving the Division before the case was fully
adjudicated. The reviewers raised significant concerns that need to be addressed to change the
possibility of a similar fact pattern reoccurring. This case produced a number of important
lessons that should be extracted and shared with training and supervisory personnel.

Overall, the MT found that the cases in the sample were well reviewed, and street supervisors
were engaged and responding within policy mandates to use of force incidents. In the vast
majority of the cases assessed by the MT, the officers appropriately exercised force consistent
with policy. MT reviewers found officers and chain of command reviews correct in their
assessments of necessity, proportionality, objective reasonableness, and the officers’ ability and
efforts to de-escalate. For the most part, the chain of command review identified problem
behavior and the majority of the time, dealt with the problem behavior appropriately with
education or discipline.

In cases that the MT called out for discussion, the MT did so because officer tactics actually
created the necessity for force. In other cases, officers’ lack of effort to deescalate, or inability to
slow things down necessitated the use of force. A continuing concern of the MT is that CDP
seems to lack an effective monitoring system for tracking identified systemic issues. Some MT
members learned about a tracking system used at the Force Review Board (FRB) that tracks the
quality improvement loop for FRB recommendations. Perhaps this can be modified to include
recommendations that come from the chain of command for other use of force reviews, as most
use of force cases are not reviewed by the FRB. A true learning organization better connects the
observations and work to eliminate the problematic tactical decisions. Additionally, Paragraph
274 of the Consent Decree requires that the CDP training plan be informed by “trends in
misconduct complaints, problematic uses of force; analysis of officer safety issues…”; All
training issues should inform the needs assessment, and in turn, training issues should be
prioritized and inform the training plan.

Based on the MT’s review of the random sample, the Division seems to be using force in
accordance with its policy and expressed norms. Street supervisors are observed to be engaged
and appropriate. The chain of command review is mostly working to identify and address
problematic behavior. Based on data from IAPro and the monthly COMPSTAT, the review of
use of force cases continues to take longer than expected with some cases, even those not
referred to Internal Affairs, taking over 180 days. Finally, a number of problematic cases were
difficult to review due to the lack of camera images. This is often attributed to the fact that
officers working secondary employment are not required to use the Wearable Camera System.

Presently, the MT is transitioning to a rolling review process that will involve assessing a
representative sample of cases closed at the end of each quarter. A methodology for this revised
process is in development and has not yet been finalized. The MT will use the revised
methodology to formally assess CDP’s compliance with Section VI of the Consent Decree.




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                                 IN THE UNITED STATES DISTRICT COURT
                                  FOR THE NORTHERN DISTRICT OF OHIO
                                           EASTERN DIVISION




UNITED STATES OF AMERICA,                         )   CASE NO.: 1:15-CV-01046
                                                  )
                    Plaintiff,                    )
                                                  )   JUDGE SOLOMON OLIVER, JR.
           vs.                                    )
                                                  )   NOTICE SUBMITTING MONITORING
CITY OF CLEVELAND                                 )   TEAM ASSESSMENT OF CDP’s 148th
                                                  )   RECRUIT CLASS BACKGROUND
                    Defendant.                    )   CHECKS
                                                  )
                                                  )




           The Monitoring Team respectfully submits its Assessment of Cleveland Division of Police

(“CDP” or “the Division”) Background Checks for its 148th Recruit Class pursuant to paragraphs

308 – 310 of the Consent Decree. The Consent Decree requires the Division to “conduct thorough,

objective, and timely background investigations of candidates for sworn positions.”1 The Division

must assess “a candidate’s criminal history, employment history, use of controlled substances, and

ability to work with diverse communities.”2 This is in addition to the requirement that CDP will

continue to require all candidates for sworn personnel position, including new recruits and lateral




1
    Dkt. 413-1, Exhibit A at ¶309; Dkt. 416.
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    Id.
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hires, “to undergo a psychological and medical examination to determine their fitness for

employment.”3

           The Monitoring Teams previously submitted to the Court its findings related to the

Division’s background investigations for lateral hires.4 Since that time, and as a necessary follow-

up, the Monitoring Team audited CDP’s pre-employment investigation files of the 148th police

officer recruits. This assessment provides the Court with necessary information on how the

Division pre-employment background investigations for non-lateral candidates complies with

paragraphs 308-310 of the Consent Decree. The attached Memorandum (“Exhibit A”) describes

the methodology and findings of the review.



                                                     Respectfully submitted,



                                                     /s/ Hassan Aden

                                                     HASSAN ADEN
                                                     Monitor
                                                     The Aden Group LLC
                                                     8022 Fairfax Road
                                                     Alexandria, VA 22308
                                                     Tel: (571) 274-7821
                                                     Email: aden@theadengroup.com




3
    Id. at ¶308.
4
    Dkt. 401.

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                               CERTIFICATE OF SERVICE

       I hereby certify that on June 21, 2022, I served the foregoing document entitled Notice

Submitting Monitoring Team Assessment OF CDP’s 148th Recruit Class Background

Checks via the court’s ECF system to all counsel of record.




                                                   /s/ Ayesha Hardaway
                                                   AYESHA HARDAWAY




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                                        MEMORANDUM

DATE:          JUNE 14, 2022

TO:            MARK GRIFFIN, LAW DIRECTOR
               KARRIE HOWARD, DIRECTOR OF PUBLIC SAFETY
               GARY SINGLETARY, CHIEF COUNSEL
               DORNAT DRUMMOND, INTERIM POLICE CHIEF
               JOELLEN O’NEILL, DEPUTY POLICE CHIEF
               TIMOTHY MYGATT, DEPUTY CHIEF, CRT
               JONAS GEISSLER, CRT
               ACRIVI COROMELAS, CRT
               MICHELLE HEYER, AUSA
               SARA DECARO, AUSA
               MICHAEL EVANOVICH, AUSA

FROM:          HASSAN ADEN, MONITOR

RE:            COMPLIANCE ASSESSMENT OF RECRUIT HIRING BACKGROUND
               CHECK PROCESS, 148TH RECRUIT CLASS

Pursuant to the 2022 Monitoring Plan, a Compliance Assessment of Paragraphs 308, 309, and 310
of the Consent Decree was conducted over the course of two days in April 2022. This assessment
focused on Cleveland Division of Police’s (“CDP”) process of selecting and hiring its 148th recruit
class.
This assessment followed the Monitoring Team’s (“MT”) January 2022 audit of the 149th recruit
class of lateral hires. In that assessment, the MT found none of the candidates hired met an
acceptable threshold for compliance outlined in Paragraphs 308 through 311. The goal of the
current assessment was to determine if the candidates included in the 148th recruit class were vetted
in a similar fashion, or conversely, if the candidate histories and background investigations
complied with the requirements of the Consent Decree.

In the present review of the 148th recruit class’s personnel files, we found that most requirements
detailed in the Consent Decree were being met during the selection process. That said, there were
two requirements missing from every personnel file reviewed, and some other findings that raised
further questions. One very concerning item is the documented internet search for civil actions,
which showed a date on the printed internet page of a day in April – the week the MT conducted
the visit. This shows not only that the review was not completed before hiring, but also appears to
have been completed only because of the scheduled assessment by the Monitoring Team.
Compliance requires an enduring effort to do what is expected and to do so with integrity. In
addition to making compliance determinations for each of the paragraphs assessed, the MT has
provided recommendations to improve the quality of the applicant review process moving forward.
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    I.       Methodology
On April 14 and 15, 2022 three pairs of MT reviewers reviewed the full contents of the background
check files produced by the CDP Personnel Division for the 148th recruit class’s academy
graduates. The reviewers included Shunta Boston, Christine Cole, Ronnie Dunn, Tammy Hooper,
Megan McDonough, and Victor Ruiz. The files were reviewed in a classroom of the Police
Training Academy in the Justice Center. Each day there were members of the CDP Personnel
Department present to observe and ensure the integrity of the files. On April 14, Assistant US
Attorney Sara DeCaro observed for a few hours and on April 15, Michelle Heyer, also an Assistant
US Attorney, joined as the MT members were completing the reviews.
The review teams selected file folders at random from the boxes provided by CDP. Ultimately,
every file was reviewed and scored. Each pair reviewed the files and assessed the contents against
the requirements of Paragraphs 308 through 310 of the Consent Decree using a structured scoring
instrument previously approved by the Parties. The requirements of Paragraph 311 were also
assessed if the applicant indicated prior law enforcement experience. After reviewing about half
of the files, the reviewers paired with new partners to help ensure consistency across teams.
Additionally, in situations in which it was unclear how to score a finding using the instrument, MT
members raised the issue for broader group discussion. By using a standardized instrument,
assigning two reviewers per case, mixing up the pairs during the process, and working near other
reviewers, we believe a sufficient level of interrater consistency was achieved.
The approved instrument produced numerical scores for each of the files by assigning point values
to the contents. These points were based on the specific requirements of each of the relevant
paragraphs of the Consent Decree, and were assigned as follows:
                        Scoring Protocol for Each Consent Decree Paragraph
 Requirement                                           Scoring
 308: CDP will continue to require all candidates      Psychological examination for fitness for duty (1 point)
 for sworn personnel positions, including new
                                                       Medical examination for fitness for duty (1 point)
 recruits and lateral hires, to undergo a
 psychological and medical examination to              Preservice drug screening (illegal substances and steroids) (1
 determine their fitness for employment. CDP will      point)
 continue to maintain a drug testing program that
                                                       Total: 3 points
 provides for reliable and valid pre-service testing
 for new officers and random testing for existing
 officers. The program will continue to be
 designed to detect the use of illegal substances,
 including steroids.

 309: CDP will conduct thorough, objective, and        Background check thoroughness (1 point)
 timely background investigations of candidates
                                                       Background check timeliness (1 point)
 for sworn positions in accordance with federal
 anti-discrimination laws. CDP’s suitability           Criminal history (1 point)
 determination will include assessing a candidate’s
                                                       Employment history (1 point)
 criminal history, employment history, use of
 controlled substances, and ability to work with       Controlled substance use (1 point)
 diverse communities. CDP also will determine, to
                                                       Ability to work with diverse communities (1 point)
 the extent possible, whether the candidate has
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 been named in a civil action in either Cuyahoga       Named in civil action in Cuyahoga County or county of
 County and/or in the County where the officer         residence (1 point for “no”)
 lives.
                                                       Total: 7 points
 310: As part of the hiring process, consistent with   Information from prior employer (1 point)
 applicable law, CDP will request to review
                                                       Information from prior supervisors (1 point)
 personnel files from candidates’ previous
 employment and, where possible, will speak with       Total: 2 points
 the candidate’s previous supervisor(s). This
 review, and any salient information obtained, will
 be documented in the candidate’s file.

 311: If a candidate has previous law enforcement      (only if relevant)
 experience, CDP will complete a thorough,
                                                       Thorough review of prior law enforcement history (1 point)
 objective, and timely pre-employment
 investigation that includes requesting a              Objective review of prior law enforcement history (1 point)
 candidate’s history of using lethal and less lethal
                                                       Timely review of prior law enforcement history (1 point)
 force, use of force training records, and complaint
 history. This review, and any salient information     Lethal and non-lethal UOF history (1 point)
 obtained from this review, will be documented in
                                                       UOF training history (1 point)
 the candidate’s file.
                                                       Request complaint history (1 point)
                                                       Total: 6 points

    II.      Findings
In total, 44 personnel files were reviewed and scored. Of the 12 total points possible for Paragraphs
308 through 310, the average score was 9.0. Files ranged from a low total score of 5, to the highest
score (and mode) of 10.
                                     Total Points Per File, Frequency




Of the 44 files scored, no file received the one point available for a demonstrated ability to work
with diverse communities (¶ 309). There was no evidence in any file, either in application materials
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or other records, of considering this requirement. Similarly, no file received a point for requesting
records from prior employers (¶ 310). Despite documentation of speaking with prior supervisors
in many of the files, there was no evidence in any file that prior employment records were
requested or reviewed.
                      Percent of Files Meeting Each Requirement Scored
                                                                                  % of files that met
 ¶     Requirement
                                                                                    requirement
 308   Psychological examination for fitness for duty                                   97.7%
 308   Medical examination for fitness for duty                                         97.7%
 308   Preservice drug screening (illegal substances and steroids)                      97.7%
 309   Background check thoroughness                                                    77.3%
 309   Background check timeliness                                                      97.7%
 309   Criminal history                                                                 86.4%
 309   Employment history                                                               88.6%
 309   Controlled substance use                                                         97.7%
 309   Ability to work with diverse communities                                          0.0%
 309   Named in civil action in Cuyahoga County or county of residence                  86.4%
 310   Information from prior employer                                                   0.0%
 310   Information from prior supervisors                                               72.7%
                                                                          Total         75.0%


Additionally, in many of the files, notwithstanding the requirement to request and review employee
files from past employment; no file had evidence that any such request or review was completed.
In most cases the file notes indicated that the CDP did not perform any form of check with prior
employers due to the company’s reliance on a “Work Number” service (i.e., a user-paid
employment verification database), to which CDP does not subscribe. In some cases, this meant
that no prior employers were spoken to for a candidate. One recruit in the 148th academy class had
prior law enforcement experience with a sheriff’s department. As this was not their last job before
applying to CDP, it was not considered a lateral hire. The personnel file contained no law
enforcement employment records or other information, beyond self-disclosing the employment,
and a single counseling incident.
MT reviewers were also concerned to find numerous examples of untruthfulness in the files of
candidates who are now sworn CDP officers. For example, multiple candidates failed to disclose
that they were terminated from or disciplined at a job on their application; this was then indicated
by a correction form, or the investigator’s own notes. One applicant stated that they had no prior
military experience, but the file folder included discharge papers obtained by the investigator.
Another applicant indicated that they received a high school diploma in a particular year, but their
records indicated receipt of a GED two years later.
Several candidates had criminal history incidents that were not sufficiently explained in the file.
For example, one candidate’s background revealed that as a teen, they had a number of incidents
with police involvement, some involving acts of violence. This candidate was hired without a
considerable amount of time having passed or work experience to demonstrate that this was not a
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persistent pattern of problem behavior; there was no evidence in the file to indicate that these
incidents were discussed or researched further.
Some, but not all, of the files included a sheet that indicated how many application reviewers voted
for or against hiring a candidate. In many cases there were some votes against a candidate, and yet
no explanation for why the individual was hired. In the most egregious case, twelve reviewers
voted “do not recommend” and only one voted “recommend”. No additional information was
provided with regard to why this vote was overridden, and the applicant was extended an offer.
Lastly, many recruits indicated having applied to numerous public agencies, sometimes all over
the country. In many cases the recruit was not offered employment at these other agencies.
Sometimes this was due to failing oral interviews, written exams, or other reasons that were not
disclosed. While there is no requirement in the Consent Decree that states that recruits who are not
offered employment elsewhere are ineligible to apply to CDP, this finding raised questions about
the selection requirements and standards currently in place at the Division, relative to its peer
agencies.


      III.      Compliance Assessment
Paragraph 308 of the Consent Decree requires all hires to undergo physical and medical
examinations to determine fitness for employment, and to maintain a drug testing program. The
personnel file reviews found that in all but one, documentation of passing the three tests was
provided. This indicates initial compliance with Paragraph 308.1
Paragraph 309 of the Consent Decree requires CDP to conduct thorough, objective, and timely
background investigations. CDP must assess candidates’ criminal history, employment history,
use of controlled substances, ability to work with diverse communities, and whether the candidate
has been named in a civil action.
There are numerous areas within this Paragraph that must be addressed for CDP to achieve
compliance. Specifically:
      •      There is no evidence that CDP completed civil records checks at the time of hire. The
             internet searches included in each personnel folder were dated from the week of April 11,
             2022 – the same week the MT was scheduled to conduct our review. This shows not only
             that the review was not completed before hiring, but also appears to have been completed
             only because of the scheduled assessment by the Monitoring Team. Compliance requires
             an enduring effort to do what is expected and to do so with integrity.


1
 This assessment is based only the data provided by the City, i.e., that the candidate files contained a check box if the
City recorded a passed psychological examination. Our assessment does not include our consideration of the adequacy
of the underlying psychological examinations to determine candidates’ fitness for employment. See Settlement Par.
308. We anticipate assessing compliance with that requirement of the Settlement in an upcoming report.
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   •     CDP must identify a process for systematically assessing and documenting a candidate’s
         ability to work with diverse communities. If this assessment is part of some other
         examination, it must be referenced in the background check file.
   •     Criminal history documentation must be timely and accurate. Updated record check
         documentation should be provided for individuals who are extended offers but defer
         enrollment in the Academy to a subsequent class. The MT was advised by the detectives
         in the room during reviews that the recruit in the 148th class who had deferred did have an
         updated check, but there was no documentation of this in their personnel folder.
   •     CDP must document salient details when investigating recruits’ criminal history. For
         example, if a recruit states that their criminal history was the result of recurring identity
         theft, there should be documentation that this explanation was investigated and
         corroborated.
Paragraph 310 requires that CDP request to review personnel files from candidates’ previous
employment and, where possible, will speak with the candidate’s previous supervisors. As
previously stated, the records requests are not currently taking place at all, based on the contents
of the personnel files. Additionally, in many cases supervisors were not contacted by investigators.
For some recruits, this meant that there was no confirmed work history based on supervisor
appraisals or records reviews. To be compliant in this area:
   •     CDP must provide robust documentation of candidates’ employment histories, to include
         records.
   •     CDP must work to identify a process to complete comprehensive investigations, even when
         employment records are maintained by companies requiring subscriptions.
Lastly, Paragraph 311 states that if a candidate has previous law enforcement experience, CDP
will complete a thorough, objective, and timely pre-employment investigation that includes
requesting a candidate’s history of using lethal and less lethal force, use of force training records,
and complaint history. There is no evidence that this requirement was met for the one recruit in
the 148th class with prior law enforcement experience, and therefore is not in compliance.


   IV.      Areas for Improvements in Background Check Processes
Notwithstanding the scores, and initial compliance assessment, the Monitoring Team has a number
of recommendations to improve the quality of the background checks, the process and
transparency of selection and decision making, and recommendations for follow up with recruits
in ways that could help their on-the-job success.
Quality of the file: The files are best described as chaotic. There is little rational organization in
the accordion folder with the exception of the inclusion of a manilla file and a colored file. The
manilla file most often contained the application from the candidate and the investigator’s
summary packet. The colored file typically held the work product of the investigator. It would
help if categories of data were collected together and separated by a tabbed page or at the very
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least a colored piece of paper. All files should have a table of contents that can be substituted as a
checklist for content and be identical in order of documents.
The reviewers also found the documentation of interviews with prior employers and personal
references to be sparse. Digging more deeply to assess the candidates’ fitness for the job would
be beneficial. There is little to no data in these files about the candidate as a person. The
investigation seemed superficial. In most files was a sheet with signatures and badge numbers in
one of two columns – recommend and do not recommend. In all cases, it would be helpful to
understand what factors were considered in the decision. This is particularly important in the one
case where all but one CDP reviewer did not recommend hiring. In any case where there is not
unanimous agreement, the dissent should be explained.
Additional Sources of Data: While this was not contemplated at the time of the Consent Decree
negotiation, the Monitoring Team believes a more thorough background check should include a
review of social media posts. In the last few years, in agencies across the country, we have seen
evidence of police officers on social media that reveal a bias against certain groups or suggest an
inability to work with diverse communities.
Opportunities to create an environment of success: The degree to which this recruit class has
experienced financial problems is remarkable. We note that most have worked in low paying jobs,
are very young, and have not had educational opportunities after high school. The CDP and its
Wellness Unit can proactively offer financial planning assistance to this class and other members
of the Division. Helping officers who have demonstrated a difficulty with financial management
can forestall issues for them as individuals and employees. Police officers have the opportunity to
earn significant income through extra jobs and as it well known by management and senior
officers, that extra income cannot be guaranteed. Officers in financial distress can also be a
liability for the Division and encourage risky behavior of officers.


   V.      Conclusion
Compliance status: Paragraph 308 is deemed complaint. The three required examinations were
conducted for each candidate and the file, in all but one instance, reported the findings as passing.
We assume that should a request be made for evidence of the drug screening, the psychological
evaluation, and the medical test those could be provided.
Paragraph 309 is not compliant. CDP must determine a method to assess a candidate's ability to
work with a diverse community. Often this is a function of the psych eval in combination with the
background check, perhaps a social media review, and an assessment of history of bias. The files
show no evidence that the background investigator or any other professional assessed the candidate
for their ability to work with diverse communities. Paragraph 310 is not compliant. The section
above lays out what must occur to achieve compliance. Generally, the background checks with
past employers must be more rigorous and follow the language of the Consent Decree.
The Monitoring Team will work with the Background Investigators to help achieve compliance
and create more professional looking and easy to use files.
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The Monitoring Team understands that background investigations have just begun for a new
academy class slated to begin in August 2022. The Monitoring Team will work with the staff to
ensure compliance with the Consent Decree on the three paragraphs that govern recruit
backgrounds. This supportive activity could commence as soon as June 2022. During the process,
the MT will provide TA on how to make the files more complete, compliant, and professional in
appearance.
The Cleveland Division of Police should strive to be the top agency in the state of Ohio and accept
only the most qualified people for its ranks. Becoming that kind of agency begins with excellent
compensation and benefits packages, purposeful and intentional recruiting, followed by
thoroughly vetting its candidate pool to glean only the most qualified people to serve Cleveland
communities. The Monitoring Team understands the challenges in addressing staffing shortages
across police departments in the country. We also understand the risks involved in rushing to fulfill
staffing numbers with people not suited to serve our communities.
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                           APPENDIX E
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EXHIBIT E - 2021 Outcome Measures
                                                                                                                                                                                                                                                                                                                                                                Compound
                                                                                                                                                                                                                                                                                                                                                    Compound annual growth
                                                                                                                                                                                                                                                              % increase or % increase or % increase or % increase or % increase or % increase or annual growth rate (CAGR)
  Baseline                                                                                                  Included in                                                                                                                                       decrease from decrease from decrease from decrease from decrease from decrease from rate (CAGR)   Use of Force   Validated by
Appendix Line    Consent Decree     Consent Decree                                                           Baseline?                     2015 Data        2016 Data        2017 Data        2018 Data       2019 Data       2020 Data       2021 Data       2015 through 2016 through 2017 through 2018 through 2019 through 2020 through         from 2015    from 2019       Source
     #             Paragraph           Section             Topic                    Name of Measure          (yes/no)     Source of Data   Collected        Collected        Collected        Collected       Collected       Collected       Collected           2016          2017          2018          2019          2020          2021      through 2021 through 2021     (yes/no)                             Comments
             1            367 a                      Use of Force (UOF)
             2              367 a. 1                 UOF            UoF Charges                                 yes       IAPro



                                                                                                                                                                                                                                                                                                                                                                                              2015/Baseline: Validational data from CPD captured
                                                                                                                                                                                                                                                                                                                                                                                              349 use of force cases (based on timing of data
                                                                                                                                                                                                                                                                                                                                                                                              request); 2016: Validational data from CPD captured
                                                                                                                                                                                                                                                                                                                                                                                              318 use of force cases (based on timing of data
                                                                                                                                                                                                                                                                                                                                                                                              request). 2017: 237 use of force cases identified by
                                                                                                                                                                                                                                                                                                                                                                                              CPD, but 242 citizens involved in UoF incidents. 2018:
                                                                                                                                                                                                                                                                                                                                                                                              338 use of force cases identified by CPD, but 380
                                                                                                                                                                                                                                                                                                                                                                                              citizens involved in UoF incidents
                                                                                                                                                                                                                                                                                                                                                                                              2019: 343 use of force cases identifed by CDP, but 379
                                                                                                                                                                                                                                                                                                                                                                                              citizens involved in UOF incidents. 2020 260 Incidents
                                                                                                                                                                                                                                                                                                                                                                                              Identified, 291 subjects (Total # of subjects involved in
             3                                                      # of UOF charges                                                              350              307              242              380             379                291          213              -12%          -21%          57%            0%          -23%          -27%           -7%          -17%        yes        UoF). 2021 - 194 incidents identified, 213 subjects.
                                                                                                                                                                                                                                                                                                                                                                                              2015: 39,270 charges; 2016: 32275 charges
                                                                                                                                                                                                                                                                                                                                                                                              2019: 21,733 charges; 2020: 656 subject charges for
                                                                                                                                                                                                                                                                                                                                                                                              UoF were subtracted from the total charges 16,577 to
             4                                                      # of non-UoF charges                                                       38,920           31,968           33,085           26,707          20,974             15,921        16,192             -18%           3%           -19%         -21%          -24%            2%          -12%           -8%        yes        get 15,921. 2021 16,405
             5              367 a. 1                 UOF            UoF Charges ending in arrests               yes       IAPro
                                                                                                                                                                                                                                                                                                                                                                                              2015 Validational data from CPD captured 289 Arrests
                                                                                                                                                                                                                                                                                                                                                                                              with 609 different charge types
                                                                                                                                                                                                                                                                                                                                                                                              2019: 303 of 379 citizens involved in UOF were
             6                                                      # UoF ending in arrests                                                       285              243              191              296             303                217          154              -15%          -21%          55%            2%          -28%          -29%           -8%          -20%        yes        arrested
                                                                                                                                                                                                                                                                                                                                                                                              24,371 total arrests in 2015; 19,668 total arrests in
                                                                                                                                                                                                                                                                                                                                                                                              2016; 18,976 total arrests in 2017; 15,615 total arrests
                                                                                                                                                                                                                                                                                                                                                                                              in 2018
                                                                                                                                                                                                                                                                                                                                                                                              2019: 12,790 total arrests. 2020: Total arrested -
                                                                                                                                                                                                                                                                                                                                                                                              individuals arrested in UoF to get 9,016. 2021 total is
             7                                                      Total # of non-UoF ending in arrests                                       24,086           19,425           18,785           15,319          12,487              9,016         9,103             -19%           -3%          -18%         -18%          -28%            1%          -13%          -10%        yes        9,257. Subract this by 154 to get 9,103.
             8              367 a. 1                 UOF            UoF rates                                   yes       IAPro

                                                                                                                                                                                                                                                                                                                                                                                              2020: Numerator represents total # of individuals
             9                                                      UoF as % of all charges                                                      0.9%             1.0%             0.7%             1.4%            1.8%               1.8%         1.3%               7%           -24%          93%           27%            1%          -28%            6%          -10%        yes        involved in UoF. Denominator is charges of Non-UoF
                                                                                                                                                                                                                                                                                                                                                                                              2020: Numerator represents UoF total arrests.
           10                                                       UoF arrests as % of all arrests                                              1.2%             1.2%             1.0%             1.9%            2.4%               2.4%         1.7%               6%           -19%          88%           27%           -1%          -29%            5%          -11%        yes        Denominator is total number of arrests
                                                                                                                                                                                                                                                                                                                                                                                              2020: Numerator is UoF arrests. Denominator is
           11                                                       % of UoFs ending in arrest                                                    81%              79%              79%              78%             80%               75%           72%               -3%           0%            -1%           3%           -7%           -3%           -2%           -3%        yes        charges
                                                                                                                                                                                                                                                                                                                                                                                              Formula for past "Total number of nonUOF ending in
                                                                                                                                                                                                                                                                                                                                                                                              arrest/ and # of non UOF charges" individuals/charges-
                                                                                                                                                                                                                                                                                                                                                                                              different units
           12                                                       % of non-UoFs ending in arrest                                                62%              61%              57%              57%             60%               57%           56%               -2%           -7%           1%            4%           -5%           -1%           -1%           -2%        yes        2019-12487/12790=98%
           13               367 a. 1                 UOF            District                                    yes       IAPro
           14                                                       District 1                                                                     36               29               25               34              53                 34           22              -19%          -14%          36%           56%          -36%          -35%           -7%          -25%        yes
           15                                                       District 2                                                                     64               57               54               82              72                 71           42              -11%           -5%          52%          -12%           -1%          -41%           -6%          -16%        yes
           16                                                       District 3                                                                    100              114               68               69              79                 48           56               14%          -40%           1%           14%          -39%           17%           -8%          -11%        yes
           17                                                       District 4                                                                     85               64               52               87              56                 58           34              -25%          -19%          67%          -36%            4%          -41%          -12%          -15%        yes
           18                                                       District 5                                                                     61               39               37              103              80                 49           39              -36%           -5%         178%          -22%          -39%          -20%           -6%          -21%        yes
           19                                                       outside city                                                                    4                1                1                5               3                  0            1              -75%            0%         400%          -40%         -100%           N/A          -18%          -31%        yes
           20                                                       Unknown/NULL                                                                     .               3                5                0               0                  0            0                  .          67%        -100%           N/A           N/A           N/A           N/A           N/A        yes
                                                                                                                                                                                                                                                                                                                                                                                              These data are for all officers that used force. Multiple
                                                                                                                                                                                                                                                                                                                                                                                              force types used by officers per citizen. 2015 total
                                                                                                                                                                                                                                                                                                                                                                                              =1311; 2016 total=1210; 2017 total=1018; 2018
           21               367 a. 1                 UOF            Force type                                  yes       IAPro                                                                                                                                                                                                                                                               total=645
           22                                                       Balance Displacement                                                           76                   1                0                0               0               7           10              -99%         -100%           0%            0%           N/A           43%          -25%           N/A        yes

           23                                                       Body Force/Body Weight                                                        477              176              191               64              86                 78           54              -63%            9%          -66%          34%           -9%          -31%          -27%          -14%        yes        Body force now includes body weight for 2015-2017
           24                                                       Control Hold-Restraint                                                        217              323              225               66              77                 50           44               49%          -30%          -71%          17%          -35%          -12%          -20%          -17%        yes
           25                                                       Control Hold-Takedown                                                          65              124               68               39              57                 30           24               91%          -45%          -43%          46%          -47%          -20%          -13%          -25%        yes
                                                                                                                                                                                                                                                                                                                                                                                              This category was new in 2018
                                                                                                                                                                                                                                                                                                                                                                                              2019: De-escalation attempt-89, CDP would like to
                                                                                                                                                                                                                                                                                                                                                                                              move De-escalation to another section, since it is not
                                                                                                                                                                                                                                                                                                                                                                                              technically a "force type". 2020: Accounts for Attempt,
           26                                                       De-Escalation                                                                       .                .                .          104              89                172          141 .                    .                       .             .         93%          -18%           N/A           17%        yes        Other, and Unfeasible

                                                                                                                                                                                                                                                                                                                                                                                              2019: Firearm Discharge was taken out from "other" in
           27                                                       Firearm Discharge                                                                                                                                  5                  5            5                                                                       0%            0%           N/A            0%                   previous years and put into separate category
           28                                                       Firearm Point                                                                    .                .                .             191             178                118           77 .                    .                       .            .         -34%          -35%           N/A          -24%        yes        This category was new in 2018
           29                                                       Joint Manipulation                                                            137              159               93               36              58                 39           39               16%          -42%          -61%          61%          -33%            0%          -16%          -12%        yes
           30                                                       Tackling/Takedown                                                             142               63               46               43              58                 51           30              -56%          -27%           -7%          35%          -12%          -41%          -20%          -20%        yes
                                                                                                                                                                                                                                                                                                                                                                                              Note: Taser includes when the taser was displayed or
                                                                                                                                                                                                                                                                                                                                                                                              used. From 2019 onwards, this number will only
           31                                                       Taser                                                                          44               36               47               27              22                 20           18              -18%          31%           -43%         -19%            -9%         -10%          -12%           -6%        yes        include when the taser is used
                                                                                                                                                                                                                                                                                                                                                                                              Might now be captured in de-escalation category which
           32                                                       Verbal/Physical Gestures                                                       31                   0                0                0               0               6               8          -100%           0%            0%            0%           N/A           33%          -18%           N/A        yes        is new in 2018
                                                                                                                                                                                                                                                                                                                                                                                              This category was in other in 2015 and 2016 and has
           33                                                       Pressure Point/Pressure Point Control                                          40              151              180               68                  3               3               5          278%           19%           -62%          -96%           0%           67%          -26%           19%        yes        now been broken out for all 3 years
                                                                                                                                                                                                                                                                                                                                                                                              This category was in other in 2015 and 2016 and has
           34                                                       Push                                                                               4            90               83               36              38                 40           23            2150%            -8%          -57%           6%            5%          -43%           28%          -15%        yes        now been broken out for all 3 years




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                                                                                                                                                                                                                           This is a designation created by the Monitoring Team
                                                                                                                                                                                                                           and includes several categories with fewer than 25
                                                                                                                                                                                                                           instances. These are not classified as "Other" in IAPro
                                                                                                                                                                                                                           or by the CPD.
                                                                                                                                                                                                                           Others include, but not limited too: ASP Baton,
                                                                                                                                                                                                                           Beanbag Shotgun, Chemical Agent-OC Spray, Feet/Leg
                                                                                                                                                                                                                           Sweep, FIT-Confined-CBF, FIT-Head Strike, FIT-
                                                                                                                                                                                                                           L2_Handcuffed Sub, Head Strike, Leg Restraint, Open
                                                                                                                                                                                                                           Hand Strike, Pepperball-Saturation, Pressure Point,
                                                                                                                                                                                                                           Punch/Elbow, Punching, Striking Muscle Groups,
35                    Other (1-25 instance each)                              48     77     78     41      112               99     74      60%      1%      -47%   173%      -12%     -25%      6%     -13%     yes       Striking, Pull
36                    Unknown/NULL/#N/A                                       30     10      7      0        0                0      0     -67%    -30%     -100%    N/A       N/A      N/A     N/A      N/A     yes

                                                                                                                                                                                                                           These data are for all UoF (2015 total UoF=774; 2016
                                                                                                                                                                                                                           total UoF=1110) not arrests (2015 total arrests=285;
                                                                                                                                                                                                                           2016 total arrests=244) and not charge types (2015
37   367 a. 1   UOF   Arrest Type                           yes      IAPro                                                                                                                                                 total charge types=350; 2016 total charge types=308)
38                    Violence toward Police Officer                           7    105     66     34       49                45    48    1400%     -37%    -48%      44%      -8%       7%      32%      -1%    yes
39                    Violence toward Others                                 158    156     73    107      108                93    32       -1%    -53%      47%      1%     -14%     -66%     -20%     -33%    yes
40                    Damage to Property                                      57     76     33     83      107                56    26       33%    -57%    152%      29%     -48%     -54%     -11%     -38%    yes
41                    Obstructing Justice                                    207    370    224    220      247               219   175       79%    -39%      -2%     12%     -11%     -20%      -2%     -11%    yes
42                    Crisis Intervention                                     40     69     55     29       35                28    22       73%    -20%    -47%      21%     -20%     -21%      -8%     -14%    yes
43                    Drugs/Alcohol                                           47     31     30     39       40                21    29     -34%      -3%      30%      3%     -48%      38%      -7%     -10%    yes
44                    Cleveland Codified Ord. - Part 6                        84    150     73     64       56                33    25       79%    -51%     -12%    -13%     -41%     -24%     -16%     -24%    yes       This category was in other in 2015
45                    Miscellaneous offense                                   18     39     33     45       69                50    29     117%     -15%      36%     53%     -28%     -42%       7%     -25%    yes       This category was in other in 2015
46                    NULL                                                    84     23      0      0       42                 0     0      -73%   -100%       0%      0%    -100%      N/A    -100%    -100%    yes       This category was in other in 2015

47                    Other (1-25 instance each)                              72     63     34     43       48               21     22     -13%    -46%      26%     12%      -56%      5%     -16%     -23%     yes       All Data is compiled from categories in previous years.
48   367 a. 1   UOF   Race                                  yes      IAPro
49                    Black                                                  259    219    188    302      275               213   150     -15%     -14%     61%     -9%      -23%     -30%     -8%     -18%     yes
50                    White                                                   77     69     68     49       67                62    42     -10%      -1%    -28%     37%       -7%     -32%     -8%     -14%     yes
51                    Hispanic                                                 9     12     11     18       22                20     4      33%       0%     64%     22%       -9%     -80%    -11%     -43%     yes
52                    Asian                                                    1      1      0      1        1                 0     1       0%    -100%     N/A      0%     -100%      N/A      0%       0%     yes
53                    Other                                                    1      3      5      4        2                 1    14     200%      67%    -20%    -50%      -50%    1300%     46%      91%     yes
54                    Unknown/NULL                                             3      3      0      6        2                 3     2       0%    -100%     N/A    -67%       50%     -33%     -6%       0%     yes
55   367 a. 1   UOF   Ethnicity                             yes      IAPro
56                    Hispanic/Latino                                          9     12     11     18       22                19     4      33%     -8%      64%     22%      -14%     -79%    -11%     -43%     yes
57                    Non-Hispanic/Latino                                    338    292    261    362      355               182   207     -14%    -11%      39%     -2%      -49%      14%     -7%     -16%     yes
                                                                                                                                                                                                                           Unknown was combined in the non-hispanic data point
                                                                                                                                                                                                                           up until 2020. The unknown totals are 136 in 2018 and
                                                                                                                                                                                                                           134 in 2019. Therefore the non-hispanic totals are
58                    Unknown/NULL                                             3      3      0      0        2               88      2       0%    -100%      0%      0%     4300%     -98%     -6%       0%     yes       lower in both 2018 and 2019 as well.
                                                                                                                                                                                                                           For 2018, the categories have been changed to 17 and
                                                                                                                                                                                                                           under (vs. under 21); then 18-29 (vs. 21-29); The data
                                                                                                                                                                                                                           from 2015-2017 have been updated to reflect this
59   367 a. 1   UOF   Age                                   yes      IAPro                                                                                                                                                 change
60                    17 and under (juveniles)                                31     36     16     28       28                24    22      16%    -56%      75%      0%      -14%      -8%     -5%      -8%     yes
61                    18-29 years                                            166    148    117    167      161               122    79     -11%    -21%      43%     -4%      -24%     -35%    -10%     -21%     yes
62                    30-39 years                                             68     59     86     96      101                71    62     -13%     46%      12%      5%      -30%     -13%     -1%     -15%     yes
63                    40-49 years                                             39     26     27     42       51                45    25     -32%      4%      56%     21%      -12%     -44%     -6%     -21%     yes
64                    50-59 years                                             18     16     11     27       11                14    14     -11%    -31%     145%    -59%       27%       0%     -4%       8%     yes
65                    60+ years                                               11     10      6      2        4                 4     3      -9%    -40%     -67%    100%        0%     -25%    -17%      -9%     yes
66                    Unknown/NULL                                            17     13      9      6       23                19     8     -24%    -31%     -33%    283%      -17%     -58%    -10%     -30%     yes
67   367 a. 1   UOF   Gender                                yes      IAPro
68                    Male                                                   265    223    212    338      334               270   187     -16%      -5%     59%      -1%     -19%     -31%      -5%    -18%     yes
69                    Female                                                  82     82     60     42       45                29    26       0%     -27%    -30%       7%     -36%     -10%     -15%    -17%     yes
70                    Unknown/NULL                                             3      2      0    -12        0                 0     0     -33%    -100%     N/A      N/A      N/A      N/A    -100%     N/A     yes
                                                                                                                                                                                                                           Represents incident level data, each officer makes a
                                                                                                                                                                                                                           selection, there may be multiple different selections
                                                                                                                                                                                                                           made per citizen. For example, unimpaired and under
71   367 a. 1   UOF   Mental State                          yes      IAPro                                                                                                                                                 influence-alcohol
72                    Mental Crisis                                           42      0      0      0        0                0      0    -100%      0%      N/A     N/A       N/A      N/A     N/A      N/A     yes       more granular data collected in 2016 and 2017
73                    Behavioral Crisis Event                                 13     68    119     82       44               43     31     423%     75%     -31%    -46%       -2%     -28%     13%     -11%     yes       more granular data collected in 2016 and 2017
74                    Medical Condition                     no       IAPro      .      .      .      .        .                .      .        .       .        .       .         .        .    N/A      N/A           .
75                    Drugs / ETOH                          yes      IAPro   138    131    223    184      132               98     75      -5%     70%     -17%    -28%      -26%     -23%     -8%     -17%     yes       Only drugs and alcohol as noted in IAPro

                                                                                                                                                                                                                           New item CPD collects that has been added to baseline
76                    Unimpaired/None Detected           yes (new)            67    102    150    309      212               178   116      52%     47%     106%     -31%     -16%     -35%      8%     -18%     yes       and 2016 but not specified in Consent Decree

                                                                                                                                                                                                                           New item CPD collects that has been added to baseline
77                    Unknown/NULL                       yes (new)            90      3     23     24        0                0      0     -97%    667%       4%    -100%      N/A      N/A    -100%      N/A    yes       and 2016 but not specified in Consent Decree

                                                                                                                                                                                                                           New item CPD collects that has been added to baseline
78                    Known Medical Condition            yes (new)              .     3      1      3        0                2      3         .    -67%    200%    -100%      N/A     50%       N/A      N/A    yes       and 2016 but not specified in Consent Decree
79                    Visible Physical Disability        yes (new)              .      .      .     5        0                0      0         .        .       .        .        .       .         .        .   yes       New item CPD now collects
80
81   367 a. 2   UOF   Officer injuries                      yes      IAPro




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                                                                                                                                                                                                                                  2018: Officers are advised to select “yes” to injury
                                                                                                                                                                                                                                  and/or hospitalization if at least 1 involved officer was
                                                                                                                                                                                                                                  injured and/or hospitalized. Therefore, 2018 data
                                                                                                                                                                                                                                  represent the number incidents in which at least 1
                                                                                                                                                                                                                                  officer was injured and/or hospitalized. Officer injury
                                                                                                                                                                                                                                  is defined as the number of officers who were injured
                                                                                                                                                                                                                                  AND filled out an injury packet (31 officers) as well as
                                                                                                                                                                                                                                  those who did not fill out an injury packet but selected
                                                                                                                                                                                                                                  an injury type (12 officers) under the officer condition
                                                                                                                                                                                                                                  variable. CPD is moving away from capturing officer
                                                                                                                                                                                                                                  injury at the incident level and have advised officers to
                                                                                                                                                                                                                                  select “yes” to injury and/or hospitalization only in
                                                                                                                                                                                                                                  regards themselves. This means 2018 is not apples to
                                                                                                                                                                                                                                  apples with prior years and therefore % increases and
                                                                                                                                                                                                                                  CAGR in 2018 are not an accurate reflection of changes
                                                                                                                                                                                                                                  2019- Officers were advised to select "yes" if she/he
                                                                                                                                                                                                                                  was injured during the use of force. Therefore, 2019
                                                                                                                                                                                                                                  data provides the number of officers injured during
                                                                                                                                                                                                                                  use of force. This a shift from the previous definition.
                                                                                                                                                                                                                                  As a result, the data from 2019 will not be compared to
                                                                                                                                                                                                                                  prior years due to the utilization of a different
 82                    # officers injured                         yes           134    192      212       58       74                32      38     43%      10%    -73%      28%     -57%     19%     -16%     -20%    yes       definition.
                                                                                                                                                                                                                                  This represents the year over year rate of change. This
                                                                                                                                                                                                                                  number was incorrectly calculated for 2015-2018 and
 83                    rate of officer injuries change overall    no              .   -30%      -9%     -73%      28%             -57%     19%          .   -76%     N/A      N/A     -306%   -133%     N/A     -12%    yes       has now been updated
 84   367 a. 2   UOF   Officer injuries severity                  yes   IAPro     .       .        .      640      711              537     407         .       .       .                                        -17%         .   New category added in 2018
 85                    No Injuries                                                .       .        .      532      570              450     300         .       .       .      7%      -21%    -33%        .    -19%          .   New category added in 2018
 86                    Abrasion                                                   .       .        .       18       19               15      11         .       .       .      6%      -21%    -27%        .    -17%          .   New category added in 2018
 87                    Bodily Fluid/Exposure                                      .       .        .        9       11                9      15         .       .       .     22%      -18%     67%        .      11%         .   New category added in 2018
 88                    Bruise                                                     .       .        .        7       11                8       6         .       .       .     57%      -27%    -25%        .    -18%          .   New category added in 2018
 89                    Concussion                                                                                    2                0       0                               N/A     -100%      NA            -100%
                                                                                                                                                                                                                                New category added in 2018, officer condition type =
 90                    Hospital                                                   .        .        .     22       30                19      22         .       .       .     36%      -37%    16%         .    -10%          . hospital age and hospital code
 91                    Laceration                                                 .        .        .      6        5                 2       4         .       .       .    -17%      -60%   100%         .     -7%          . New category added in 2018
 92                    Puncture                                                                                     1                 0       0                               N/A     -100%     NA             -100%
 93                    Refused Treatment                                          .        .        .      6        8                 6       2         .       .       .     33%      -25%   -67%         .    -37%          .   New category added in 2018
 94                    Soft Tissue Damage                                         .        .        .      9        4                 4       2         .       .       .    -56%        0%   -50%         .    -21%          .   New category added in 2018
 95                    Sprain/Strain/Twist                                        .        .        .      7       11                 4       9         .       .       .     57%      -64%   125%         .     -6%          .   New category added in 2018
 96                    Treated & Released                                         .        .        .     13       22                16      20         .       .       .     69%      -27%    25%         .     -3%          .   New category added in 2018
 97                    Unconscious                                                .        .        .       .       1                 0       0         .       .       .        .    -100%     NA         .   -100%
                                                                                                                                                                                                                                New category added in 2018
                                                                                                                                                                                                                                (Respiratory Distress, Human Bite, Fracture,
                                                                                                                                                                                                                                Dislocation, Concussion, and EMS) 2020 total should be
 98                    Other/.                                                    .        .        .     11       16                 4      16         .       .       .     45%      -75%   300%         .     0%           . 12, Human bite was 4, EMS was 8.
 99   367 a. 2   UOF   Public/subject injuries                    yes   IAPro
                                                                                                                                                                                                                                  Public injuries is citizen injuries. This was misreported
100                    # public/subject injuries                  yes           77       69       98      75        85                88     114    -10%     42%    -23%       13%       4%     30%      6%      10%    yes       as 112 in baseline, but corrected here.
101                    rate of subject injuries change overall    no              .   -10%     -76%     23%      -13%               -4%    -30%         .    N/A     N/A    -157%       N/A     N/A     N/A      30%    yes       Need Clarification on how this is calculated
102   367 a. 2   UOF   Public/Subject injuries severity           yes   IAPro     .        .        .    663       884              695      638        .       .       .      33%     -21%      -8%            -10%          .   New category added in 2018
103                    No Injuries (No injuries noted)                            .        .        .    242       210              179      182        .       .       .     -13%     -15%       2%       .     -5%          .   New category added in 2018
104                    Abrasion                                                   .        .        .     36        33                42      22        .       .       .       -8%     27%    -48%        .    -13%          .   New category added in 2018
105                    Behavioral Crisis                                          .        .        .     28        42                35      26        .       .       .      50%     -17%    -26%        .    -15%          .   New category added in 2018
106                    Complaint                                                  .        .        .     21        38                31      37        .       .       .      81%     -18%     19%        .     -1%          .   New category added in 2018
107                    EMS                                                        .        .        .     77       111                77      72        .       .       .      44%     -31%      -6%            -13%          .   New category added in 2018
108                    Hospital                                                   .        .        .     95       176              119      110        .       .       .      85%     -32%      -8%       .    -15%          .   New category added in 2018
109                    Laceration                                                 .        .        .     14        15                18      10        .       .       .        7%     20%    -44%        .    -13%          .   New category added in 2018
110                    Pre-Existing Medical Condition                             .        .        .     11        35                21      30        .       .       .    218%      -40%     43%              -5%          .   New category added in 2018
                                                                                                                                                                                                                                  New category added in 2018. This equals puncture and
111                    Puncture                                                   .        .        .     13       21                14      11         .       .       .    62%       -33%    -21%        .    -19%          .   puncture taser
112                    Refused Medical Treatment                                  .        .        .     12       10                11      11         .       .       .   -17%        10%      0%        .      3%          .   New category added in 2018
113                    Self-Inflicted/Self-Induced                                .        .        .     15       15                12      15         .       .       .     0%       -20%     25%        .      0%          .   New category added in 2018
114                    Treated & Released                                         .        .        .     44       95                92      76         .       .       .   116%        -3%    -17%        .     -7%          .   New category added in 2018
115                    None Identified                                            .        .        .     34       22                 8       1         .       .       .   -35%       -64%    -88%        .    -64%          .   New category added in 2018
116                    Unconscious                                                .        .        .               1                 0       2         .       .       .       .     -100%      NA        .     26%
                                                                                                                                                                                                                                Other includes: Bruise, Confinement, Decontamination,
                                                                                                                                                                                                                                Dislocation, Fracture, Gunshot, Ingested Drugs,
                                                                                                                                                                                                                                Overdose, Respiratory Distress, Soft Tissue Damage,
                                                                                                                                                                                                                                Sprain/Strain/Twist, TEMS, Dog Bite-Puncture,
117                    Other/.                                                    .        .        .     21       60                36      33         .       .       .   186%       -40%     -8%        .    -18%          . Alcohol
118   367 a. 2   UOF   Force complaints                           yes   IA

                                                                                                                                                                                                                                  These data are by officer and not by case; These data
                                                                                                                                                                                                                                  are just from IA and does not include complaints
                                                                                                                                                                                                                                  through OPS 2020: May have involved 2019 incidents,
                                                                                                                                                                                                                                  but were investigsated in 2020. This is why "Force
119                    # of force complaints                                    43       17       33      33       38                36      15     -60%     94%     0%       15%      -5%    -58%     -14%     -27%    yes       Complaints" and the "Disposition" below do not add up.
                                                                                                                                                                                                                                  These data are by officer and not by case; These data
                                                                                                                                                                                                                                  are just from IA and does not include complaints
120                    # of non-force complaints                                73       93       96     119      121               132     168     27%       3%    24%        2%       9%     27%      13%     12%     yes       through OPS
121   367 a. 2   UOF   disposition of force complaints            yes   IA
122                    Substantiated/Sustained                                   7        8        0       3        4                 2       1      14%    -100%    N/A      33%     -50%     -50%     -24%    -37%    yes       Includes category "Sustained Other" from 2015
123                    Not Sustained                                             0        0        0       3        1                 1       0       0%       0%    N/A      N/A         .   -100%      N/A   -100%    yes       This category was not in the 2015-2017 data
124                    Administrative Closure                                    2        0        2       1        0                 0       0    -100%      N/A   -50%    -100%      N/A      N/A    -100%     N/A    yes
125                    Exonerated/Within Policy                                   .       1        0       3       11                24      11         .   -100%     0%       0%     118%     -54%      N/A      0%    yes
126                    Unfounded                                                 0        0        0       1        0                 4       0       0%       0%    N/A      N/A      N/A    -100%      N/A     N/A    yes       This category was not in the 2015-2017 data
127                    Open                                                     34        8       31      22        6                  .      3     -76%     288%   -29%     -73%         .     N/A     -29%    -21%    yes       This includes 'Active' & 'Suspended'
128   367 a. 2   UOF   source (in/ext.) force complaints           no   IA



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                                                                                                                                                                                                                                                    New data captured in 2018; prior to 2018 Incomplete
                                                                                                                                                                                                                                                    information; no systematic capturing of data through
129                                     Internal (CPD)                                  no                     .       .      .     33      38               27     13        .        .             15%     -29%   -52%        .     -30%    yes   IA or OPS
                                                                                                                                                                                                                                                    New data captured in 2018; prior to 2018 Incomplete
                                                                                                                                                                                                                                                    information; no systematic capturing of data through
130                                     External (non-CPD/Civilian)                     no                     .       .      .      0       0                9      2        .        .              N/A     N/A   -78%        .      N/A    yes   IA or OPS
                                                                                                                                                                                                                                                    lots of incomplete data (more than half data not
                                                                                                                                                                                                                                                    present) from 2015-2017. Force Type is documented
131   367 a. 2   UOF                    force type                                     yes   IA, IAPro                                                                                                                                              at the incident level
132                                     Balance Displacement                                                  0       0      0       0       0                0      3      0%      0%        0%      0%       0%     N/A     N/A      N/A    yes
133                                     Body Force                                                            8       0     15       4       6                0      0   -100%     N/A      -73%     50%    -100%     N/A   -100%    -100%    yes
134                                     Control Hold-Restraint                                                2       8     11       6       3                3      0    300%     38%      -45%    -50%       0%   -100%   -100%    -100%    yes
135                                     Control Hold-Takedown                                                 0       3      5       3       2                3      0     N/A     67%      -40%    -33%      50%   -100%     N/A    -100%    yes
                                                                                                                                                                                                                                                    This category was new in 2018
                                                                                                                                                                                                                                                    2019: De-escalation attempt-8, CDP would like to move
                                                                                                                                                                                                                                                    De-escalation to another section, since it is not
136                                     De-Escalation                                                          .       .      .      8       8               11      9        .       .         .     0%     38%     -18%    N/A        4%    yes   technically a "force type".
137                                     Firearm Point                                                          .       .      .      2       5                2      1        .       .         .   150%    -60%     -50%    N/A      -42%    yes   This category was new in 2018
138                                     Firearm                                                                .       .      .      1       4                2      2        .       .         .   300%    -50%       0%    N/A      -21%    yes   This category was new in 2018
139                                     Joint Manipulation                                                    1       2     13       2       3                1      0    100%    550%      -85%     50%      0%    -100%    N/A     -100%    yes
140                                     Tackling/Takedown                                                     0       0      5       4       4                6      0      0%     N/A      -20%      0%     50%    -100%    N/A     -100%    yes
141                                     Taser                                                                 1       0      6       4       3                1      2   -100%     N/A      -33%    -25%    -67%     100%    10%      -13%    yes
142                                     Verbal/Physical Gestures                                              0       0      0       0       0                0      3      0%      0%       N/A     N/A     N/A      N/A    N/A       N/A    yes
                                                                                                                                                                                                                                                    This category was in other in 2015 and 2016 and has
143                                     Pressure Point/Pressure Point Control                                  .       .    15       5       0                0      0        .        .        .   -100%    N/A     N/A     N/A       N/A    yes   now been broken out 2017
                                                                                                                                                                                                                                                    This category was in other in 2015 and 2016 and has
144                                     Push                                                                   .       .     5       5       5                4      3        .        .        .     0%     -20%   -25%      N/A     -16%    yes   now been broken out for 2017
145                                     Other (1-25 instance each)                                            7      10     13       7      11                9     14     43%      30%     -46%     57%     -18%    56%      10%       8%    yes
146                                     Unknown/NULL                                                         27       5      4       0       2                0      0    -81%     -20%    -100%     N/A    -100%    N/A    -100%    -100%    yes
147   367 a. 2   UOF                    geographic area                                yes   IA
148                                     District 1                                                            2       0      4       0       3                2      2   -100%      N/A    -100%     N/A    -33%      0%      0%      -13%    yes
149                                     District 2                                                            0       4      3       6       4               10      4     N/A     -25%     100%    -33%    150%    -60%     N/A        0%    yes
150                                     District 3                                                            4       4      5       7       5               14      4      0%      25%      40%    -29%    180%    -71%      0%       -7%    yes
151                                     District 4                                                            4       3      1       2       2                5      2    -25%     -67%     100%      0%    150%    -60%     -9%        0%    yes
152                                     District 5                                                            3       0      4       1       6                3      2   -100%      N/A     -75%    500%    -50%    -33%     -6%      -31%    yes
153                                     outside city                                                          0       0      0       0       0                0      0      0%       0%       0%      0%      0%     N/A     N/A       N/A    yes
154                                     Unknown/NULL                                                         10       6      4       0       2                2      1    -40%     -33%    -100%     N/A      0%    -50%    -28%      -21%    yes
155   367 a. 2   UOF                    demographics of complainant                    yes   IA, IAPro
156                                     Black                                                                11       6     12      11      13               21     10    -45%     100%      -8%      18%     62%    -52%    -1%       -8%    yes
157                                     White                                                                 2       2      5       3       7                6      3      0%     150%     -40%     133%    -14%    -50%     6%      -25%    yes
158                                     Hispanic                                                              0       3      0       1       0                2      0     N/A    -100%      N/A    -100%     N/A   -100%    N/A       N/A    yes
159                                     Asian                                                                 0       0      0       0       0                0      0      0%       0%       0%       0%      0%     N/A    N/A       N/A    yes
160                                     Other                                                                 0       0      0       0       0                1      0      0%       0%       0%       0%     N/A   -100%    N/A       N/A    yes
161                                     Unknown/NULL                                                         10       6      4       1       2                0      3    -40%     -33%     -75%     100%   -100%     N/A   -16%       14%    yes
162
163   367 a.3    ECW usage              # ECW and changes over time                    yes   IAPro
                                                                                                                                                                                                                                                    Note: Taser includes when the taser was displayed or
                                                                                                                                                                                                                                                    used. From 2019 onwards, this number will only
164                                     # of ECW                                       yes   IAPro            44     36     47      27      22                21    16    -18%      31%     -43%    -19%     -5%    -24%    -13%      -10%    yes   include when the taser is used
165                                     # of non-ECW UoF                               yes   IAPro          1267   1174    971     688     672               582   373     -7%     -17%     -29%     -2%    -13%    -36%    -16%      -18%    yes


                                                                                                                                                                                                                                                    In 2015 there were 1311 force types used. In 2016
                                                                                                                                                                                                                                                    there were 1210. This number therefore represents
                                                                                                                                                                                                                                                    the change in non-taser force types between 2015 and
                                                                                                                                                                                                                                                    2016 relative to the change in taser force type; same
166                                     changes compared to UOF                         no                     .   -11%    44%    -33%    -20%             11%     25%        .     N/A    -174%    -38%        .   132%        .    -207%    yes   calculation used for 2016 to 2017

167                                     changes compared to weapon/force instrument     no                     .       .      .      .                                        .        .        .       .                                     N/A   Data are not collected in detail to calculate this value
168
                                                                                                                                                                                                                                                    This definition is all Use of Force incidents with any
                                                                                                                                                                                                                                                    policy violation, which may include WCS, Other, UOF,
169   367 a.4    UOF violating policy   # in violation                                 yes   Case Office      9      16      6       6      15               17     11    78%      -63%      0%     150%     13%    -35%      3%      -10%    yes   ETC.
                                                                                             Case Office,
170   367 a.4    UOF violating policy   force type                                     yes   IAPro
171                                     Balance Displacement                                                  2       0      0       0       0                0      0   -100%       0%       0%       0%     0%      N/A   -100%   #DIV/0!   yes
172                                     Body Force                                                            5       0      5       4       2                2      1   -100%      N/A     -20%     -50%     0%     -50%    -21%     -21%    yes
173                                     Control Hold-Restraint                                                0       7      6       2       2                2      4     N/A     -14%     -67%       0%     0%     100%     N/A      26%    yes
174                                     Control Hold-Takedown                                                 0       0      2       3       2                2      2     N/A       0%      50%     -33%     0%       0%     N/A       0%    yes
175                                     Joint Manipulation                                                    2       0      3       4       1                6      0   -100%      N/A      33%     -75%   500%    -100%   -100%    -100%    yes
176                                     Tackling/Takedown                                                     0       3      0       0       5                2      0     N/A    -100%       0%       0%   -60%    -100%     N/A    -100%    yes
177                                     Taser                                                                 0       3      1       0       3                1      1     N/A     -67%    -100%      N/A   -67%       0%     N/A     -31%    yes
178                                     Verbal/Physical Gestures                                              1       0      0       0       0                0      0   -100%       0%      N/A      N/A    N/A      N/A   -100%      N/A    yes
179                                     Pressure Point/Pressure Point Control                                  .       .     5       1       0                0      0        .        .    -80%    -100%    N/A      N/A     N/A      N/A    yes
180                                     Push                                                                   .       .     6       0       3                2      1        .        .   -100%      N/A   -33%     -50%     N/A     -31%    yes
                                                                                                                                                                                                                                                    2019: Other-pull, fee/leg kick/knee, firearm point.
                                                                                                                                                                                                                                                    2020: punching, striking, body weight, leg restraint
181                                     Other (1-25 instance each)                                            2      13      5       4      12               22      9   550%      -62%     -20%     200%    83%    -59%      24%      -9%    yes   2021: Pull, Firearm-Pistol-Point, Body Weight
182                                     Unknown/NULL                                                          2       4      6       2       0                0      0   100%       50%     -67%    -100%    N/A     N/A    -100%      N/A    yes
                                                                                             Case Office,
183   367 a.4    UOF violating policy   geography                                      yes   IAPro                                                                                                                                                  denotes district where incident occurred
184                                     District 1                                                            1       1      0       2       3                6      1     0%     -100%      N/A     50%     100%   -83%      0%      -31%    yes
185                                     District 2                                                            3       4      0       2       3                3      1    33%     -100%      N/A     50%       0%   -67%    -15%      -31%    yes
186                                     District 3                                                            3       6      2       1       3                3      2   100%      -67%     -50%    200%       0%   -33%     -6%      -13%    yes
187                                     District 4                                                            1       3      3       1       2                3      3   200%        0%     -67%    100%      50%     0%     17%       14%    yes
188                                     District 5                                                            1       2      1       0       3                2      4   100%      -50%    -100%     N/A     -33%   100%     22%       10%    yes
189                                     outside city                                                          0       0      0       0       1                0      0     0%        0%       0%      0%    -100%    N/A     N/A     -100%    yes
                                                                                             Case Office,
190   367 a.4    UOF violating policy   arrest type                                    yes   IAPro



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191                                     Violence toward Police Officer                                      0   2    2    0       1               3    1     N/A      0%    -100%     N/A   200%    -67%     N/A      0%    yes

                                                                                                                                                                                                                                  ORC - Assaults, ORC - Kidnapping, ORC - Offense
192                                     Violence toward Others                                              3   2     0   0      10               5     4    -33%   -100%     0%       0%    -50%   -20%       4%    -26%   yes   against public peace, ORC - Offense Against the Family
193                                     Damage to Property                                                  4   0     0   0       0               0     1   -100%      0%     0%       0%     N/A    N/A     -18%     N/A   yes
194                                     Obstructing Justice                                                 3   5    11   7       2               3    10     67%    120%   -36%     -71%     50%   233%      19%     71%   yes
195                                     Crisis Intervention                                                 1   1     0   0       2               0     0      0%   -100%     0%       0%   -100%    N/A    -100%   -100%   yes
196                                     Drugs/Alcohol                                                       0   2     2   1       1               2     3     N/A      0%   -50%       0%    100%    50%      N/A     44%   yes

                                                                                                                                                                                                                                  Other = Cleveland Codified Ord. - Part 4, Cleveland
                                                                                                                                                                                                                                  Codified Ord. - Part 6, ORC - Burglary, ORC -
                                                                                                                                                                                                                                  Miscellaneous Offense, ORC - Offense Against Justice,
                                                                                                                                                                                                                                  ORC - Theft, ORC - Weapons Offense, Resisting Arrest,
197                                     Other                                                               4   12   5    9      22               28   4    200%    -58%     80%    144%     27%    -86%      0%    -43%    yes   Warrant-Misdemeanor, Warrant-Felony, No Charges
                                                                                                                                                                                                                                  2015 data mistakenly reported the race of the officer,
                                                                                             Case Office,                                                                                                                         not of the subject. This has been corrected in this
198   367 a.4    UOF violating policy   race of subject                                yes   IAPro                                                                                                                                appendix and in the 2016 report
199                                     Black                                                               6   6    4    5      10               11   9      0%     -33%    25%     100%     10%   -18%       6%     -3%   yes
200                                     White                                                               1   2    1    1       3                6   2    100%     -50%     0%     200%    100%   -67%      10%    -13%   yes
201                                     Hispanic                                                            1   1    0    0       1                0   0      0%    -100%    N/A      N/A   -100%    N/A    -100%   -100%   yes
202                                     Asian                                                               0   0    0    0       0                0   0      0%       0%    N/A      N/A     N/A    N/A      N/A     N/A   yes
203                                     Other                                                               0   2    0    0       1                0   0     N/A    -100%     0%       0%   -100%    N/A      N/A   -100%   yes
204                                     Unknown/NULL                                                        0   0    1    6       0                0   0      0%      N/A   500%    -100%     N/A    N/A      N/A     N/A   yes
                                                                                                                                                                                                                                  2015 data mistakenly reported the ethnicity of the
                                                                                             Case Office,                                                                                                                         officer, not of the subject. This has been corrected in
205   367 a.4    UOF violating policy   ethnicity of subject                           yes   IAPro                                                                                                                                this appendix and in the 2016 report
206                                     Hispanic/Latino                                                     1    1   0    0       1                1   0      0%    -100%      0%     0%      0%    -100%   -100%   -100%   yes
207                                     Non-Hispanic/Latino                                                 7   10   5    6      14               13   7     43%     -50%     20%   133%     -7%     -46%      0%    -21%   yes
208                                     Unknown/NULL                                                        0    0   1    0       0                3   4      0%      N/A   -100%    N/A     N/A      33%     N/A     N/A   yes
                                                                                                                                                                                                                                  2015 data mistakenly reported the age of the officer,
                                                                                             Case Office,                                                                                                                         not of the subject. This has been corrected in this
209   367 a.4    UOF violating policy   age of subject                                 yes   IAPro                                                                                                                                appendix and in the 2016 report
210                                     under 20 years                                                      3   0    0    1       4               1    2    -100%     N/A     N/A   300%    -75%    100%      -6%   -21%    yes
211                                     21-29 years                                                         2   3    2    3       4               8    3      50%    -33%     50%    33%    100%    -63%       6%    -9%    yes
212                                     30-39 years                                                         0   4    2    2       5               6    3      N/A    -50%      0%   150%     20%    -50%      N/A   -16%    yes
213                                     40-49 years                                                         2   1    1    0       2               2    1     -50%      0%   -100%    N/A      0%    -50%      -9%   -21%    yes
214                                     50-59 years                                                         0   1    0    0       0               0    2      N/A   -100%     N/A    N/A     N/A     N/A      N/A    N/A    yes
215                                     60+ years                                                           0   0    0    0       0               0    0       0%      0%      0%     0%     N/A     N/A      N/A    N/A    yes
216                                     Unknown/NULL                                                        1   2    1    0       0               0    0     100%    -50%   -100%    N/A     N/A     N/A    -100%    N/A    yes
                                                                                                                                                                                                                                  2015 data mistakenly reported the gender of the
                                                                                             Case Office,                                                                                                                         officer, not of the subject. This has been corrected in
217   367 a.4    UOF violating policy   gender of subject                              yes   IAPro                                                                                                                                this appendix and in the 2016 report
218                                     Male                                                                8   11   3    5      14               15   10    38%    -73%      67%   180%      7%    -33%      3%    -11%    yes
219                                     Female                                                              0    0   2    1       1                2    1     0%     N/A     -50%     0%    100%    -50%     N/A     N/A    yes
220                                     Unknown/NULL                                                        0    0   1    0       0                0    0     0%     N/A    -100%    N/A     N/A     N/A     N/A     N/A    yes
                                                                                             Case Office,
221   367 a.4    UOF violating policy   condition                                       no   IAPro          .    .    .   .        .               .            .       .       .       .       .                           yes
                                                                                             Case Office,
222                                     Behavioral Crisis Event                         no   IAPro          .    .    .   .       2               1             .       .       .       .    -50%                           yes
                                                                                                                                                                                                                                  No data collected currently; Needs to be collected in
                                                                                                                                                                                                                                  the future
                                                                                                                                                                                                                                  2019-CDP needs more information on this category.
223                                     mental condition                                no                  .    .    .   .                                     .       .       .       .       .                           N/A   Was this previously used?
                                                                                                                                                                                                                                  No data collected currently; Needs to be collected in
                                                                                                                                                                                                                                  the future
                                                                                                                                                                                                                                  2019-Collected category name "Known Medical
224                                     medical condition                               no                  .    .    .   .       0                             .       .       .       .       .                           N/A   Condition"
                                                                                                                                                                                                                                  Not collected in baseline, collected in 2016 based on 11
225                                     drugs/alcohol                                   no                  .   6    4    3       6               6    3        .   -33%    -25%    100%      0%    -50%        .   -21%    yes   citizens
                                                                                                                                                                                                                                  Not collected in baseline, collected in 2016 based on 11
226                                     Unimpaired                                      no                  .   3    1    3       7               10   1        .   -67%    200%    133%     43%    -90%        .   -48%    yes   citizens
                                                                                                                                                                                                                                  Not collected in baseline, collected in 2016 based on 11
227                                     Unknown/NULL                                    no                  .   2    1    0       0               0    0        .   -50%    -100%     N/A    N/A     N/A        .    N/A    yes   citizens
                                                                                                                                                                                                                                  No data collected currently; Needs to be collected in
                                                                                                                                                                                                                                  the future
                                                                                                                                                                                                                                  2019-Collected category name "Visible Physical
228                                     presence of disability                          no                  .    .    .   .       0                             .       .       .       .                                   N/A   Disability"
229
230   367 a. 5   UOF violating policy   # of officers with > 1 UOF violating policy    yes   Case Office    0   1    0    0       1               1    0     N/A    -100%     0%      0%      0%    -100%       .       .   yes
231
232   367 a. 6   UOF violating policy   force reviews/investigations resulting in      yes   IA



                                                                                                                                                                                                                                  Examination of data received shows most of the policy
                                                                                                                                                                                                                                  deficiencies were administrative/technical (i.e. late
                                                                                                                                                                                                                                  forms) and not substantive or due to tactics.
                                                                                                                                                                                                                                  2020: These categories were developed by the
                                                                                                                                                                                                                                  monitoring team. CDP will rely on the monitoring team
                                                                                                                                                                                                                                  to fill out this section and verify this information.
                                                                                                                                                                                                                                  Under the Force Review_Investigation Tab.
                                                                                                                                                                                                                                  2021 - There were 8 "Policy Violation - Other" and 3
233                                     policy deficiency                                                   5   11   3    1      11               17    .    120%   -73%    -67%    1000%    55%        .       .       .   yes   "Policy Violation - WCS"
234                                     training deficiency                                                 2    0   0    0       1                1    .   -100%     0%      0%       0%     0%        .       .       .   yes
235                                     tactics deficiency                                                  2    5   3    3       3                1    .    150%   -40%      0%       0%   -67%        .       .       .   yes
236                                     pending                                                             0    0   0    2       0                0    .      0%     0%     N/A    -100%     0%        .       .       .   yes
237   367 a. 6   UOF violating policy   Force policy violations resulting in           yes   IA
238                                     Policy Violation - WCS                                                                                         3                                                .       .       .
239                                     Policy Violation - UOF                                                                                         0                                                .       .       .
240                                     Policy Violation - Other                                                                                       9                                                .       .       .



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                                                                                                                          in written                                                                                                                                Random sample selected by Monitoring Team and
241    367 a. 7   quality of               investigations                                     no                        . summary                .       .        .                .       .      .       .      .      .        .       .      .         .   yes   reviewed to capture the quality of the investigations

                                                                                                                          in written                                                                                                                                Random sample selected by Monitoring Team and
242    367 a. 7   quality of               review                                             no                        . summary                .       .        .                .       .      .       .      .      .        .       .      .         .   yes   reviewed to capture the quality of the investigations
                                           # of investigations returned because
243    367 a. 7   quality of               incomplete                                         no   Chief's Office       .                 .      .       .                         .              .       .                                                   no    Data has not been received as of June 2017
244   367 b       addressing individuals in crisis
                                                                                                                                                                                                                                                                    baseline, 2016, 2017, and 2018 aren't comparable.
                                                                                                                                                                                                                                                                    2018: 1346 forms completed (reported quarterly)
                                                                                                                                                                                                                                                                    which is presumed to represent 10% of possible calls.
                                                                                                                                                                                                                                                                    2017: 812 forms completed (which is 10% of total
                                                                                                                                                                                                                                                                    possible mental health calls); data from 11/1/16-
                                                                                                                                                                                                                                                                    11/30/17. 2016: 789 forms completed (which is 10%
                                                                                                                                                                                                                                                                    of total possible mental health calls); data from
                                                                                                                                                                                                                                                                    10/1/15-10/31/16. 2015 Baseline: 1048 forms
                                                                                                                                                                                                                                                                    completed (which is 10% of total possible mental
                                                                                                                                                                                                                                                                    health calls); data from 1/1/14-9/30/15
                                                                                                                                                                                                                                                                    2020: Data is from February-December. New data
                                                                                                                                                                                                                                                                    source. The total number of mental health call is an
                                                                                                                                                                                                                                                                    estimate based on the monitoring teams formula of
                                                                                                                                                                                                                                                                    10% of total possible mental health calls. CDP is using
                                                                                                                                                                                                                                                                    the total number of Brazos CIT forms to get this
                                                                                                                                                                                                                                                                    number (3949).
                                                                                                                                                                                                                                                                    2021: The total number of mental health call is an
                                                                                                                                                                                                                                                                    estimate based on the monitoring teams formula of
                                                                                                                                                                                                                                                                    10% of total possible mental health calls. CDP is using
                                                                                                                                                                                                                                                                    the total number of Brazos CIT forms to get this
                  addressing individuals   # calls for service and incidents involving an                                                                                                                                                                           number (4910)
245    367 b. 1   in crisis                individual in crisis                               no   CI Unit          10480              7890   8120   13460   24330             39490   49100   -25%     3%    66%    81%      62%     24%    25%      26%           QUESTION-How is this operationalized? Where does
                                                                                                                                                                                                                                                                    No data collected currently; Needs to be collected in
246                                        Responded to by specialized CIT officer            no                        .                 .      .       .        .                .              .       .      .      .                                     N/A   the future
                                                                                                                                                                                                                                                                    No data collected currently; Needs to be collected in
247                                        Responded to by other                              no                        .                 .      .       .        .                .              .       .      .      .                                     N/A   the future
                  addressing individuals
248    367 b. 1   in crisis                Direction of individuals in crisis                 no

                                                                                                                                                                                                                                                                    SUBJECT DISPOSITION (pink slipped or voluntarily to
                                                                                                                                                                                                                                                                    SVCH, private hospital ER, referred to mental health
                                                                                                                                                                                                                                                                    treatment, handled by EMS); 0 referrals to mental
                                                                                                                                                                                                                                                                    health treatment in 2016; 19 referrals in 2015
                                                                                                                                                                                                                                                                    2020: Data is from February-December. New data
                                                                                                                                                                                                                                                                    source as well. The number represents the amount of
                                                                                                                                                                                                                                                                    individuals that were directed to the hospital from
                                                                                                                                                                                                                                                                    Brazos CIT forms.
                                                                                                                                                                                                                                                                    Question-Where does this information come from?
                                                                                                                                                                                                                                                                    MHRAC Annual Report (Check to see if ALL conveyed
249                                        directed to healthcare system                                            1009               672    1012   1489     1896             3773    4,446   -33%    51%    47%    27%      99%     18%    24%      33%     yes   individuals were to healthcare)
                                                                                                                                                                                                                                                                    # arrested
                                                                                                                                                                                                                                                                    Question-Where does this information come from?
250                                        directed to judicial system                                                12                 2      8       7        8               68     116    -83%   300%    -13%   14%     750%     71%    38%    144%      yes   MHRAC Annual Report & Brazos Forms

                                                                                                                                                                                                                                                                    other, complaint unfounded requiring no police action,
                                                                                                                                                                                                                                                                    subject stabilized; 0 complaint unfounded requiring no
                                                                                                                                                                                                                                                                    police action, subject stabilized in 2016; 18 in 2015
                                                                                                                                                                                                                                                                    2020: Data is from February-December. New data
251                                        direction other                                                            230                7      0       0       0                 55     356   -97%   -100%     0%     0%      N/A   547%      6%     N/A     yes   source as well.
252                                        rate - directed to healthcare system                                      81%               99%    99%    100%    100%               99%     90%     22%      1%     0%     0%      -1%    -9%      2%     -3%     yes
253                                        rate - directed to judicial system                                         1%                0%     1%      0%      0%                0%      2%    -69%    167%   -40%   -10%      N/A    N/A     11%     N/A     yes
254                                        rate - direction other                                                    18%                1%     0%      0%      0%                1%      7%    -94%   -100%     0%     0%      N/A   600%    -13%     N/A     yes
255

                                                                                                                                                                                                                                                                    2015 data -"Use of non-deadly force report made"
                                                                                                                                                                                                                                                                    2019-30 incidents involving Use of Force and Crisis
                  addressing individuals                                                                                                                                                                                                                            Intervention. 2020 and moving forward using Brazos
256    367 b. 2   in crisis                # of UOF on individuals in crisis                                          14                  .      .       .      30               23      23       .       .      .      .     -23%      0%      .      -8%          as source DB for Force Type. 2019 not comparable
257                                        type of force used                                                           .                 .      .       .      78               33      31       .       .      .      .     -58%     -6%      .    -26%     yes   poor data
258                                        Balance Displacement                                                         .                 .      .       .       0                0       0       .       .      .      .      N/A     N/A      .         .   yes   poor data
259                                        Body Force/Body Weight                                                       .                 .      .       .      12                0       0       .       .      .      .    -100%     N/A      .   -100%     yes   poor data
260                                        Chemical Agent-Other                                                                                                  1                0       0       .       .      .      .    -100%     N/A      .   -100%     yes
261                                        Control Hold-Restraint                                                    166                  .      .       .      11                0       0       .       .      .      .    -100%     N/A      .   -100%     yes   2015 data - "handcuffs"
262                                        Control Hold-Takedown                                                        .                 .      .       .      10                0       0       .       .      .      .    -100%     N/A      .   -100%     yes   poor data
263                                        Feet/Leg Sweep                                                                                                        2                0       0       .       .      .      .    -100%     N/A      .   -100%     yes
264                                        Firearm Point                                                                                                         6                2       1       .       .      .      .     -67%    -50%      .    -45%     yes
265                                        Joint Manipulation                                                           .                 .      .       .       8                8       6       .       .      .      .       0%    -25%      .     -9%     yes   poor data
266                                        Leg Restraint                                                                                                         3                0       0       .       .      .      .    -100%     N/A      .   -100%     yes
267                                        Pull                                                                                                                  9                0       0       .       .      .      .    -100%     N/A      .   -100%     yes
268                                        Push                                                                                                                  6                0       0       .       .      .      .    -100%     N/A      .   -100%     yes
269                                        Tackling/Takedown                                                            .                 .      .       .       6                0       0       .       .      .      .    -100%     N/A      .   -100%     yes   poor data
270                                        Taser                                                                       5                  .      .       .       4                4       0       .       .      .      .       0%   -100%      .   -100%     yes   2015 data - "taser stun"
271                                        Verbal/Physical Gestures                                                     .                 .      .       .       0                0       0       .       .      .      .      N/A     N/A      .         .   yes   poor data
272                                        Other (1-25 instance each)                                                 40                  .      .       .                       19      15       .       .      .      .      N/A    -21%      .         .   yes   2015 data -"other, fired, OC pepper spray"
273                                        Unknown/NULL                                                              186                  .      .       .       0                0       0       .       .      .      .      N/A     N/A      .         .   yes   2015 data -"no response reported"
                  addressing individuals
274    367 b. 2   in crisis                reason for interaction
275                                        # subject armed                                                              .                 .      .       .      65              144     184       .       .      .      .     122%     28%      .     41%     yes   new from Brazos - 2020
276                                        # subject not armed                                                          .                 .      .       .       4             3782    4722       .       .      .      .   94450%     25%      .    957%     yes   new from Brazos - 2020
277                                        Not Recorded                                                                 .                 .      .       .    2364                8       0       .       .      .      .    -100%   -100%      .   -100%     yes   new from Brazos - 2020



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                  addressing individuals
278    367 b. 2   in crisis                Weapon Type
279                                        None                                                               .   .   .    .    2342             3790   4726   .   .   .   .     62%     25%   .     26%   yes   new from Brazos - 2020
280                                        Gun                                                                .   .   .    .      17               32     31   .   .   .   .     88%     -3%   .     22%   yes   new from Brazos - 2020
281                                        Liquid or Chemical Agent                                           .   .   .    .       0                4      4   .   .   .   .     N/A      0%   .     N/A   yes   new from Brazos - 2020 (includes gas, ink)
282                                        Sharp Object                                                       .   .   .    .      57              100    115   .   .   .   .     75%     15%   .     26%   yes   new from Brazos - 2020
283                                        Blunt Object                                                       .   .   .    .       1               21     18   .   .   .   .   2000%    -14%   .    162%   yes   new from Brazos - 2020
284                                        Hands                                                              .   .   .    .       1                2      0   .   .   .   .    100%   -100%   .   -100%   yes   new from Brazos - 2020
285                                        Rope                                                               .   .   .    .       0                0      0   .   .   .   .     N/A     N/A   .     N/A   yes   new from Brazos - 2020
                                                                                                                                                                                                                 new from Brazos - 2020 Weapons listed but not
286                                        Not Recorded                                                       .   .   .    .       4               0      0    .   .   .   .   -100%    N/A    .   -100%   yes   included here
                  addressing individuals
287    367 b. 2   in crisis                Resistance Offered
288                                        No Resistance                                                      .   .   .    .        .            3492   4386   .   .   .   .       .    26%    .       .   yes   new from Brazos - 2020
289                                        Passive Resistance                                                 .   .   .    .        .             313    382   .   .   .   .       .    22%    .       .   yes   new from Brazos - 2020
290                                        Active Resistance                                                  .   .   .    .        .              95    107   .   .   .   .       .    13%    .       .   yes   new from Brazos - 2020
291                                        Aggressive Physical Resistance                                     .   .   .    .        .              25     31   .   .   .   .       .    24%    .       .   yes   new from Brazos - 2020
292                                        Not Recorded                                                       .   .   .    .        .               9      4   .   .   .   .       .   -56%    .       .   yes   new from Brazos - 2020
                                                                                                                                                                                                                 809 CIT calls had a verbal de-escalation response from
                  addressing individuals                                                                                                                                                                         officers in 2015; 578 calls had a verbal de-escalation
293    367 b. 2   in crisis                description of attempts to de-escalate                                                                                                                                response from officers in 2016
294                                        Verbal de-escalation techniques                                    .   .   .    .        .            2280   2742   .   .   .   .       .    20%    .       .   yes   new from Brazos - 2020
295                                        Allow Time and Opportunity to Comply                               .   .   .    .        .            1784   2536   .   .   .   .       .    42%    .       .   yes   new from Brazos - 2020
296                                        Listening and interacting in conversation                          .   .   .    .        .            1507   4591   .   .   .   .       .   205%    .       .   yes   new from Brazos - 2020
297                                        Use of Distance/Cover/Concealment                                  .   .   .    .        .            1129   1524   .   .   .   .       .    35%    .       .   yes   new from Brazos - 2020
298                                        Strategic Communications/Voice Command                             .   .   .    .        .            1065   3538   .   .   .   .       .   232%    .       .   yes   new from Brazos - 2020
299                                        Increased Officer Presence                                         .   .   .    .        .             646   1982   .   .   .   .       .   207%    .       .   yes   new from Brazos - 2020
300                                        Requested Supervisor                                               .   .   .    .        .             281    851   .   .   .   .       .   203%    .       .   yes   new from Brazos - 2020
301                                        Requested CIT Specialist                                           .   .   .    .        .             172    846   .   .   .   .       .   392%    .       .   yes   new from Brazos - 2020
302                                        De-Escalation Technique Not Recorded                               .   .   .    .        .            1212   1498   .   .   .   .       .    24%    .       .   yes   new from Brazos - 2020
303   367 c       stop, search, arrest
                                                                                                                                                                                                                 No data collected currently; Needs to be collected in
304    367 c. 1   stop, search, arrest     # of investigatory stop, search, arrest          no   Compliance   .   .   .    .                        .      .   .   .   .   .       .                       N/A   the future
305                                        # of investigatory stops                                           .   .   .    .        .               .      .   .   .   .   .       .
306                                        # of investigatory searches                                        .   .   .    .        .               .      .   .   .   .   .       .
307                                        # of investigatory arrests                                         .   .   .    .        .               .      .   .   .   .   .       .
                                                                                                                                                                                                                 No data collected currently; Needs to be collected in
308    367 c. 1   stop, search, arrest     % of investigatory stop, search, arrest                                                                                                                         N/A   the future
309                                        # investigatory stops/# summons or arrest                          .   .   .    .        .               .      .   .   .   .   .       .
310                                        # investigatory searches/# summons or arrest                       .   .   .    .        .               .      .   .   .   .   .       .
                                                                                                                                                                                                                 No data collected currently; Needs to be collected in
311    367 c. 1   stop, search, arrest     District                                         no                                                                                                             N/A   the future
312                                        District 1                                                         .   .   .    .        .               .      .   .   .   .   .       .
313                                        District 2                                                         .   .   .    .        .               .      .   .   .   .   .       .
314                                        District 3                                                         .   .   .    .        .               .      .   .   .   .   .       .
315                                        District 4                                                         .   .   .    .        .               .      .   .   .   .   .       .
316                                        District 5                                                         .   .   .    .        .               .      .   .   .   .   .       .
317                                        outside city                                                       .   .   .    .        .               .      .   .   .   .   .       .
                                                                                                                                                                                                                 No data collected currently; Needs to be collected in
318    367 c. 1   stop, search, arrest     Arrest type                                      no                                                                                                             N/A   the future
319                                        Violence toward Police Officer                                     .   .   .    .        .               .      .   .   .   .   .       .
320                                        Violence toward Others                                             .   .   .    .        .               .      .   .   .   .   .       .
321                                        Damage to Property                                                 .   .   .    .        .               .      .   .   .   .   .       .
322                                        Obstructing Justice                                                .   .   .    .        .               .      .   .   .   .   .       .
323                                        Crisis Intervention                                                .   .   .    .        .               .      .   .   .   .   .       .
324                                        Drugs/Alcohol                                                      .   .   .    .        .               .      .   .   .   .   .       .
325                                        Other                                                              .   .   .    .        .               .      .   .   .   .   .       .
                                                                                                                                                                                                                 No data collected currently; Needs to be collected in
326    367 c. 1   stop, search, arrest     Actual or perceived age                          no                                                                                                             N/A   the future
327                                        17 and under (juveniles)                                           .   .   .    .                                   .   .   .   .
328                                        18-29 years                                                        .   .   .    .                                   .   .   .   .
329                                        30-39 years                                                        .   .   .    .                                   .   .   .   .
330                                        40-49 years                                                        .   .   .    .                                   .   .   .   .
331                                        50-59 years                                                        .   .   .    .                                   .   .   .   .
332                                        60+ years                                                          .   .   .    .                                   .   .   .   .
333                                        Unknown/NULL                                                       .   .   .    .                                   .   .   .   .
                                                                                                                                                                                                                 No data collected currently; Needs to be collected in
334    367 c. 1   stop, search, arrest     race                                             no                                                                                                             N/A   the future
335                                        Black                                                              .   .   .    .        .               .      .   .   .   .   .       .
336                                        White                                                              .   .   .    .        .               .      .   .   .   .   .       .
337                                        Hispanic                                                           .   .   .    .        .               .      .   .   .   .   .       .
338                                        Asian                                                              .   .   .    .        .               .      .   .   .   .   .       .
339                                        Other                                                              .   .   .    .        .               .      .   .   .   .   .       .
340                                        Unknown/NULL                                                       .   .   .    .        .               .      .   .   .   .   .       .
                                                                                                                                                                                                                 No data collected currently; Needs to be collected in
341    367 c. 1   stop, search, arrest     ethnicity                                        no                                                                                                             N/A   the future
342                                        Hispanic/Latino                                                    .   .   .    .        .               .      .   .   .   .   .       .
343                                        Non-Hispanic/Latino                                                .   .   .    .        .               .      .   .   .   .   .       .
344                                        Unknown/NULL                                                       .   .   .    .        .               .      .   .   .   .   .       .
                                                                                                                                                                                                                 No data collected currently; Needs to be collected in
345    367 c. 1   stop, search, arrest     gender                                           no                .                                                                                            N/A   the future
346                                        Male                                                               .   .   .    .        .               .      .   .   .   .   .       .
347                                        Female                                                             .   .   .    .        .               .      .   .   .   .   .       .
348                                        Unknown/NULL                                                       .   .   .    .        .               .      .   .   .   .   .       .
349




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                  documentable
                  reasonable suspicion to
                  stop and probable cause                                                                                                                                                                             No data collected currently; Needs to be collected in
350    367 c. 2   search                  actual or perceived race                         no                                                                                                                   N/A   the future
351                                       Black                                                               .    .     .     .        .               .       .     .      .     .      .   .
352                                       White                                                               .    .     .     .        .               .       .     .      .     .      .   .
353                                       Hispanic                                                            .    .     .     .        .               .       .     .      .     .      .   .
354                                       Asian                                                               .    .     .     .        .               .       .     .      .     .      .   .
355                                       Other                                                               .    .     .     .        .               .       .     .      .     .      .   .
356                                       Unknown/NULL                                                        .    .     .     .        .               .       .     .      .     .      .   .
                  documentable
                  reasonable suspicion to
                  stop and probable cause                                                                                                                                                                             No data collected currently; Needs to be collected in
357    367 c. 2   search                  actual or perceived ethnicity                    no                                                                                                                   N/A   the future
358                                       Hispanic/Latino                                                     .    .     .     .        .               .       .     .      .     .      .   .
359                                       Non-Hispanic/Latino                                                 .    .     .     .        .               .       .     .      .     .      .   .
360                                       Unknown/NULL                                                        .    .     .     .        .               .       .     .      .     .      .   .
                  documentable
                  reasonable suspicion to
                  stop and probable cause                                                                                                                                                                             No data collected currently; Needs to be collected in
361    367 c. 2   search                  actual or perceived gender                       no                 .                                                                                                 N/A   the future
362                                       Male                                                                .    .     .     .        .               .       .     .      .     .      .   .
363                                       Female                                                              .    .     .     .        .               .       .     .      .     .      .   .
364                                       Unknown/NULL                                                        .    .     .     .        .               .       .     .      .     .      .   .
                  documentable
                  reasonable suspicion to
                  stop and probable cause                                                                                                                                                                             No data collected currently; Needs to be collected in
365    367 c. 2   search                  actual or perceived age                          no                                                                                                                   N/A   the future
366                                       17 and under (juveniles)                                            .    .     .     .        .               .       .     .      .     .      .   .
367                                       18-29 years                                                         .    .     .     .        .               .       .     .      .     .      .   .
368                                       30-39 years                                                         .    .     .     .        .               .       .     .      .     .      .   .
369                                       40-49 years                                                         .    .     .     .        .               .       .     .      .     .      .   .
370                                       50-59 years                                                         .    .     .     .        .               .       .     .      .     .      .   .
371                                       60+ years                                                           .    .     .     .        .               .       .     .      .     .      .   .
372                                       Unknown/NULL                                                        .    .     .     .        .               .       .     .      .     .      .   .
373
                  searches finding                                                                                                                                                                                    No data collected currently; Needs to be collected in
374    367 c. 3   contraband              # of searches finding contraband                 no                                                                                                                         the future
                  searches finding                                                                                                                                                                                    No data collected currently; Needs to be collected in
375    367 c. 3   contraband              # of searches finding contraband by district     no                                                                                                                   N/A   the future
376                                       District 1                                                          .    .     .     .        .               .       .     .      .     .      .   .
377                                       District 2                                                          .    .     .     .        .               .       .     .      .     .      .   .
378                                       District 3                                                          .    .     .     .        .               .       .     .      .     .      .   .
379                                       District 4                                                          .    .     .     .        .               .       .     .      .     .      .   .
380                                       District 5                                                          .    .     .     .        .               .       .     .      .     .      .   .
381                                       outside city                                                        .    .     .     .        .               .       .     .      .     .      .   .
                  searches finding                                                                                                                                                                                    No data collected currently; Needs to be collected in
382    367 c. 3   contraband              Arrest type                                      no                                                                                                                   N/A   the future
383                                       Violence toward Police Officer                                      .    .     .     .        .               .       .     .      .     .      .   .
384                                       Violence toward Others                                              .    .     .     .        .               .       .     .      .     .      .   .
385                                       Damage to Property                                                  .    .     .     .        .               .       .     .      .     .      .   .
386                                       Obstructing Justice                                                 .    .     .     .        .               .       .     .      .     .      .   .
387                                       Crisis Intervention                                                 .    .     .     .        .               .       .     .      .     .      .   .
388                                       Drugs/Alcohol                                                       .    .     .     .        .               .       .     .      .     .      .   .
389                                       Other                                                               .    .     .     .        .               .       .     .      .     .      .   .
                  searches finding                                                                                                                                                                                    No data collected currently; Needs to be collected in
390    367 c. 3   contraband              actual or perceived race                         no                                                                                                                   N/A   the future
391                                       Black                                                               .    .     .     .        .               .       .     .      .     .      .   .
392                                       White                                                               .    .     .     .        .               .       .     .      .     .      .   .
393                                       Hispanic                                                            .    .     .     .        .               .       .     .      .     .      .   .
394                                       Asian                                                               .    .     .     .        .               .       .     .      .     .      .   .
395                                       Other                                                               .    .     .     .        .               .       .     .      .     .      .   .
396                                       Unknown/NULL                                                        .    .     .     .        .               .       .     .      .     .      .   .
                  searches finding                                                                                                                                                                                    No data collected currently; Needs to be collected in
397    367 c. 3   contraband              actual or perceived ethnicity                    no                                                                                                                   N/A   the future
398                                       Hispanic/Latino                                                     .    .     .     .        .               .       .     .      .     .      .   .
399                                       Non-Hispanic/Latino                                                 .    .     .     .        .               .       .     .      .     .      .   .
400                                       Unknown/NULL                                                        .    .     .     .        .               .       .     .      .     .      .   .
                  searches finding                                                                                                                                                                                    No data collected currently; Needs to be collected in
401    367 c. 3   contraband              actual or perceived gender                       no                 .                                                                                                 N/A   the future
402                                       Male                                                                .    .     .     .        .               .       .     .      .     .      .   .
403                                       Female                                                              .    .     .     .        .               .       .     .      .     .      .   .
404                                       Unknown/NULL                                                        .    .     .     .        .               .       .     .      .     .      .   .
                  searches finding                                                                                                                                                                                    No data collected currently; Needs to be collected in
405    367 c. 3   contraband              actual or perceived age                          no                                                                                                                   N/A   the future
406                                       17 and under (juveniles)                                            .    .     .     .        .               .       .     .      .     .      .   .
407                                       18-29 years                                                         .    .     .     .        .               .       .     .      .     .      .   .
408                                       30-39 years                                                         .    .     .     .        .               .       .     .      .     .      .   .
409                                       40-49 years                                                         .    .     .     .        .               .       .     .      .     .      .   .
410                                       50-59 years                                                         .    .     .     .        .               .       .     .      .     .      .   .
411                                       60+ years                                                           .    .     .     .        .               .       .     .      .     .      .   .
412                                       Unknown/NULL                                                        .    .     .     .        .               .       .     .      .     .      .   .
413   367 d       bias free policing & community engagement
                  bias free policing &                                                          District
414    367 d.1    community engagement # of community partnerships                        yes   Commanders   57   66   135   133     513             2484   10664   16%   105%   -1%   286%       111%   175%         2019: CDP calculates the number of events




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                                                                                                                                                                                                                                                         baseline data not received for District 1; 2017 data for
                                                                                                                                                                                                                                                         District 1 overestimated. Included one-off events that
                                                                                                                                                                                                                                                         were not necessarily partnerships
                                                                                                                                                                                                                                                         2020: Start of a new collection of data in regards to
                                                                                                                                                                                                                                                         community engagement. Only accounts for February-
415                                      District 1                                                                 0         13     58     32        9               328    311     0%    346%     -45%    -72%   3544%    -5%     N/A   226%    yes    December
416                                      District 2                                                                10         13     13     13       59               622   1445    30%      0%       0%    354%    954%   132%    103%   190%    yes
417                                      District 3                                                                11          0     12     13       45               758   7879       .       .      8%    246%   1584%   939%    156%   459%    yes    2016 data not received for District 3
418                                      District 4                                                                22         28     40     58      157               341    740    27%     43%      45%    171%    117%   117%     65%    68%    yes
419                                      District 5                                                                14         12     12     17      174               435    289   -14%      0%      42%    924%    150%   -34%     54%    18%    yes
                                                                                                                                                                                                                                                         represents partnerships specifically with youth,
                                                                                                                                                                                                                                                         although youth may be included in other partnerships.
                  bias free policing &                                                      District                                                                                                                                                     2021 Brazos is source of data, specifically 'Groups
420    367 d. 1   community engagement # of community partnerships w/youth            yes   Commanders             14         17     30     57      162               216   264    50%     -33%     90%     184%    33%     22%    52%     18%           Present' = Youth
                                                                                                                                                                                                                                                         baseline data not received for District 1; 2017 data for
                                                                                                                                                                                                                                                         District 1 overestimated. Included one-off events that
                                                                                                                                                                                                                                                         were not necessarily partnerships
                                                                                                                                                                                                                                                         2020: Start of a new collection of data in regards to
                                                                                                                                                                                                                                                         community engagement. Only accounts for February-
                                                                                                                                                                                                                                                         December. Data from 2021 should not be compared to
                                                                                                                                                                                                                                                         previous years due to changes in data collection
421                                      District 1                                                                  .         3      9     14        1               33     25       .    200%      56%    -93%   3200%   -24%    N/A    192%    yes    process
422                                      District 2                                                                 4          4      4      9       16               57    100     0%       0%     125%     78%    256%    75%    58%     84%    yes
423                                      District 3                                                                 2           .     2      2       18               24     63       .        .      0%    800%     33%   163%    64%     52%    yes    2016 data not received for District 3
424                                      District 4                                                                 7          9     14     19       71               61     53    29%      56%      36%    274%    -14%   -13%    34%     -9%    yes
425                                      District 5                                                                 1          1      1     13       29               41     18     0%       0%    1200%    123%     41%   -56%    51%    -15%    yes

                  bias free policing &                                                      District
426    367 d. 1   community engagement variety of community partnerships              yes   Commanders
                                                                                                                                                                                                                                                          Can be calculated once adequate data for all Districts
427                                      District 1                                                                  .          .      .      .        .                .              .       .        .      .       .                                . has been received
                                                                                                                                                                                                                                                          Can be calculated once adequate data for all Districts
428                                      District 2                                                                  .          .      .      .        .                .              .       .        .      .       .                                . has been received
                                                                                                                                                                                                                                                          Can be calculated once adequate data for all Districts
429                                      District 3                                                                  .          .      .      .        .                .              .       .        .      .       .                                . has been received
                                                                                                                                                                                                                                                          Can be calculated once adequate data for all Districts
430                                      District 4                                                                  .          .      .      .        .                .              .       .        .      .       .                                . has been received
                                                                                                                                                                                                                                                          Can be calculated once adequate data for all Districts
431                                      District 5                                                                  .          .      .      .        .                .              .       .        .      .       .                                . has been received
432

                  bias free policing & homicide clearance rate DV Data no accurate
433    367 d.2    community engagement yet                                            yes   Homicide Unit         56%        51%    50%    52%      61%             60%     68%     -9%     -2%       3%    19%     -55%                          yes

                  bias free policing &
434    367 d.2    community engagement # of homicides                                 yes                         127        139    130    120      122               178   174     9%      -6%       -8%     2%    46%      -2%    5%     13%    yes
435                                    # of homicides solved                                                       71         71     65     62       75               106   118     0%      -8%      -5%     21%   -35%    141%     8%     16%    yes
436                                    # of homicides unsolved                                                     56         68     65     58       47                72    56    21%      -4%     -11%    -19%   174%    -57%     0%      6%    yes

                  bias free policing &
437    367 d.2    community engagement Type of homicide                               yes
                                                                                                                                                                                                                                                         Data is not accurate because DV homicide is based on
                                                                                                                                                                                                                                                         the initial circumstances. If there is no suspect when
                                                                                                                                                                                                                                                         officers arrive on scene, they cannont classify it as a DV
                                         # of domestic violence homicides
                                                                                                                                                                                                                                                         homicide. Therefore the numbers are lower for DV
                                                                                                                                                                                                                                                         homicies because in the system it is classified just has a
438                                                                                                                12         18      6      6       14                 .    20    50%     -67%       0%    133%       .     N/A    8%     13%    yes    homicide.
439                                      # of non-domestic violence homicides                                     115        121    124    114      108                 .   154     5%       2%      -8%     -5%       .     N/A    4%     13%    yes

                  bias free policing &
440    367 d.2    community engagement Homicide victims                               yes
441                                    Adult male victims                                                          95        110    102     88       93               150   140     16%     -7%    -14%       6%     61%     -7%     6%     15%   yes
442                                    Adult female victims                                                        23         18     12     18       18                17    28    -22%    -33%     50%       0%     -6%     65%     3%     16%   yes
443                                    Juvenile male victims                                                        7          7     11      5        7                10     5      0%     57%    -55%      40%     43%    -50%    -5%    -11%   yes
444                                    Juvenile female victims                                                      2          2      2      2        3                 0     1      0%      0%      0%      50%   -100%     N/A    -9%    -31%   yes
445                                    unknown                                                                .          .            3      7        1                 1     0        .    N/A    133%     -86%      0%   -100%    N/A   -100%   yes
446

                  bias free policing &
447    367 d.3    community engagement # civilian complaints for discrimination        no   OPS                      .          .      .      .                                        .       .        .

                  bias free policing &
448    367 d.3    community engagement disposition of discrimination complaints        no   OPS                      .          .      .      .                                        .       .        .

                  bias free policing &
449    367 d.3    community engagement analysis of biennial survey                    yes   ISA hired                                                                                                                                                    results are in a separate document
450   367 e       recruitment measures
                                                                                            City Hall Civil                                                                                                                                              2018 data are only from tests taken in 2018 and
                                                                                            Service                                                                                                                                                      includes officers with start dates in 2019; 2017 data
                                                                                            Commission                                                                                                                                                   are from the 2017 test although those hired include
451    367 e. 1   recruitment measures   applicants                                   yes   (CSC)                 1410       1459   1180   2260    2343               893   837      3%    -19%     92%      4%     -62%     -6%    -7%    -29%   yes    applicants from the 2016 list




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                                                                                                                                                                                                                                                                                                              Category captured in data: "Name has been certified.
                                                                                                                                                                                                                                                                                                              Candidates are being vetted for the next Academy"
                                                                                                                                                                                                                                                                                                              (category 11) and "hired/currently in the academy"
                                                                                                                                                                                                                                                                                                              (category 4) or Not Hired; Left on Eligible List
                                                                                                                                                                                                                                                                                                              (category 15); declined offer (16); received offer but
                                                                                                                                                                                                                                                                                                              deferred (17)
                                                                                                                                                                                                                                                                                                              2020: Declined offer (Category 13), Appointed/Hired
                                                                                                                                                                                                                                                                                                              (Category 14), Not Hired; Left on Eligible List
                                                                                                                                                                                                                                                                                                              (Category 15), Received Offer but deffered (Category
                                                                                                                                                                                                                                                                                                              16), Withdrew or Failed to Complete Process after
                                                                                                                                                                                                                                                                                                              Offer (Category 18) NOTE: Only one
452                                     # of qualified recruit applicants                                                           191              151              359             492              486              200       49    -21%    138%     37%     -1%    -59%    -76%    -18%    -53%    yes   recruitment/testing cycle in 2020, and ............
                                                                                                                                                                                                                                                                                                              These are applicants who failed somewhere in the
453                                     # of not qualified recruit applicants                                                      1219             1308              821            1768             1857              693      788      7%    -37%    115%      5%    -63%    14%      -6%    -25%    yes   process
454   367 e. 1   recruitment measures   applicants by race                                       yes
455                                                                               White (W)                                         781              693              526             984             1002              351      302    -11%    -24%     87%      2%    -65%    -14%    -13%    -33%    yes
456                                                                                Black (B)                                        409              518              440             891              941              383      367     27%    -15%    103%      6%    -59%     -4%     -2%    -27%    yes
457                                                                                Asian (A)                                         13               11               12              23               26                5       10    -15%      9%     92%     13%    -81%    100%     -4%    -27%    yes
458                                                                             Hispanic (H)                                        154              148              127             204              216               90       94     -4%    -14%     61%      6%    -58%      4%     -7%    -24%    yes
                                                                                                                                                                                                                                                                                                              2019/2020/2021: combined "other" and "two or more
459                                                                               Other (O)                                           44              85               36             139              110               45       56      93%   -58%    286%    -21%     -59%    24%       4%    -20%   yes   races"
460                                                                                      AI                                            3               4               12               6               11                0        0      33%   200%    -50%     83%    -100%    N/A    -100%   -100%   yes
461                                                                              No Data (.)                                           6               0               27              13               37               14        2    -100%    N/A    -52%    185%     -62%   -86%     -15%    -62%   yes
462   367 e. 1   recruitment measures   applicants by gender                                     yes
463                                                                                  Males                                         1120             1163              873            1621             1692              644      626      4%    -25%     86%      4%    -62%     -3%     -8%    -28%    yes
464                                                                                Females                                          290              296              298             629              639              240      205      2%      1%    111%      2%    -62%    -15%     -5%    -32%    yes
465                                                                               Unknown                                             0                0                9              10               12                9        6      0%     N/A     11%     20%    -25%    -33%     N/A    -21%
466                                                                                                    CPD; City Hall
                                                                                                       Civil Service
467   367 e. 2   recruitment measures   Where applicants heard of job                             no   Commission                                                                                                                                                                                       yes   No data on recruitment activities in baseline
468                                                                           City Website                                              .           40%              54%              52%             49%               49%      49%        .     36%     -3%    -6%      0%      0%        .      0%   yes
469                                                                                 Friend                                              .           26%               0%               0%             17%                0%       0%        .   -100%      0%     0%      0%     N/A        .   -100%   yes
470                                                                 Google or other search                                              .           19%               3%               0%              0%                0%       0%        .    -85%   -100%    N/A     N/A     N/A        .     N/A   yes

471                                                                                   Other                                             .           14%              14%              17%             17%               33%      34%        .    -1%     24%      -3%    94%      3%        .    26%    yes   2020: Includes career boards and employee referrals
472                                                                                 Bulletin                                            .            2%               0%               4%              0%                0%       0%        .   -69%    702%    -100%    N/A     N/A        .    N/A    yes
473                                                                         Word of mouth                                               .            0%              19%              16%              0%                0%       0%        .    N/A    -15%    -100%    N/A     N/A        .    N/A    yes
474                                                                            Social media                                             .            0%               6%               6%             10%               16%      13%        .    N/A      3%      60%    60%    -19%        .     9%    yes
475                                                                     Article or blog post                                            .            0%               0%               0%              0%                0%       0%        .     0%      0%       0%    N/A     N/A        .    N/A    yes
476                                                                         Advertisement              CPD; City Hall                   .            0%               4%               4%              8%                2%       4%        .    N/A     10%      98%   -75%    100%        .   -21%    yes   2020: Category = Billboards/ TV or Radio
                                                                                                       Civil Service
477   367 e. 2   recruitment measures   Recruitment Activity                                      no   Commission                                                                                                                                                                                       yes   No data on recruitment activities in baseline
478                                                                           Billboards                                                .             9               23                0               0                  0        6       .    156%   -100%    N/A      N/A    N/A        .    N/A    yes
479                                                              Billboard Impressions                                                  .        538043          1077439                0               0                  0   598195       .    100%   -100%    N/A      N/A    N/A        .    N/A    yes
480                                                        Regional Transit Bus Posters                                                 .            20                0                0               0                  0        0       .   -100%     N/A    N/A      N/A    N/A        .    N/A    yes
481                                                    Regional Transit Stations Posters                                                .            24               22                0               0                  0        0       .     -8%   -100%    N/A      N/A    N/A        .    N/A    yes
482                                                     Mobile/digital video banner Ads                                                 .         50000            20000           200000          200000              50000    50000       .    -60%    900%     0%     -75%     0%        .   -37%    yes
483                                                  Facebook, Twitter, Instagram Posts                                                 .             8                8               20              60                  0       14       .      0%    150%   200%    -100%    N/A        .   -38%    yes
484                                                                Blog posts/Websites                                                  .            60               90              260             260                  0        6       .     50%    189%     0%    -100%    N/A        .   -72%    yes
                                                                                                                                                                                                                                                                                                              New item CPD collects that has been added to 2017 but
485                                                            Social Media Viewers/Likes         no                                    .                .        714547           117925                  .               .                .       .   -83%        .       .       .       .       .   yes   not specified in Consent Decree
                                                                                                                                                                                                                                                                                                              New item CPD collects that has been added to 2017 but
486                                                                    Social Media Shares        no                                    .                .          1278                  .                .               .                .       .       .       .       .       .       .       .   yes   not specified in Consent Decree
487                                                                     Radio Station Spots                                             .               4              4                 7                3               9        3        .     0%     75%    -57%    200%    -67%        .     0%    yes
488                                                                              Television            CPD; City Hall                   .               0              0                 1                1               1        1        .     0%     N/A      0%      0%      0%        .     0%    yes
                                                                                                       Civil Service
489   367 e. 2   recruitment measures   # of Recruitment Partnerships                             no   Commission                       .             17               19               44              61               70       51        .    12%    132%     39%     15%    -27%              -6%   yes   No data on recruitment activities in baseline
490                                                                                All Races                                            .              8               15               32              36               14       36        .    88%    113%     13%    -61%    157%               0%   yes
491                                                                                    Black                                            .              7                3                9              10               24       12        .   -57%    200%     11%    140%    -50%               6%   yes
492                                                                                Hispanic                                             .              2                1                2               2                2        2        .   -50%    100%      0%      0%      0%               0%   yes
493                                                                                    Other                                            .               .                .               1              13               30        1        .       .       .       .   131%                     -57%   yes   New category added (Arab American)in 2018
494
                                                                                                                                                                                                                                                                                                              Same number as above (# of non-qualified applicants);
                                                                                                       City Hall Civil                                                                                                                                                                                        considered anyone who is NOT hired (category 4) and
                                                                                                       Service                                                                                                                                                                                                anyone whose name has NOT been certified (category
495   367 e. 3   recruitment measures   # of applicants who failed initial screening             yes   Commission                  1219             1294              821            1768             1857              693      788      6%    -37%    115%      5%    -63%    14%      -6%    -25%    yes   11)
                                                                                                       City Hall Civil
                                                                                                       Service
496   367 e. 3   recruitment measures   reason for failures                                      yes   Commission
497                                                                 1- Application Rejected                                            .             339              282             390              400               85       82        .   -17%     38%      3%    -79%     -4%     N/A    -41%    yes   Application rejected - Not collected in 2015
498                                                                     2-Failed agility test                                       166              119              101             100               92              133       72    -28%    -15%     -1%     -8%     45%    -46%    -11%     -8%    yes   2019:Code changed from 2 to 6

                                                                                                                                                                                                                                                                                                              2019: Code changed from 3 to 5. 2020: Also includes
499                                                           3-No show for the Agility test                                           85              113              90              165               61              31      46     33%    -20%     83%    -63%    -49%    48%      -8%     -9%    yes   Category 5A, Did Not Schedule Agiligty Test
                                                                                                                         N/A to reason N/A to reason N/A to reason N/A to reason N/A to reason N/A to reason
500                                                  4-Hired / Currently in the Academy                                  for failures     for failures     for failures    for failures     for failures     for failures         49     N/A      N/A    N/A     N/A     N/A     N/A     N/A     N/A    yes
501                                                       5-No response to certification                                              183               58               0               90              103              23      25    -68%    -100%    N/A     14%    -78%      9%    -25%    -38%    yes   2019: Code changed from 5 to 4
                                                                                                                                                                                                                                                                                                              The 2017 list reported no one who was passed over,
                                                                                                                                                                                                                                                                                                              however, the 2016 list was used to hire the 2017 class
                                                                                                                                                                                                                                                                                                              and 47 were passed over
502                                                                          6-Passed over                                            13                8               0             108              155                0       35     -38%   -100%     N/A    44%    -100%    N/A     15%    -39%    yes   2019: Code changed from 6 to 12
                                                                                                                                                                                                                                                                                                              The 2017 list reported no one who was removed for
                                                                                                                                                                                                                                                                                                              background reasons, however, the 2016 list was used
                                                                                                                                                                                                                                                                                                              to hire the 2017 class and 6 were removed for
                                                                                                                                                                                                                                                                                                              background reasons
503                                                7-Removed for background reason(s)                                                 66              39                0               15                5               0       30     -41%   -100%     N/A    -67%   -100%    N/A    -11%     82%    yes   2019: Code changed from 7 to 8




                                                                                                                                                                                                       Page 10 of 16
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                                                                                                                                                                                                                                                                                                                       8 (no show for psych) and 13 (no PHS) are merged in
                                                                                                                                                                                                                                                                                                                       2016 data; The 2017 list reported no one was a no
                                                                                                                                                                                                                                                                                                                       show, however, the 2016 list was used to hire the 2017
                                                                                                                                                                                                                                                                                                                       class and 1 was a no show
                                                                                                                                                                                                                                                                                                                       2019: Code changed from 8 to 7 (24 no PHS-row 469,
504                                                 8-No show for the Psychological Exam                                                1                 .               0                4                0                0                4        .       .     N/A     -1    N/A     N/A    22%     N/A    yes   no category for no show for psychological exam)

                                                                                                                                                                                                                                                                                                                       The 2017 list reported 4 people who were no longer
                                                                                                                                                                                                                                                                                                                       interested, however, the 2016 list was used to hire the
505                                                              9-No longer interested                                                 19               26                4               62               48               10               24    37%     -85%   1450%   -23%   -79%    140%     3%    -21%    yes   2017 class and 10 were no longer interested
506                                                                          10-Waived                                                  17              102               10               61              115               42               44   500%     -90%    510%    89%   -63%      5%    15%    -27%    yes
                                             11-Name has been certified. Candidates are                                   N/A to reason N/A to reason N/A to reason N/A to reason N/A to reason N/A to reason N/A to reason
507                                                  being vetted for the next Academy                                    for failures     for failures     for failures     for failures     for failures     for failures     for failures        N/A     N/A     N/A    N/A     N/A    N/A     N/A     N/A    yes
508                                                             12-No show for the test                                                394              263              244              566              652              258              306   -33%     -7%    132%    15%    -60%    19%     -4%    -22%    yes   2019: Code changed from 12 to 2
                                               13-Did not submit their Personal History
509                                                                           Statement                                               240                4                0                0               24                0                0    -98%    -100%     0%      0%   -100%    N/A   -100%   -100%   yes   2019: Code changed from 13 to 7
510                                                                   14-Failed the test                                               35              223               90              194              170              111              120    537%     -60%   116%    -12%    -35%     8%     19%    -11%   yes   2019: Code changed from 14 to 3
                                                                                                        City Hall Civil
                                                                                                        Service
511   367 e. 3   recruitment measures   recruit failures by race                                  yes   Commission
512                                                                    White (W) Failures                                             658              594              323              742              750              253              277     -10%   -46%    130%      1%   -66%      9%   -12%    -28%    yes
513                                                                     Black (B) Failures                                            375              492              341              733              802              317              358      31%   -31%    115%      9%   -60%     13%    -1%    -24%    yes                                                      23%
514                                                                     Asian (A) Failures                                             12                9                8               17               17                3               10     -25%   -11%    113%      0%   -82%    233%    -3%    -16%    yes
515                                                                  Hispanic (H) Failures                                            128              133               90              159              159               66               84       4%   -32%     77%      0%   -58%     27%    -6%    -19%    yes
516                                                                     Other (O) Failures                                             41               76               32              106               91               36               52      85%   -58%    231%    -14%   -60%     44%     3%    -17%    yes   2019: combined "other" and "two or more races"
517                                                          Native American (AI) Failures                                              1                4                8                3               11                4                1     300%   100%    -63%    267%   -64%    -75%     0%    -55%    yes
518                                                                   No Data (.) Failures                                              4                0               19                8               27               14                6    -100%    N/A    -58%    238%   -48%    -57%     6%    -39%    yes
                                                                                                        City Hall Civil
                                                                                                        Service
519   367 e. 3   recruitment measures   recruit failures by ethnicity                             yes   Commission
                                                                                                                                                                                                                                                                                                                       It is unclear whether this information is captured
                                                                                                                                                                                                                                                                                                                       adequately. 2021: Hispanic is now captured in the race
520                                                                    Hispanic/Latino (H)                                           128              133                90             159              159                66               84      4%    -32%     77%     0%    -58%    27%     -6%    -19%    yes   category
521                                                                   Non-Hispanic/Latino                                           1091             1161               731            1609             1698               657              753      6%    -37%    120%     6%    -61%    15%     -5%    -24%    yes
                                                                                                        City Hall Civil
                                                                                                        Service
522   367 e. 3   recruitment measures   recruit failures by gender                                yes   Commission
523                                                                           Male Failures                                           971            1032               592            1274             1351               486              591      6%    -43%    115%     6%    -64%     22%    -7%    -24%    yes
524                                                                         Female Failures                                           248             277               224             489              497               199              192     12%    -19%    118%     2%    -60%     -4%    -4%    -27%    yes
525                                                                        unknown gender                                                .               .                5               5                9                 8                5        .       .     0%    80%    -11%    -38%    N/A    -18%    yes   unknown not captured in 2015 or 2016
                                                                                                        City Hall Civil
                                                                                                        Service                                                                                                                                                                                                        Only have data on veterans; No data collected
526                                     recruit failures by self identified disability             no   Commission                       .                .                .                .                                                          .       .       .      .                                  N/A   currently; Needs to be collected in the future
527
                                                                                                        City Hall Civil
                                                                                                        Service                                                                                                                                                                                                        No data collected currently; Needs to be collected in
528   367 e. 4   recruitment measures   # of applicants with fluency in other language             no   Commission                       .                .                .                .                                                          .       .       .      .                                  N/A   the future
                                                                                                                                                                                                                                                                                                                       No data collected currently; Needs to be collected in
529                                     list of languages spoken by recruits                       no                                    .                .                .                .                                                          .       .       .      .                                  N/A   the future
530
                                                                                                        City Hall Civil
                                                                                                        Service
531   367 e. 5   recruitment measures   # of lateral candidates                                   yes   Commission                      0              210               94                0                0                0               37      N/A    -55%   -100%    N/A                                  yes   The Division did not recruit laterals in 2015 or 2018

532   367 e. 5   recruitment measures   laterals by race                                          yes                                                                                                                                                                                                            yes   The Division did not recruit laterals in 2015 or 2018
533                                                                              White (W)                                              0              116               37                0                0                0               22     N/A    -68%    -100%    N/A    N/A     N/A    N/A     N/A    yes
534                                                                               Black (B)                                             0               57               37                0                0                0               13     N/A    -35%    -100%    N/A    N/A     N/A    N/A     N/A    yes
535                                                                               Asian (A)                                             0                1                1                0                0                0                0     N/A      0%    -100%    N/A    N/A     N/A    N/A     N/A    yes
536                                                                            Hispanic (H)                                             0               18                7                0                0                0                1     N/A    -61%    -100%    N/A    N/A     N/A    N/A     N/A    yes
537                                                                               Other (O)                                             0               17                9                0                0                0                1     N/A    -47%    -100%    N/A    N/A     N/A    N/A     N/A    yes
538                                                                                      AI                                             0                0                1                0                0                0                0     N/A     N/A    -100%    N/A    N/A     N/A    N/A     N/A    yes
539                                                                             No Data (.)                                             0                1                2                0                0                0                0     N/A    100%    -100%    N/A    N/A     N/A    N/A     N/A    yes

540   367 e. 5   recruitment measures   ethnicity                                                 yes                                                                                                                                                                                                            yes   The Division did not recruit laterals in 2015 or 2018
541                                                                       Hispanic/Latino                                               0               18                7                0                0                0                1     N/A    -61%    -100%    N/A    N/A     N/A    N/A     N/A    yes
542                                                                   Non-Hispanic/Latino                                               0              192               87                0                0                0               36     N/A    -55%    -100%    N/A    N/A     N/A    N/A     N/A    yes

543   367 e. 5   recruitment measures   laterals by gender                                        yes                                                                                                                                                                                                                  The Division did not recruit laterals in 2015 or 2018
544                                                                                    Male                                             0              174               74                0                0                0               33     N/A    -57%    -100%    N/A    N/A     N/A    N/A     N/A    yes
545                                                                                  Female                                             0               35               19                0                0                0                4     N/A    -46%    -100%    N/A    N/A     N/A    N/A     N/A    yes
546                                                                                unknown                                              0                0                1                0                0                0                0      0%     N/A    -100%    N/A    N/A     N/A    N/A     N/A    yes

547   367 e. 5   recruitment measures   Other information on laterals                             yes                                                                                                                                                                                                                  The Division did not recruit laterals in 2015 or 2018
548                                                laterals with self identified disability                                             0                0                0                0                0                0                0      0%      0%       0%     0%    N/A     N/A    N/A     N/A    yes
549                                                       list of laterals former agencies                                              0               39                5                0                0                0                0     N/A    -87%    -100%    N/A    N/A     N/A    N/A     N/A    yes   represents the number of PDs laterals worked for
                                                                                                                                                                                                                                                                                                                       represents the number of years in which laterals
550                                                          list of laterals years of service                                          0              166               12                0                0                0                0     N/A    -93%    -100%    N/A    N/A     N/A    N/A     N/A    yes   worked for other PDs
551
                                                                                                        City Hall Civil
                                                                                                        Service
552   367 e. 6   recruitment measures   applicant qualifications                                  yes   Commission
                                                                                                                                                                                                                                                                                                                       This category captures those who attended college for
                                                                                                                                                                                                                                                                                                                       2+ years, but did not obtain a BA degree (includes
553                                     # applicants with 2+ years college                        yes                                 455              802              649            1172             1181               459              376     76%    -19%     81%     1%    -61%    -18%    -3%    -32%    yes   those with associates degrees)
554                                     # applicants with college degree                          yes                                 240              247              189             370              414               143              104      3%    -23%     96%    12%    -65%    -27%   -11%    -37%    yes
                                                                                                                                                                                                                                                                                                                       No data collected currently; only have 180+days; Needs
555                                     # applicants with 2+ years military                        no                                    .                .                .                .                                                          .       .       .      .                                  yes   to be collected in the future




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                                                                                                                                                                                                                                                                                          New item CPD collects that has been added to baseline
556                                     # applicants with 180+ days military                     yes (new)                        161        89         55        91        79                 52        52    -45%    -38%    65%          -13%    -34%     0%    -15%    -13%    yes    but not specified in Consent Decree
                                                                                                                                                                                                                                                                                          New item CPD collects that has been added to baseline
                                                                                                                                                                                                                                                                                          but not specified in Consent Decree; misreported in
557                                     disabled veterans                                        yes (new)                         14         2          3         2         4                  0         1    -86%     50%    -33%        100%    -100%     N/A   -31%    -37%    yes    2015 (was reported as 1235)
558
                                                                                                                                                                                                                                                                                          pass calculated
                                                                                                                                                                                                                                                                                          Question-How is this section calculated? Seems more
                                                                                                                                                                                                                                                                                          appriopriate to report this section as fail rate at every
                                                                                                             City Hall Civil                                                                                                                                                              phase of pre-employment. 2019-Fail rate
                                        pass/fail rate in each phase of pre-employment                       Service                                                                                                                                                                      2020: All Categories are N/A because the process is not
559   367 e. 7   recruitment measures   process                                                    yes       Commission                                                                                                                                                                   complete. All are still in the academy.
560                                                                                                                                                                                                                                    .
561                                                               1-Application rejected                                                                                78.46%            N/A        89.59%       .        .       .           .       .       .       .     5%
562                                                                  2-Failed agility test                                     86.38%    90.24%     87.70%    94.34%    95.05%         80.81%        90.86%     4%      -3%      8%          1%    -15%     12%      1%     -1%    yes    pass rate calculated, 2019-fail rate
563                                                        3-No show for the Agility test                                      93.03%    90.73%     89.04%    90.67%    96.72%         95.53%        94.16%    -2%      -2%      2%          7%     -1%     -1%      0%     -1%    yes    pass rate calculated, 2019-fail rate
564                                                  4-Hired / Currently in the Academy                                           N/A       N/A        N/A       N/A       N/A            N/A        93.78%    N/A      N/A     N/A         N/A     N/A     N/A        .       .   yes    pass rate calculated, 2019-fail rate
565                                                       5-No response to certification                                       84.99%    95.24%    100.00%    94.91%    94.45%         96.68%        96.83%    12%       5%     -5%          0%      2%      0%      2%      1%    yes    pass rate calculated, 2019-fail rate
566                                                                        6-Passed over                                       98.93%    99.34%    100.00%    93.89%    91.65%        100.00%        95.56%     0%       1%     -6%         -2%      9%     -4%      0%      1%    yes    pass rate calculated, 2019-fail rate
567                                                7-Removed for background reason(s)                                          94.59%    96.80%    100.00%    99.15%    99.73%        100.00%        96.19%     2%       3%     -1%          1%      0%     -4%      0%     -1%    yes    pass rate calculated, 2019-fail rate
                                                                                                                                                                                                                                                                                          pass rate calculated; merged with no PHS, 2019-fail
568                                              8-No show for the Psychological Exam                                          99.92%       N/A    100.00%    99.77%   100.00%        100.00%        99.49%     N/A     N/A      0%          0%      0%     -1%      0%      0%    yes    rate
569                                                              9-No longer interested                                        98.44%    97.87%     99.51%    96.49%    97.42%         98.56%        96.95%     -1%      2%     -3%          1%      1%     -2%      0%      0%    yes    pass rate calculated, 2019-fail rate
570                                                                          10-Waived                                         98.61%    91.63%     98.78%    96.55%    93.81%         93.94%        94.42%     -7%      8%     -2%         -3%      0%      1%     -1%      0%    yes    pass rate calculated, 2019-fail rate
                                             11-Name has been certified. Candidates are
571                                                  being vetted for the next Academy                                            N/A       N/A        N/A       N/A       N/A                N/A       N/A    N/A      N/A     N/A         N/A     N/A     N/A        .    N/A    yes    pass rate calculated, 2019-fail rate
572                                                             12-No show for the test                                        67.68%    78.42%     70.28%    67.99%    64.89%             62.77%    61.17%    16%     -10%     -3%         -5%     -3%     -3%     -1%     -2%    yes    pass rate calculated, 2019-fail rate
                                               13-Did not submit their Personal History
573                                                                           Statement                                        80.31%    99.67%    100.00%   100.00%    98.71%        100.00%       100.00%     24%      0%      0%         -1%      1%      0%      3%      0%    yes    pass rate calculated, 2019-fail rate
574                                                                   14-Failed the test                                       97.13%    81.71%     89.04%    67.99%    90.85%         83.98%        84.77%    -16%      9%    -24%         34%     -8%      1%     -2%     -2%    yes    pass rate calculated, 2019-fail rate
575                                                     17-Failed Medical or Drug Test                                                                       100.00%   100.00%        100.00%       100.00%                                  0%      0%      0%        .     0%           2019-fail rate
                                             18-Withdrew or Failed to Complete Process
576                                                                          After Offer                                                                      89.03%    59.61%             63.49%    64.85%    -16%      9%     N/A        -33%      7%      2%        .     3%    yes    2019-new category, fail rate
                                                                                                             City Hall Civil
                                                                                                             Service
577   367 e. 7   recruitment measures   pass/fail rate by race                                     yes       Commission
578                                                                       White (W) pass rate                                  15.75%    14.29%     38.59%    24.59%    25.15%             27.92%     8.28%     -9%    170%    -36%           2%     11%    -70%     -9%    -31%   yes    pass rate calculated
579                                                                        Black (B) pass rate                                  8.31%     5.02%     22.50%    17.73%    14.77%             17.23%     2.45%    -40%    348%    -21%         -17%     17%    -86%    -16%    -45%   yes    pass rate calculated
580                                                                        Asian (A) pass rate                                  7.69%    18.18%     33.33%    26.09%    34.62%             40.00%     0.00%    136%     83%    -22%          33%     16%   -100%   -100%   -100%   yes    pass rate calculated
581                                                                     Hispanic (H) pass rate                                 16.88%    10.14%     29.13%    22.06%    26.39%             26.67%    10.64%    -40%    187%    -24%          20%      1%    -60%     -6%    -26%   yes    pass rate calculated
582                                                                        Other (O) pass rate                                  6.82%    10.59%     11.11%    23.74%    17.27%             20.00%     7.14%     55%      5%    114%         -27%     16%    -64%      1%    -25%   yes    pass rate calculated
583                                                                               AI pass rate                                 66.67%     0.00%     33.33%    50.00%     0.00%                N/A       N/A   -100%     N/A     50%        -100%     N/A     N/A     N/A     N/A   yes    pass rate calculated
584                                                                      No Data (.) pass rate                                 33.33%          .    29.63%    38.46%    27.03%              0.00%       N/A        .       .    30%         -30%   -100%     N/A     N/A     N/A   yes    pass rate calculated
                                                                                                             City Hall Civil
                                                                                                             Service
585   367 e. 7   recruitment measures   pass/fail rate by ethnicity                                yes       Commission
586                                                         Hispanic/Latino (H) pass rate                                      16.88%    10.14%     29.13%    22.06%    26.39%             26.67%    10.64%    -40%    187%    -24%         20%      1%    -60%     -6%    -26%    yes    pass rate calculated
587                                                       Non-Hispanic/Latino pass rate                                        13.14%    11.44%     30.58%    30.10%    19.81%             21.03%     4.47%    -13%    167%     -2%        -34%      6%    -79%    -14%    -39%    yes    pass rate calculated
                                                                                                             City Hall Civil
                                                                                                             Service
588   367 e. 7   recruitment measures   pass/fail rate by gender                                   yes       Commission
589                                                                       Male Pass Rate                                       13.30%    11.26%     32.19%    21.41%    20.15%             24.53%     5.59%    -15%    186%    -33%         -6%     22%    -77%    -12%    -35%    yes    pass rate calculated
590                                                                     Female Pass Rate                                       14.48%     6.42%     24.83%    22.26%    22.22%             17.08%     6.34%    -56%    287%    -10%          0%    -23%    -63%    -11%    -34%    yes    pass rate calculated
591                                                              unknown gender pass rate                                            .         .    44.44%    50.00%    25.00%             11.11%    16.67%        .       .    13%        -50%    -56%     50%        .   -13%    yes    pass rate calculated
                                                                                                             City Hall Civil
                                                                                                             Service                                                                                                                                                                       No data collected currently; Needs to be collected in
592   367 e. 7   recruitment measures   pass/fail rate by self identified disability                no       Commission              .         .         .         .                                               .       .                                                             . the future
593
                                        avg length of time to move through each phase                                                                                                                                                                                                      No data collected currently; Needs to be collected in
594   367 e. 8   recruitment measures   of preemployment                                            no                               .         .         .         .                                               .       .                                                             . the future
                                                                                                                                                                                                                                                                                           No data collected currently; Needs to be collected in
595                                     avg length of time to process applicants                                                     .         .         .         .                                               .       .                                                             . the future
596
597   367 e. 9   recruitment measures   composition of recruit class                               yes
                                                                                                                                                                                                                                                                                          2018 excludes names that were on the list given for
                                                                                                                                                                                                                                                                                          2017 report's recruit Class 140; All recruit class
                                                                                                                                                                                                                                                                                          numbers reflect the number of officers hired based on
                                                                                                                                                                                                                                                                                          the test taken that year even if the hire date is in the
                                                                                                                                                                                                                                                                                          following year. So 2018 numbers reflect officers who
                                                                                                                                                                                                                                                                                          took the police exam in 2018 even though their start
                                                                                                                                                                                                                                                                                          date may not have been until 2019
                                                                                                                                                                                                                                                                                          2020: At the time this report was put together, data
                                                                                                                                                                                                                                                                                          received from Recruitment contains information on
                                                                                                                                                                                                                                                                                          individuals currently in the academy. As a result this
598   367 e. 9   recruitment measures   Initial Size of recruit class                              yes                             52        62         69       153       250                 58        61    19%      11%    122%         63%     TBD      N/A     2%    -38%    yes    section not filled out.
                                                                                                                                                                                                                                                                                          New item CPD collects that has been added to baseline
599                                     Remained                                                 yes (new)                         44        51         65       140       202                 42        39    16%      27%    115%         44%     TBD      N/A    -2%    -42%    yes    but not specified in Consent Decree
                                                                                                                                                                                                                                                                                          New item CPD collects that has been added to baseline
600                                     Separated                                                yes (new)                          8        11          4        13        48                 16        22    38%     -64%    225%        269%     TBD      N/A    16%    -23%    yes    but not specified in Consent Decree
601   367 e. 9   recruitment measures   Separated by Race                                           yes                                                                                                                                                      N/A
                                                                                                                                                                                                                                                                                          New item CPD collects that has been added to baseline
602                                     Black                                                    yes (new)                          2         3          0         3        12                  3         7    50%     -100%    N/A        300%     TBD      N/A    20%    -16%    yes    but not specified in Consent Decree
                                                                                                                                                                                                                                                                                          New item CPD collects that has been added to baseline
603                                     White                                                    yes (new)                          4         8          4         8        26                  9        12   100%     -50%    100%        225%     TBD      N/A    17%    -23%    yes    but not specified in Consent Decree
                                                                                                                                                                                                                                                                                          New item CPD collects that has been added to baseline
604                                     Hispanic                                                 yes (new)                          2         0          0         2         6                  1         3   -100%      0%     N/A        200%     TBD      N/A     6%    -21%    yes    but not specified in Consent Decree
                                                                                                                                                                                                                                                                                          New item CPD collects that has been added to baseline
605                                     Asian                                                    yes (new)                          0         0          0         0         2                  1         0      0%      0%     0%           0%     TBD      N/A    N/A    -100%   yes    but not specified in Consent Decree
                                                                                                                                                                                                                                                                                          New item CPD collects that has been added to baseline
606                                     Other                                                    yes (new)                          0         0          0         0         1                  2         0      0%      0%     0%           0%     TBD      N/A    N/A    -100%   yes    but not specified in Consent Decree


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                                                                                                                                                                                                                                                                                                                                               New item CPD collects that has been added to baseline
607                                       Undisclosed                                         yes (new)                                   0                 0                    0                   0                  1                  0                   0      0%      0%     0%        0%          TBD      N/A    N/A   -100%   yes   but not specified in Consent Decree
608    367 e. 9   recruitment measures    Separated by Gender                                    yes                                                                                                                                                                                                                N/A
                                                                                                                                                                                                                                                                                                                                               New item CPD collects that has been added to baseline
609                                       Male                                                yes (new)                                   7                 8                    4                   9                 31                 13                  13     14%    -50%    125%                   TBD      N/A    9%    -25%    yes   but not specified in Consent Decree
                                                                                                                                                                                                                                                                                                                                               New item CPD collects that has been added to baseline
610                                       Female                                              yes (new)                                   1                 3                    0                   9                 16                  3                   9    200%    -100%    N/A                   TBD      N/A    37%   -17%    yes   but not specified in Consent Decree
                                                                                                                                                                                                                                                                                                                                               New item CPD collects that has been added to baseline
611                                       Undisclosed                                         yes (new)                                                                                                                 1                  0                   0                                           TBD      N/A    N/A   -100%   yes   but not specified in Consent Decree

                                                                                                          Command
612    367 e. 9   recruitment measures    composition of recruit classes by race                          Staff/ Academy
613                                       Black                                                                                           8                10                   16                  40                64                  16                  15      25%     60%   150%      60%          TBD      N/A     9%    -38%   yes
614                                       White                                                                                          29                38                   51                  89               138                  35                  31      31%     34%    75%      55%          TBD      N/A     1%    -39%   yes
615                                       Hispanic                                                                                       12                 2                    2                   8                26                   5                  10     -83%      0%   300%     225%          TBD      N/A    -3%    -27%   yes
616                                       Asian                                                                                           0                 1                    0                   0                 5                   1                   0      N/A   -100%     0%       0%          TBD      N/A    N/A   -100%   yes
617                                       Other                                                                                           3                 0                    0                   0                13                   1                   4    -100%      0%    N/A      N/A          TBD      N/A     4%    -32%   yes                Other includes "Two or More"
618                                       Undisclosed                                                                                                                                                                  4                   0                   1                                 .         TBD      N/A    N/A    -37%

                                                                                                          Command
619    367 e. 9   recruitment measures    composition of recruit classes by ethnicity                     Staff/ Academy                                                                                                                                                                                            N/A
620                                       Hispanic/Latino                                                                                12                 2                    2                   8                26                   1                  10     -83%     0%    300%     225%          TBD      N/A    -3%   -27%    yes
621                                       Non-Hispanic/Latino                                                                            40                60                   67                 132               224                  57                  51      50%    12%     97%      70%          TBD      N/A     4%   -39%    yes

                                                                                                          Command
622    367 e. 9   recruitment measures    composition of recruit classes by gender                        Staff/ Academy                                                                                                                                                                                            N/A
623                                       Male                                                                                           44                43                   54                 106               177                  42                  44     -2%     26%     96%      67%          TBD      N/A     0%   -37%    yes
624                                       Female                                                                                          8                19                   15                 106                70                  16                  16    138%    -21%    607%     -34%          TBD      N/A    10%   -39%    yes
625                                       Undisclosed                                                                                                                                                                  3                   0                   1                                 .         TBD      N/A    N/A   -31%
                                          composition of recruit classes by self identified                                                                                                                                                                                                                                                    No data collected currently; Needs to be collected in
626                                       disability                                                                                       .                 .                   .                   .                                                                  .       .       .        .                                       N/A   the future
627   367 f. 1    training measures
                                                                                                                                                                                                                                                                                                                                               No data collected in 2015 or 2016; 2017 includes UoF
                                          # of officers provided training pursuant to this                                                                                                                                                                                                                                                     CIT not State Re-Qual
628    367 f. 1   training measures       agreement                                              no                                        .                 .               1354                1363                1369               1,477               1,324       .       .    1%        0%              8%   -10%     .    -1%    yes
                                                                                                                                                                                                                                                                                                                                               No data collected in 2015 or 2016; 2017 includes UoF
                                          % of officers provided training pursuant to this                                                                                                                                                                                                                                                     CIT not State Re-Qual
629    367 f. 1   training measures       agreement                                              no                                        .                 .                 94%                 96%               94%              96.78%           97.35%           .       .    2%       -2%              3%    1%      .     1%    yes   Q. Which session? Slight difference.
630
                                                                                                                                                                                                                                                                                                                                               No data collected in 2015, 2016, or 2018
                                                                                                                                                                                                                                                                                                                                               Q. Which training session? In 2019, 3 sessions
                                          students' evaluations of the adequacy of                                                                                                                                                                                                                                                             2021- took the average for all three agree/strongly
631    367 f. 2   training measures       training in type and frequency                         no       Training                                                                                                                                                                                                                       yes   disagree for each category of pistol/shotgun/cew
                                                                                                                                                                                                                                                                                                                                               2017: instructor increased my knowledge of the course
632                                       Instructor adequacy                                                                              .                 .                 87%                                   74%              77.80%           83.16%           .       .       .        .             5%    7%      .     4%    yes   material (agree and strongly agree)
                                                                                                                                                                                                                                                                                                                                               2017:scenarios were practical (agree and strongly
633                                       Content adequacy                                                                                 .                 .                 87%                   .               77%              80.50%           83.85%           .       .       .        .             5%    4%      .     3%    yes   agree)
                                                                                                                                                                                                                                                                                                                                               2017: I will perform differently based on skills and
634                                       Future performance adequacy                                                                      .                 .                 63%                   .               43%              53.23%           63.80%           .       .       .        .         24%      20%      .    14%    yes   knowledge gained (agree and strongly agree)
                                                                                                                                                                                                                                                                                                                                               2017: Overall I found this training to be valuable
635                                       Overall adequacy                                                                                 .                 .                 79%                   .               66%              85.80%           79.95%           .       .       .        .         30%      -7%      .     7%    yes   (agree and strongly agree)
636
                                          modifications or improvements to training                                                                                                                                                                                                                                                            No data collected in 2015, 2016, or 2018; 2017
                                          resulting from the review and analysis required                                                                      see written           see written                                                                                                                                               includes UoF CIT not State Re-Qual. See written report
637    367 f. 3   training measures       by this agreement                                      no                                        .                 . report                report                                                                             .       .       .        .              .                        yes   for details
638
                                                                                                                                                                                                                                                                                                                                               No data collected in 2015, 2016, or 2018; 2017
                                          prevalence of training deficiencies as reflected                                                                     see written           see written                                                                                                                                               includes UoF CIT not State Re-Qual. See written report
639    367 f. 4   training measures       by problematic incidents or performance trends         no                                        .                 . report                report                                                                             .       .       .        .   #DIV/0!                             yes   for details
640   367 g.      officer assistance & support efforts
                  officer assistance &    availability of officer assistance & support
641    367 g. 1   support efforts         services                                              yes       EAP                see below         see below         see below           see below           see below          see below           see below
                                                                                                                                                                                                                                                                                                                                               2015 baseline data is underreported as the use of
                  officer assistance &                                                                                                                                                                                                                                                                                                         service was not tracked.
642    367 g. 1   support efforts         use of officer assistance & support services          yes       EAP                            11                209                 221                 241               316                 460                 468    1800%     6%     9%       31%          46%       2%    71%    14%    yes   2019-Number represents EAP
643

                                                                                                                                                                                                                                                                                                                                               No data collected in 2015 or 2016; 2017 includes
                  officer assistance &    officer reports of adequacy of officer assistance                                                                                                                                                                                                                                                    ratings of agree and strongly agree on all items. 2019
644    367 g. 2   support efforts         & support svcs                                         no       EAP                .                 .                               92%                 78%                                                                  .       .   -15% .                                               yes   and 2020, almost no response data from officers
                  officer assistance &    survey analysis of adequacy of officer assistance                                                                      see written         see written
645    367 g. 2   support efforts         & support svcs                                         no       EAP                .                 .                 report              report                                                                             .       .       .        .                                       N/A   No data collected in 2015 or 2016
646   367 h.      supervision measures
                                          supervisors initial identification of officer                                                                                                                                                                                                                                                        No data collected currently; Needs to be collected in
647    367 h.     supervision measures    violations                                             no                                        .                 .                   .                   .                                                                  .       .       .        .                                       N/A   the future
                                          supervisors initial identification of officer                                                                                                                                                                                                                                                        No data collected currently; Needs to be collected in
648    367 h.     supervision measures    performance problems                                   no                                        .                 .                   .                   .                                                                  .       .       .        .                                       N/A   the future
                                                                                                                                                                                                                                                                                                                                               No data collected currently; Needs to be collected in
649    367 h.     supervision measures    supervisors response to officer violations             no                                        .                 .                   .                   .                                                                  .       .       .        .                                       N/A   the future
                                                                                                                                                                                                                                                                                                                                               No data collected currently; Needs to be collected in
650    367 h.     supervision measures    supervisors response to performance problems           no                                        .                 .                   .                   .                                                                  .       .       .        .                                       N/A   the future
651   367 i.      civilian complaints & investigations & discipline
                  civilian complaints &
                  investigations &                                                                        IA, Inspections,                                                                                                                                                                                                                     Of the 294 cases in 2015, only 45 were completed and
652    367 i. 1   discipline              # of complaints                                       yes       OPS                            294               263                 241                 227               220                 276                 324     -11%    -8%     -6%      -3%          25%      17%    1%     14%    yes   only 4 went through the PRB
                  civilian complaints &
                  investigations &                                                                        IA, Inspections,                                                                                                                                                                                                                     No data collected currently; Needs to be collected in
653    367 i. 1   discipline              increases/decreases related to access                  no       OPS                              .                 .                   .                   .                                                                  .       .       .        .                                       N/A   the future


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654
                                                                                                                                                                                                                                                 PRB looked at 4 cases in 2015; 2018 represents
                 civilian complaints &                                                                                                                                                                                                           number of allegations not complaints; no apples to
                 investigations &                                                   IA, Inspections,                                                                                                                                             apples with 2015-2017 so percent change and CAGR
655   367 i. 2   discipline              # sustained by complaint type         no   OPS                  2     7    26   110      75               80   90       250%     271%    323%       -32%        7%     13%    72%       6%    yes       not included
656                                      False Report                                                    0     0     0     0       0                0    0         0%       0%      0%         0%        0%      0%    N/A      N/A    yes
657                                      Harassment                                                      0     0     3     1       1                0    1         0%      N/A    -67%         0%    -100%      N/A    N/A       0%    yes
658                                      Improper Procedure                                              1     2    12    16      12               23   41       100%     500%     33%       -25%       92%     78%    70%      51%    yes
659                                      Infraction Notice (UTT/PIN)                                     0     0     1     0       0                0    0         0%      N/A   -100% N/A               0%      0%    N/A      N/A    yes
660                                      Lack of Service                                                 0     1     4    22      19               12   20        N/A     300%    450%       -14%      -37%     67%    N/A       2%    yes
661                                      Not Provided by Complainant                                     0     0     0     0       0                0    0         0%       0%      0%         0%        0%      0%    N/A      N/A    yes
662                                      Other                                                           0     0     0     2       0                0    2         0%       0%     N/A        N/A        0%      0%    N/A      N/A    yes       Other includes missing property in 2018
663                                      Physical Abuse/Excessive Force                                  0     1     0     0       1                2    0        N/A    -100%      0%         0%     100%    -100%    N/A    -100%    yes
664                                      Unprofessional                                                  1     3     6    68      41               39   23       200%     100%   1033%       -40%       -5%    -41%    57%     -18%    yes
665                                      Biased Policing                                               N/A   N/A   N/A     1       1                0    3        N/A      N/A     N/A        N/A    -100%      N/A    N/A      44%          yes New Category added in 2018
                 civilian complaints &                                                                                                                                                                                                           2018 represents number of allegations not complaints;
                 investigations &                                                   IA, Inspections,                                                                                                                                             no apples to apples with 2015-2017 so percent change
666   367 i. 2   discipline              # exonerated by complaint type        no   OPS                  0     8    61   220     126               95   94 N/A           663%     261%       -43%     -25%      -1%              -9%   yes       and CARG not included
667                                      False Report                                                    0     0     0     0       0                0    0         0%      0%       0%         0%       0%       0%    N/A      N/A    yes
668                                      Harassment                                                      0     1     6    12       5                2    0         N/A   500%     100%       -58%     -60%    -100%    N/A    -100%    yes
669                                      Improper Procedure                                              0     3    23    93      12               45   42         N/A   667%     304%       -87%     275%      -7%    N/A      52%    yes
670                                      Infraction Notice (UTT/PIN)                                     0     0     1     0       0                0    0         0%     N/A    -100%         0%       0%       0%    N/A      N/A    yes
671                                      Lack of Service                                                 0     2    10    53      37               28   45         N/A   400%     430%       -30%     -24%      61%    N/A        7%   yes
672                                      Not Provided by Complainant                                     0     0     0     0       0                0    0         0%      0%       0%         0%       0%       0%    N/A      N/A    yes
673                                      Other                                                           0     0     5    14       1                0    0         0%     N/A     180%       -93%    -100%       0%    N/A    -100%    yes       Other includes missing property in 2018
674                                      Physical Abuse/Excessive Force                                  0     2     4    11       4                4    1         N/A   100%     175%       -64%       0%     -75%    N/A     -37%    yes
675                                      Unprofessional                                                  0     0    12    34      22               12    6         0%     N/A     183%       -35%     -45%     -50%    N/A     -35%    yes
676                                      Biased Policing                                               N/A   N/A   N/A     3       0                0    0         N/A    N/A      N/A        N/A       0%       0%     0%        0%         yes New Category added in 2018
                 civilian complaints &                                                                                                                                                                                                           2018 represents number of allegations not complaints;
                 investigations &                                                   IA, Inspections,                                                                                                                                             no apples to apples with 2015-2017 so percent change
677   367 i. 2   discipline              # unfounded by complaint type         no   OPS                  2    13    16   159      86               69   101      550%      23%    894%       -46%      -20%    46%     75%       6%    yes       and CARG not included
678                                      False Report                                                    0     0     0     0       0                0     0        0%       0%      0%         0%        0%     0%     N/A      N/A    yes
679                                      Harassment                                                      0     1     0     8       1                0     7       N/A    -100%     N/A       -88%    -100%     N/A     N/A      91%    yes
680                                      Improper Procedure                                              1     3     5    12       7                8    14      200%      67%    140%       -42%       14%    75%     46%      26%    yes
681                                      Infraction Notice (UTT/PIN)                                     0     0     0     0       0                0     0        0%      N/A      0%         0%        0%     0%     N/A      N/A    yes
682                                      Lack of Service                                                 0     2     4    42      37               19    33       N/A     100%    950%       -12%     -49%     74%     N/A      -4%    yes
683                                      Not Provided by Complainant                                     0     0     0     0       0                0     0        0%       0%      0%         0%        0%     0%     N/A      N/A    yes
684                                      Other                                                           0     0     3    10       3                2     4        0%      N/A    233%       -70%     -33%    100%     N/A      10%    yes       Other includes missing property in 2018
685                                      Physical Abuse/Excessive Force                                  0     3     2    12       2                0     3       N/A     -33%    500%       -83%    -100%     N/A     N/A      14%    yes
686                                      Unprofessional                                                  1     4     2    62      28               31    35      300%     -50%   3000%       -55%       11%    13%     66%       8%    yes
687                                      Biased Policing                                               N/A   N/A   N/A    13       8                9     5       N/A      N/A     N/A        N/A       13%   -44%     N/A     -15%          yes New Category added in 2018
                 civilian complaints &
                 investigations &                                                                                                                                                                                                                No data collected currently; Needs to be collected in
688   367 i. 2   discipline              # not sustained by complaint type     no   OPS                  .     .     .     .      89               65   73           .       .       .           .    -27%     12%              -6%              the future
                                                                                                                                                                                                                                                 No data collected currently; Needs to be collected in
689                                      False Report                                                    .     .     .     .                                         .       .       .           .                                               the future
                                                                                                                                                                                                                                                 No data collected currently; Needs to be collected in
690                                      Harassment                                                      .     .     .     .                                         .       .       .           .                                               the future
                                                                                                                                                                                                                                                 No data collected currently; Needs to be collected in
691                                      Improper Procedure                                              .     .     .     .                                         .       .       .           .                                               the future
                                                                                                                                                                                                                                                 No data collected currently; Needs to be collected in
692                                      Infraction Notice (UTT/PIN)                                     .     .     .     .                                         .       .       .           .                                               the future
                                                                                                                                                                                                                                                 No data collected currently; Needs to be collected in
693                                      Lack of Service                                                 .     .     .     .                                         .       .       .           .                                               the future
                                                                                                                                                                                                                                                 No data collected currently; Needs to be collected in
694                                      Not Provided by Complainant                                     .     .     .     .                                         .       .       .           .                                               the future
                                                                                                                                                                                                                                                 No data collected currently; Needs to be collected in
695                                      Other                                                           .     .     .     .                                         .       .       .           .                                               the future
                                                                                                                                                                                                                                                 No data collected currently; Needs to be collected in
696                                      Physical Abuse/Excessive Force                                  .     .     .     .                                         .       .       .           .                                               the future
                                                                                                                                                                                                                                                 No data collected currently; Needs to be collected in
697                                      Unprofessional                                                  .     .     .     .                                         .       .       .           .                                               the future
                 civilian complaints &
                 investigations &
698   367 i. 2   discipline              # of administratively dismissed       no   OPS                 39    90   126   58       54               72   75        131%    40%     -54%         -7%    33%       4%       4%     12%    yes
699                                      False Report                                                    1     0     0    0        0                0    0       -100%    N/A       0%          0%    N/A      N/A    -100%     N/A    yes
700                                      Harassment                                                      4    14    43   15        0                0    0        250%   207%     -65%       -100%    N/A      N/A    -100%     N/A    yes
701                                      Improper Procedure                                              9    28    26    7        0                0    0        211%    -7%     -73%       -100%    N/A      N/A    -100%     N/A    yes
702                                      Infraction Notice (UTT/PIN)                                     2     4     8    0        6                7    4        100%   100%    -100% N/A            17%     -43%      10%    -13%    yes
703                                      Lack of Service                                                 2    13    17   14        0                0    0        550%    31%     -18%       -100%    N/A      N/A    -100%     N/A    yes
704                                      Not Provided by Complainant                                     1     0     1    0        0                0    0       -100%    N/A    -100%         N/A    N/A      N/A    -100%     N/A    yes
                                                                                                                                                                                                                                                 Other includes missing property and no jurisdiction in
705                                      Other                                                           2     1     3    4       16               22   23       -50%     200%     33%        300%    38%       5%      42%    13%     yes       2018 and on
706                                      Physical Abuse/Excessive Force                                  2     4     7    2        0                0    0       100%      75%    -71%       -100%    N/A      N/A    -100%    N/A     yes
707                                      Unprofessional                                                 16    23    21   16        0                0    0        44%      -9%    -24%       -100%    N/A      N/A    -100%    N/A     yes
708                                      Unknown                                                         0     3     0    0        0                0    0        N/A    -100%      0%          0%    N/A      N/A      N/A    N/A     yes

                                                                                                                                                                                                                                                 What about these categories? Non-CDP employee-10,
                                                                                                                                                                                                                                                 Unidentifiable Officer-18, Off-Duty Officer Conduct-0,
                                                                                                                                                                                                                                                 Duplicate-6, and No Misconduct Alleged-9
                                                                                                                                                                                                                                                 2021 - Non-CDP Employee - 14, Unidentifiable officer -
                                                                                                                                                                                                                                                 16, Duplicate - 3, No Misconduct Alleged - 7, Merge and
709                                      New Categories                                                  .     .     .     .      32               43   48                                       .    34%      12%     N/A     14%               Consolidate - 4, Reitred Officer - 4.
                 civilian complaints &                                                                                                                                                                                                           2018 represents number of allegations not complaints;
                 investigations &                                                                                                                                                                                                                no apples to apples with 2015-2017 so percent change
710   367 i. 2   discipline              # of insufficient evidence            no   OPS                  2    33    93   108      71               42   28       1550%   182%      16%       -34%     -41%    -33%     46%     -27%    yes       and CARG not included
711                                      False Report                                                    0     0     0     0       0                0    0          0%     0%       0%         0%       0%      0%     N/A      N/A    yes
712                                      Harassment                                                      0     7    24     7       5                1    2         N/A   243%     -71%       -29%     -80%      0%     N/A     -26%    yes
713                                      Improper Procedure                                              0     7    15    11       5                3    4         N/A   114%     -27%       -55%     -40%     33%     N/A      -7%    yes


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714                                      Infraction Notice (UTT/PIN)                                                      0      0      4      0        0                 0      0     N/A     N/A     -100%        N/A             0%       0%       N/A          N/A   yes
715                                      Lack of Service                                                                  1      5      9     12       14                 8      6    400%     80%       33%        17%           -43%     -25%       29%         -25%   yes
716                                      Not Provided by Complainant                                                      0      0      0      0        0                 0      0      0%      0%        0%         0%             0%       0%       N/A          N/A   yes
717                                      Other                                                                            0      0      4      3        2                 0      2      0%     N/A      -25%       -33%          -100%       0%       N/A           0%   yes   Other includes missing property in 2018
718                                      Physical Abuse/Excessive Force                                                   0      5     11     14       10                 2      0     N/A    120%       27%       -29%           -80%    -100%       N/A        -100%   yes
719                                      Unprofessional                                                                   1      9     26     49       32                24     12    800%    189%       88%       -35%           -25%     -50%       43%         -28%   yes
720                                      Biased Policing                                                                   .      .      .      .       3                 4      2        .       .                    .           33%     -50%       N/A         -13%   yes
721
                 civilian complaints &
                 investigations &        # of complaint allegations supported by a                                                                                                                                                                                             No data collected currently; Needs to be collected in
722   367 i. 3   discipline              preponderance of the evidence                           no   OPS                  .      .      .             75                80               .        .                   .            7%                                         the future
723
                 civilian complaints &
                 investigations &        average length of time to complete by complaint                                                                                                                                                                                       Average number of days, but depends on completed
724   367 i. 4   discipline              type                                                   yes   OPS                137   409    232     75       64                78     58    198%     -43%    -68%        -15%            22%    -26%        -12%         -3%   yes   cases
725                                      False Report                                                                    293      .      .      .       0                  .      .       .        .       .           .              .       .        N/A        N/A    yes
726                                      Harassment                                                                      158   383    171     61       44                76     62    142%     -55%    -64%        -28%            73%    -18%        -13%        12%    yes
727                                      Improper Procedure                                                              134   354    213    115       55                75     53    164%     -40%    -46%        -52%            36%    -29%        -12%        -1%    yes
728                                      Infraction Notice (UTT/PIN)                                                      84   303    204       .       0                  .      .   261%     -33%        .           .              .       .        N/A        N/A    yes
729                                      Lack of Service                                                                 179   352    193     88      111                95     56     97%     -45%    -54%         26%           -14%    -41%        -15%       -20%    yes
730                                      Not Provided by Complainant                                                     105      .      .      .       0                  .      .       .        .       .           .              .       .        N/A        N/A    yes
731                                      Other                                                                            35      .   231     20        6                87     62        .        .   -91%        -70%          1350%    -29%          9%       118%    yes   2017 and 2018 other = missing property
732                                      Physical Abuse/Excessive Force                                                  130   730    410     96      123                75     41    462%     -44%    -77%         28%           -39%    -45%        -15%       -31%    yes
733                                      Unprofessional                                                                  117   329    203     70       76                61     76    181%     -38%    -66%          9%           -20%     25%         -6%          0%   yes
734                                      Biased Policing                                                                                               30               N/A    N/A                             .                      .       .        N/A        N/A
735
                 civilian complaints &
                 investigations &
736   367 i. 5   discipline              # of officers w/multiple complaints                    yes   OPS                34     38     27     10       18                31     49     12%    -29%      -63%        80%            72%     58%         5%         40%    yes
737                                      District 1                                                                       1      1      5      0        0                 2      6      0%    400%     -100% N/A           N/A            200%        29%         N/A    yes
738                                      District 2                                                                       4      4      1      1        6                 7      9      0%    -75%        0%       500%            17%     29%        12%         14%    yes
739                                      District 3                                                                       4      4      6      2        4                 3      4      0%     50%      -67%       100%           -25%     33%         0%          0%    yes
740                                      District 4                                                                       1      9      8      3        2                 5     13    800%    -11%      -63%       -33%           150%    160%        44%         87%    yes
741                                      District 5                                                                       5      2      2      1        2                 7     11    -60%      0%      -50%       100%           250%     57%        12%         77%    yes
742                                      outside city/other units                                                         4      5      5      3        4                 7      6     25%      0%      -40%        33%            75%    -14%         6%         14%    yes

                                                                                                      IA, Inspections,
743                                      # of officers w/repeated sustained complaints          yes   OPS                 0      0      0      0        0                 0      0      0%      0%       0%          0%             0%      0%        N/A         N/A    yes
744
                 civilian complaints &
                 investigations &
745   367 i. 6   discipline              arrests of officers for conduct                        yes   IA
746                                      on duty                                                                          1      2      1      0        0                 0      2    100%     -50%    -100%        N/A            N/A    100%                           yes
747                                      off duty                                                                        14     11     10     19       13                22      9    -21%      -9%      90%       -32%            69%    -59%                   -12%    yes
748
                 civilian complaints &
                 investigations &
749   367 i. 7   discipline              criminal prosecutions for conduct                      yes   IA
                                                                                                                                                                                                                                                                               "Not Prosecuted" is not a category used. Completed
750                                      on duty                                                                          1      2      0      0        0                 0      3    100%    -100%      0%          0%            N/A                17%         N/A    yes   and Suspended added in 2020.
751                                      off duty                                                                        11     10      8     18       13                22     16     -9%     -20%    125%        -28%            69%                 5%          7%    yes   Spell out what is in each category******
752                                      Completed                                                                         .      .      .      .        .               18                                                        N/A            .          .
753                                      Suspended                                                                         .      .      .      .        .                1      3                                                 N/A            .          .
754                                      not prosecuted                                                                   2      1      1      0        0                  .      .    -50%      0%    -100%         N/A           N/A            .          .           yes
755                                      open                                                                             1      0      2      1        0                 3           -100%     N/A     -50%       -100%           N/A            .          .           yes
756
                 civilian complaints &
                 investigations &        # of civil suits against the City or CDP for work            City Law
757   367 i. 8   discipline              related conduct                                        yes   Department          8     12     52     35       27                30     34     50%     333%    -33%        -23%            11%     13%        23%          8%    yes
758                                      settled                                                                          3      3     42      6        9                 9     17      0%    1300%    -86%         50%             0%     89%        28%         24%    yes   As of April 2018
759                                      not yet settled                                                                  5      9     10     29       18                21     17     80%      11%    190%        -38%            17%    -19%        19%         -2%    yes   As of April 2018
                 civilian complaints &                                                                                                                                                                                                                                         There can be multiple natures of suits for each suit
                 investigations &                                                                     City Law                                                                                                                                                                 2019-This will be initially completed by the Monitoring
760   367 i. 8   discipline              nature of the suits                                    yes   Department                                                                                                                                                               Team and then reviewed by CDP
                                                                                                                                                                                                                                                                               2020 - Please contact Frieda Mathew for this section of
761                                      excessive force (including deadly force)                                         5      6      2      3                          5      2     20%     -67%     50% .                                     .          .           yes   data
762                                      unlawful search & seizure                                                        1      1      4      3                          1      1      0%     300%    -25% .                                     .          .           yes
763                                      false arrest                                                                     1      2      5      3                          4           100%     150%    -40% .                                     .          .           yes
764                                      discrimination/bias                                                              0      3      0      2                          1            N/A    -100%     N/A            .                                 .           .   yes
                                         other violation of constitutional rights (e.g., 1st
765                                      amendment)                                                                       1      1      6      7                          6              0%    500%     17% .                                     .          .           yes
766                                      Harassment                                                                       0      0      0      0                          0              0%      0%      0%            .                                 .           .   yes
767                                      improper handling/disposition of property                                        1      0      3      6                          0           -100%     N/A    100% .                                     .          .           yes
768                                      contempt of cop                                                                  1      0      0      0                          0      0    -100%      0%      0%            .                                 .           .   yes
769                                      failure to provide medical assistance                                            1      1      0      1                          1      0       0%   -100%     N/A            .                                 .           .   yes
                                                                                                                                                                                                                                                                               2021 Other categories - Civil Rights: 550 Prisoner:
                                                                                                                                                                                                                                                                               Civil Rights, (Denial of Due Process, Fraud, Malice
                                                                                                                                                                                                                                                                               abuse of Process), (Wrongful Imprisonment), Petition
                                                                                                                                                                                                                                                                               for Writ of Mandamus,(Petition for the Return of
                                                                                                                                                                                                                                                                               Property), (Whistle Blower), TORT-M.V. ACCIDENT,
770                                      other                                                                            0      3     12     25                         20            N/A    300%     108% .                                     .          .           yes   (Denied FMLA)
                 civilian complaints &
                 investigations &                                                                     City Law
771   367 i. 8   discipline              amount of judgments against                            yes   Department
                                                                                                                                                                                                                                                                               2018 data as of March 2019; 2017 data As of April
772                                      number of judgments                                                             23     29     52     35       27                30     34     26%     79%     -33%        -23%            11%     13%         6%          8%    yes   2018; 2015 and 2016 data as of June 2017
                 civilian complaints &
                 investigations &                                                                     City Law
773   367 i. 8   discipline                                                                     yes   Department


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                                                                                                                                                                                                                                                                      2018 data as of March 2019; 2017 data As of April
774                                      number of judgments (closed)                                    22              21              42             6             9               9          17    -5%   100%   -86%        50%    0%    89%    -4%   24%   yes   2018; 2015 and 2016 data as of June 2017
                                                                                                                                                                                                                                                                      2018 data as of March 2019; 2017 data As of April
775                                      number of judgments (active)                                     1               8              10         29               18               21         17   700%   25%    190%        -38%   17%   -19%   50%   -2%   yes   2018; 2015 and 2016 data as of June 2017
                 civilian complaints &
                 investigations &                                              City Law
776   367 i. 8   discipline                                              yes   Department
                                                                                                                                                                                                                                                                      2018 data as of March 2019; 2017 data As of April
777                                      amount of judgments (closed)                       $     20,136.82   $     1,822.16 $      9,000.00 $      -                  .               .          .   -91%   394%   -100% N/A                       N/A   N/A   yes   2018; 2015 and 2016 data as of June 2017
                                                                                                                                                                                                                                                                      2018 data as of March 2019; 2017 data As of April
778                                      amount of judgments (active)                       TBD               TBD             TBD             TBD           TBD            TBD             TBD         N/A    N/A    N/A        N/A                 N/A   N/A   yes   2018; 2015 and 2016 data as of June 2017
                 civilian complaints &
                 investigations &                                              City Law
779   367 i. 8   discipline              amount of settlements           yes   Department
                                                                                                                                                                                                                                                                      2018 data as of March 2019; 2017 data As of April
780                                      settled                                            $     20,136.82   $     1,822.16 $      9,000.00 $      -                  .               .          .   -91%   394%   -100% N/A                       N/A   N/A   yes   2018; 2015 and 2016 data as of June 2017
                                                                                                                                                                                                                                                                      2018 data as of March 2019; 2017 data As of April
781                                      not yet settled                                    TBD               TBD             TBD             TBD           TBD            TBD             TBD         N/A    N/A    N/A        N/A                 N/A   N/A   yes   2018; 2015 and 2016 data as of June 2017




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